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Sixteenth Report of the Independent Monitor
                May 6, 2022


                     Mylan Denerstein
                         Monitor

                      Richard Jerome
                      Deputy Monitor

                    Anthony A. Braga

                    Jennifer Eberhardt

                    Demosthenes Long

                     John MacDonald

                      James McCabe

                         Jane Perlov

                        James Yates



               Floyd, et al. v. City of New York
            Ligon, et al. v. City of New York, et al.
            Davis, et al. v. City of New York, et al.
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DEDICATION

       On August 12, 2013, the District Court appointed Peter L. Zimroth as the independent

Federal Monitor to oversee the Court-ordered reforms. Peter Zimroth was a champion of public

service who believed the law was a tool for social good. He was a prosecutor at the U.S. Attorney’s

Office in the Southern District of New York and the Manhattan District Attorney’s Office, the

Corporation Counsel of the City of New York, a professor at NYU Law School, and served as the

Monitor while a partner at Arnold and Porter. This report is dedicated to Peter Zimroth, who

passed away on November 8, 2021.




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MONITOR’S FOREWORD

           I am honored to have been appointed as the independent Federal Monitor overseeing the

Court-ordered remedial process governing the New York City Police Department’s (NYPD)

policing practices, which arose out of the three stop-and-frisk cases: Floyd v. City of New York,

Davis v. City of New York, and Ligon v. City of New York. As Monitor, I look forward to working

with the Plaintiffs, the City of New York, the NYPD, and the community to ensure that members

of the NYPD engage in constitutional policing. I also look forward to working with the new

administration and agree with Mayor Adams—the NYPD must “avoid the mistakes of the

past.” [1] Likewise, I agree with the Mayor’s “clear message[:] Do it right. Don’t violate
      0F




[people’s] liberties . . . .” [2] I am eager to work together with all of the parties to further those
                            1F




important goals.


                                                      Mylan Denerstein




[1]
   Press Release, Office of the Mayor of the City of New York, Mayor Adams Releases Blueprint
to End Gun Violence in New York City (Jan. 24, 2022), https://www1.nyc.gov/office-of-the-
mayor/news/045-22/mayor-adams-releases-blueprint-end-gun-violence-new-york-city#/0.

[2]
   Press Release, Office of the Mayor of the City of New York, Transcript: Mayor Eric Adams
Thanks NYPD Neighborhood Safety Teams and Makes Announcement (Mar. 21, 2022),
https://www1.nyc.gov/office-of-the-mayor/news/148-22/transcript-mayor-eric-adams-thanks-
nypd-neighborhood-safety-teams-makes-announcement.

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EXECUTIVE SUMMARY


        This is the Court-appointed Monitor’s Sixteenth Report regarding the work done pursuant

to court orders in three federal lawsuits concerning New York City Police Department (NYPD or

Department) practices and policies with respect to encounters between the police and civilians.

Specifically, the three cases challenged the NYPD’s practices and policies concerning “stop,

question and frisk” (Floyd v. City of New York), stops and arrests for criminal trespass in New

York City Housing Authority (NYCHA) buildings (Davis v. City of New York), and criminal

trespass stops in and around certain private multiple dwelling buildings enrolled in the Trespass

Affidavit Program (TAP) (Ligon v. City of New York). The Trespass Affidavit Program, also

known as Operation Clean Halls, was a program in which building owners authorized the NYPD

to conduct patrol activities inside and around their buildings, including, in some buildings, floor-

to-floor inspections, called interior patrols or vertical patrols.

        After a nine-week trial in 2013, the United States District Court ruled that the NYPD’s

“stop, question and frisk” practices violated the Fourth Amendment and Fourteenth Amendment

and ordered remedial measures. The Court did not prohibit the use of stops, frisks, and searches,

which, when used lawfully and professionally, can be important law enforcement tools. But the

Court did require that any use of these tools must meet constitutional standards. The Court named

an independent monitor to develop and implement the remedies in consultation with the NYPD

and the Plaintiffs and to report to the Court on compliance. 1 The measures required by the Court
                                                               2F




in Floyd, Davis, and Ligon include revisions to NYPD policies, training, supervision, auditing,

handling of complaints and discipline, performance evaluations, and practices related to body-



1
 Floyd v. City of New York, 959 F. Supp. 2d 540 (S.D.N.Y. 2013) (Liability Opinion); see Floyd
v. City of New York, 959 F. Supp. 2d 668 (S.D.N.Y. 2013) (Remedial Order).

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worn cameras (BWC), among other measures. In the more than eight years since the Court issued

its Remedial Order and the monitorship began, the NYPD has made significant strides in meeting

the Court’s requirements.

       Stop and Frisk Policies. With respect to the NYPD’s written policies, the new procedures

approved by the Court and put in place regarding stops, frisks, and searches clearly state the legal

requirements governing stops, frisks, and searches. A stop may be conducted only if a police

officer has an individualized reasonable suspicion that the person stopped has committed, is

committing, or is about to commit a felony or Penal Law misdemeanor. A frisk may be conducted

only if the officer has reasonable suspicion that the person stopped is armed and dangerous. A

search after a frisk may be conducted if the frisk reveals an object that the officer reasonably

suspects may be a weapon. The Court also required that after every stop, officers must complete

a stop report that includes a narrative describing the officer’s basis for stopping the person and, if

a frisk or search was conducted, the basis for conducting the frisk or search. The court-approved

stop report is now an electronic form that officers may complete on their phones.

       Compliance with the Court’s directives requires not just a change in written policy, but

also that officers are trained on the new procedures and that the procedures are being implemented

and used on the job. Working with the Monitor and the Plaintiffs, the NYPD developed and the

Court approved new training on constitutional stops, frisks, and searches for both new and current

officers. By the end of October 2020, the Department completed delivering the training to more

than 34,300 members of the service, including police officers, detectives, sergeants, and

lieutenants.

       Since the fourth quarter of 2016, the Monitor Team has obtained samples of stop reports

to review to determine whether the NYPD’s new procedures regarding stops, frisks, and searches




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are being implemented and practiced. In 2018, Monitor Team members began reviewing the

Body-Worn Camera videos of the encounters as well. From 2016 to 2020, the Monitor Team’s

review of stop encounters has shown an increase in the percentage of compliant stop reports and

stops over time. In the first quarter of 2016, more than 50 percent of the stop reports failed to

articulate reasonable suspicion. In contrast, the Monitor Team’s review of stop reports in 2019

showed that 23.4 percent of stop reports failed to articulate reasonable suspicion. In 2020, the

Monitor Team was able to review BWC videos associated with the stop reports that were reviewed.

Based on the stop reports, the BWC videos and printouts of the communications with NYPD

dispatchers (e.g., for radio runs), the Monitor Team determined that 14.2 percent of the stops

reviewed were improper, lacking reasonable suspicion. The percentage of officers who articulated

reasonable suspicion that the person stopped was armed and dangerous (necessary for a frisk) or

justification for the search also increased over time. In 2020, over 94 percent of reported frisks

reviewed by the Monitor Team were proper and over 96 percent of reported searches reviewed

were proper.

       Racial Profiling Policies. The NYPD also revised its policy forbidding racial profiling

and bias-based policing as required by the Court’s orders.          The policy was developed in

collaboration with the Plaintiffs and the Monitor and approved by the Court. The policy prohibits

racial profiling, which it defines as police action, including stops, frisks, arrests, or other law

enforcement actions, or the failure to perform a police action motivated, even in part, by the actual

or perceived race, color, ethnicity, or national origin of an individual. Race may be considered

only if it is part of a reliable and specific suspect description that includes not just race, gender,

and age, but other identifying characteristics or information. Moreover, members of racially

defined groups (e.g., Black or Hispanic persons) may not be targeted for stops simply because




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local crime suspect data indicates that members of that racial group appear more frequently in the

data.

        Training on the procedures prohibiting racial profiling was included in the stop and frisk

training, and a specific course on “policing impartially” was included in the curricula for police

recruits. In addition to the in-service training on racial profiling, the NYPD also trained its

members on implicit bias and procedural justice. “Implicit bias” is when people make automatic,

unconscious associations between groups of people and stereotypes about those groups, and that

those associations arise from the particular environment (neighborhood, family, friends, media,

etc.) in which they grow up, live, and work. “Procedural justice” is a phrase used to describe the

necessity of treating civilians with respect, listening to them, and explaining the officer’s actions.

        Assessing implementation of the Department’s policy prohibiting racial profiling is

ongoing. To assess the Department’s compliance with its racial profiling policies and the

Fourteenth Amendment, the Monitor has used a variety of statistical analyses of NYPD’s stop and

frisk data. The Monitor’s Thirteenth Report examined stop, question, and frisk (SQF) data for

2013-2019, comparing racial disparities in post-stop outcomes—frisks, searches, summonses,

arrests, uses of force, and the percentage of frisks and searches that resulted in the recovery of

contraband or weapons, also known as “hit rates”—after controlling for other potentially

confounding factors. The results of that analysis indicated that racial disparities between Black

and Hispanic persons and similarly situated Whites and others in frisks, searches, summonses,

arrests, uses of force, and the recovery of a weapon or other contraband diminished substantially

after the Court’s 2013 Remedial Order. The analyses showed that there were still disparities when

the impact of unreported stops is considered. As the estimate of undocumented stops increased,

the estimates for racial disparities also increased. More needs to be done.




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       Interior Patrols at NYCHA Properties. The Davis settlement required revisions to the

NYPD procedures governing interior patrols of New York City Housing Authority buildings. The

settlement also required changes to related NYPD training materials and the use of a revised

Trespass Crimes Fact Sheet (TCFS), an NYPD form used by officers to describe the circumstances

leading to or supporting an arrest for trespass. The Court-approved procedures, developed in

collaboration with the Plaintiffs and NYPD, state that officers must have an objective, credible

reason to approach a person in or around an NYCHA building, and that simply entering, being in,

or exiting an NYCHA building is not an objective credible reason for an approach.

       In late 2019 and early 2020, the NYPD conducted full-day training on patrols in NYCHA

housing for approximately 3,000 officers in the Housing Bureau and Patrol Services Bureau in

precincts who patrol NYCHA buildings. The training made effective use of multiple instructors,

all of whom were Housing Bureau members. Several instructors also had previous experience

living as residents within NYCHA housing. The Housing one-day training classes were interactive

and provided officers with guidance on how to maintain the proper balance between

constitutionally enforcing the law and respecting the rights of residents and their guests.

       The Monitor’s Fifteenth Report examined the NYPD’s trespass enforcement activities

from 2013 to 2019.      The report analyzed trends and patterns in trespass arrests, trespass

summonses, and trespass stops made by NYPD officers in and around NYCHA housing

developments during those years. It assessed whether Black and Hispanic persons are more likely

to be subjected to NYPD trespass enforcement actions relative to Whites and other racial group

members. Since the entry of the Davis settlement, citywide NYPD criminal trespass arrests have

dropped by almost 74 percent, trespass summonses have declined by 80 percent, and trespass stops

have decreased by 96 percent from 2013 to 2019. These substantial declines in NYPD trespass




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enforcement activities were observed throughout New York City’s five boroughs. In addition, the

results showed that the decreased trespass enforcement was not associated with increases in other

enforcement activity in public housing or elsewhere. The analyses in the Fifteenth Report also

indicated that the percentages of area residents that are Black and Hispanic are no longer

statistically significant predictors of trespass arrest, trespass summonses, and trespass stop rates in

NYCHA buildings.

       Even with the dramatic decrease in trespass stops, arrests, and summonses over the past

several years, the trespass enforcement that did occur must comply with the Constitution and

NYPD procedures. The Monitor Team reviewed stops at NYCHA properties and officer BWC

videos of interior patrols in NYCHA buildings. With respect to stops at NYCHA properties, the

percentage of stops for which the officers had reasonable suspicion increased from 61 percent for

2017/2018 to 72 percent in 2020. More needs to be done. An analysis of trespass arrests will be

assessed in the next report.

       Trespass Affidavit Program. The Trespass Affidavit Program, sometimes called “Clean

Halls,” was a Department program in which police officers conducted interior patrols in certain

private apartment buildings with the building owner’s consent. In 2020, the NYPD determined

that the Trespass Affidavit Program is not an efficient use of police resources, and informed

building owners that the program would end. The Department formally ended the Trespass

Affidavit Program on September 30, 2020. The NYPD issued multiple communications to its

members (called FINEST messages) in September and October 2020 announcing the dissolution

of TAP. The NYPD and the New York City Law Department also sent letters in September 2020

and January 2022 to building owners and managers of buildings that had been enrolled in TAP

informing them of the end of the program and requesting that they remove all signs from their




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buildings that were associated with the program. The Monitor also requests that building owners

comply and remove the signs from the buildings to eliminate any possible confusion.

       The Monitor Team will be auditing and assessing whether the program has ended in

practice.   The Monitor will submit a report on TAP dissolution to the Court in 2022.

       Documentation of Stops and Underreporting. The Court’s Remedial Order required the

NYPD to develop and implement a stop report form to be used by officers every time a person is

stopped. The stop report must include a narrative section to explain the basis for the stop and a

narrative section to explain the basis for the frisk or the search, if applicable. Officers now

complete the reports electronically, and then send them to their supervisor for review and approval.

       The NYPD will only be in full compliance with the Court’s stop report requirements if

officers use the stop report form to document their stops in practice. The underreporting of stops

has been acknowledged by the Department and explicitly identified in NYPD audits. Any

assessment of compliance with the Court’s remedial orders will be impossible unless the

Department finds ways to ensure that unreported stops are no longer a significant issue. If the

NYPD’s data is not accurate and complete, the Monitor cannot find that the City is in substantial

compliance.

       The NYPD measures underreporting of stops in two ways: RAND audits (labeled as such

because these were initially developed by the RAND Corporation) and Police-Initiated

Enforcement (PIE) audits. Both estimates have decreased over several years. The 2020 results of

these audits showed that rates of underreporting were still at 29 percent for the RAND audits and

28 percent for the PIE Audits, although the figures for the first six months of 2021 were

significantly better. The Monitor identified a third way of estimating undocumented stops by

reviewing a sample of BWC videos categorized as investigative encounters. The Monitor Team




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identified 112 stops, with 12 of those encounters that did not have stop reports, for a

noncompliance rate of 11 percent. Meetings with NYPD command executives, labeled RISKS

Reviews (Remediation of Identified Situations Key to Success) and other steps taken by the NYPD

appear to have made some impact on documenting stops, but additional steps must be taken to

address the issue of underreporting for the Department to be in compliance with the requirement

to document all stops. It is critical that underreporting of stops be addressed long-term.

       Business Card Requirement. NYPD officers are also required to offer a business card to

persons who are stopped but who are not arrested or issued a summons, and also provide one any

time an officer is asked for one. The Monitor Team’s review of BWC video and stop report data

indicates that in too many cases officers are not offering business cards to persons stopped but not

arrested or summonsed. In 2020, the NYPD complied with offering the business card in 46.5

percent of the instances when it was required (309 out of 665 instances). It is critical that NYPD

officers provide those who are stopped with business cards and doing so less than 50 percent of

the time is not acceptable.

       Supervision. The Court in Floyd found that NYPD supervisors did not take responsibility

for reviewing the constitutionality of the stops made by officers under their supervision. The

Remedial Order requires that supervisors review the constitutionality of the stop and, if conducted,

the frisk and search. From the beginning of this monitorship, the Monitor has recognized that

significant change in the NYPD depends on first-line supervisors. Sergeants on the street must

embrace the changes and be responsible for the officers in their charge. An engaged supervisor

who actively intervenes at the scene as well as reviewing reports sets the tone. Improper conduct

is best identified and corrected, and good conduct recognized and rewarded, at this level of the

organization. Supervisors must ensure that the stops, frisks, and trespass arrests made by their




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officers are legal and proper and that these activities are properly documented. If an officer’s

actions are improper, the officer’s supervisor must take corrective action.

       The Monitor Team’s review of stops indicates that supervisors have not sufficiently

embraced their responsibilities for their officers. Supervisors routinely approved stops, frisks, and

searches that the Monitor Team and the NYPD’s own auditing division determined to be improper.

Although the NYPD is taking positive steps to get its supervisors to take an active role in

overseeing, managing, and, when necessary, correcting their officers for improper stops, the

NYPD is not yet in compliance with this Court-ordered requirement.

       Body-Worn Cameras. As part of the Remedial Order, the Court directed the Monitor to

oversee a pilot of the use of BWCs by NYPD officers. The goal of the pilot program was to assess

the effects of deploying cameras on policing outcomes, community perceptions of policing in their

neighborhoods, and whether deployment results in reducing unconstitutional stops and frisks. In

a randomized control trial, 1,200 officers in 20 pilot precincts wore cameras for a one-year period.

Those 20 precincts were matched with 20 precincts in which officers were not wearing cameras.

The study showed that deployment of BWCs was associated with a statistically significant

decrease in Civilian Complaint Review Board (CCRB) complaints and a statistically significant

increase in the number of stop reports completed by treatment officers relative to control officers.

The NYPD is also required to have supervisors review the BWC videos of their officers and

provide the CCRB with BWC videos associated with citizen complaints. The NYPD is in

compliance with the BWC supervisory review requirement and with providing the CCRB with

timely access to BWC videos.

       The Department voluntarily equipped all uniformed officers performing patrol functions

in Patrol precincts, Housing Police Service Areas (PSAs), and Transit Districts, as well as those




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assigned to specialized units such as the Strategic Response Group, with BWCs. In 2021, the

NYPD changed its BWC policies to require officers to activate their BWCs for most Level 1

encounters (requests for information).

       Performance Evaluation. The Court found that the NYPD’s performance objectives and

the way that the NYPD measured officer performance put pressure on officers to make stops

without regard to whether they were constitutional. For that reason, the Court required the NYPD

to implement a performance evaluation system for officers that does more than just count the

number of enforcement actions (stops, arrests, summonses). The NYPD implemented a new

performance evaluation system for officers and detectives in November 2017. The Monitor

Team’s review of the NYPD’s performance evaluation system, as it is being implemented in

practice, showed that it does not lead supervisors to pressure officers to make more stops without

regard to the lawfulness of those stops. Also, the Monitor Team did not find cases in which officers

were given negative evaluations because of a lack of stop activity.

       Auditing. The Court’s Remedial Order requires the NYPD to develop systems to monitor

its members’ compliance with constitutional and state law standards. The Department’s Quality

Assurance Division (QAD) is the unit that conducts audits, including those relating to stop and

frisk and trespass enforcement. QAD also requires commands to submit self-inspections to

monitor their compliance. These audits and self-inspections examine each command’s compliance

with the Fourth Amendment and the NYPD’s stop and frisk procedures. In July 2020, the Court

approved the NYPD’s 2020 Audit Plan.

       QAD currently conducts four types of audits relevant to the remedial measures: (1) audits

of stop reports and associated BWC videos; (2) RAND audits to identify undocumented stops; (3)

PIE audits, also to identify undocumented stops; and (4) audits of trespass arrests and Trespass




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Crime Fact Sheets. QAD also oversees stop report and PIE self-inspections by commands and

compares its results with the results from the command self-inspections.

       The Monitor worked with the NYPD and Plaintiffs to improve QAD’s review of stops.

Most significantly, the 2020 Audit Plan requires QAD to review BWC video corresponding to

every stop report being audited. QAD also reviews the BWC video associated with every audited

trespass arrest and PIE arrest. In addition, under the command self-inspection protocol in the 2020

Audit Plan, Integrity Control Officers (ICOs) at commands also must review the BWC video

associated with each stop report being evaluated as part of stop report self-inspection. Given these

auditing measures, the NYPD is in compliance with Fourth Amendment auditing requirements.

       The NYPD’s 2020 Audit Plan does not cover the Department’s responsibilities for

monitoring its members’ compliance with the Fourteenth Amendment, a separate task. The

Monitor and the parties recognize the importance of sound NYPD procedures for monitoring

Fourteenth Amendment compliance. The Department has not yet established procedures for

monitoring its members’ use of stop and frisk and trespass enforcement in compliance with the

Fourteenth Amendment.

       Early Intervention. In 2020, the Court ordered the Department to implement an early

intervention system, i.e., a program that systematically receives, assesses, and acts on information

regarding adverse findings on the conduct of police officers involving illegal stops or illegal

trespass enforcements. The NYPD’s Early Intervention Program is not a disciplinary system; its

goal is to identify members with potential issues and at-risk behavior and take appropriate action

before they escalate. The interventions can be helpful in course correcting. Members of the

Service who trigger a designated threshold (e.g., has three CCRB complaints in one year) are

reviewed by an Early Intervention Committee (EIC), which evaluates, among other things, the




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member’s assignment, tenure in the Department, disciplinary or performance monitoring history,

the recommendations of the member’s commanding officer, and the recommendations of the Risk

Management Bureau (RMB). The EIC may then determine an intervention plan, which may

include training, further review of the officer’s BWC videos, enhanced supervision, change of

assignment, or a referral to the Internal Affairs Bureau (IAB) for potential disciplinary action, a

District Attorney’s Office for potential criminal investigation, or the NYPD’s Health and Wellness

Section. The EIC has not yet reviewed any members of the Department based on one of the Court-

ordered thresholds: lawsuits alleging improper stop, trespass enforcement, or racial profiling or

slurs where evidence existed that the police officer violated an NYPD rule. The NYPD is in partial

compliance with implementation of the early intervention system.

       Complaints and Discipline. The Court’s Remedial Order required the NYPD to change

its policies and practices with respect to investigations of racial profiling and other bias-based

profiling allegations as well as its handling of civilian complaints that have been substantiated by

the CCRB.

       With respect to investigations of racial profiling complaints, in 2019 and 2020, the Monitor

Team reviewed NYPD investigations of profiling complaints and found significant concerns

regarding their thoroughness and impartiality. As a result, the Department implemented changes

to its training for profiling investigations and to the IAB Guide on profiling investigations. Since

then, the Monitor Team reviewed another set of more recent investigations. The racial profiling

investigations selected for review reflected an improvement over prior profiling investigations.

The majority of the cases were more thoroughly investigated, and improvements were noted in the

complaint intake process, complainant contact and interview, and subject/witness officer

interviews. Investigators also used BWC videos of the subject and other officers present in the




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encounter. However, one deficiency common among the cases was a lack of any analysis of trends

or patterns of prior allegations and/or enforcement practices of the subject officer. In 2022, the

responsibility for investigating racial profiling complaints will be moved from the NYPD to the

CCRB. We are hopeful that this change will result in thorough and impartial investigations.

         For complaints about stop and frisk encounters, the Department Advocate’s Office (DAO)

reviews CCRB findings and recommendations for discipline regarding allegations the CCRB has

substantiated. The Court found that the NYPD failed to impose meaningful discipline when the

CCRB determined that officers engaged in unconstitutional stops and frisks. It required that the

DAO change its procedures to show “increased deference to credibility determinations by the

CCRB,” to adopt “an evidentiary standard that is neutral between the claims of complainants and

officers,” and to ensure there is “no general requirement of corroborating physical evidence.” 2 For
                                                                                              3F




the 2020 substantiated CCRB cases, the NYPD agreed that a violation occurred in all of the closed

stop and frisk cases (there are some 2020 cases that remain open). The NYPD did not challenge

the CCRB’s credibility determination in any of those cases.

         In 2021, the NYPD published a publicly available discipline penalty matrix to outline the

presumptive penalties for a wide variety of offenses. The discipline matrix also lists mitigating

and aggravating factors that should be considered when deciding on an appropriate penalty. The

presumptive penalty for an improper or wrongful stop, frisk, or search of an individual is set at

three penalty days, with a mitigated penalty of training and an aggravated penalty of 15 penalty

days. These presumptive penalties for stop and frisk violations are more severe than the penalties

that had been imposed for stop and frisk violations during the seven years of the monitorship, but

it is unclear how the discipline matrix will be applied.



2
    Floyd Remedial Order, 959 F. Supp. 2d at 684.

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       The Court has directed the Monitor to prepare an in-depth study of the efficacy, fairness,

and integrity of the City’s policies, practices, and procedures for handling police misconduct

during stops. The Monitor will defer its assessment of discipline requirements until after the

completion of the discipline study and report, which will occur later this year.

       Monitor’s Studies. In conjunction with the change in the NYPD’s BWC policy, the

Monitor will be undertaking studies of the NYPD’s BWC videos to address important questions

about the NYPD’s compliance with the Fourth and Fourteenth Amendments in police-citizen

encounters.



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SIXTEENTH REPORT OF THE INDEPENDENT MONITOR

I.     INTRODUCTION

       This is the Sixteenth Report of the Independent Monitor for the New York City Police

Department (NYPD) stop and frisk cases, Floyd v. City of New York, Davis v. City of New York,

and Ligon v. City of New York. This monitorship began with the District Court’s August 2013

liability decision finding that the Department had violated the Fourth and Fourteenth Amendments

and its Remedial Order setting forth necessary reforms. 3
                                                       4F




       In the more than eight years since the Court’s Remedial Order, the NYPD has made

significant strides in meeting the Court’s requirements. New policies have been put in place, a

new training has been conducted, a new stop report is in place, officers now wear Body-Worn

Cameras, and the NYPD has implemented a new early intervention system, a revised performance

evaluation system for police officers and detectives, and new auditing protocols. This Report

describes that progress, as well as the reforms that have yet to be accomplished and the

requirements that have not yet been met. One issue that was highlighted in the Monitor’s First

Report and continues to be a concern today, as discussed in this Report, is officers making stops

of civilians but not documenting those stops in a stop report. The Report below sets out several

steps for the NYPD to take to address this problem of underreporting.

       This Report is organized as follows: in each section, the Report describes the Court-

ordered requirements pursuant to the Floyd Remedial Order and the Davis settlements and then,

for each requirement, reviews the efforts made by the Department to implement them in practice,

and the Monitor’s assessment of those efforts. As discussed in the Report below, the NYPD



3
 Floyd v. City of New York, 959 F. Supp. 2d 540 (S.D.N.Y. 2013) (Liability Opinion); see Floyd
v. City of New York, 959 F. Supp. 2d 668 (S.D.N.Y. 2013) (Remedial Order).


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terminated the Trespass Affidavit Program (TAP) in September 2020, so this Report will not

include assessments for the TAP requirements under Ligon. The Report covers the following

topics: Written Policies (Section II), Underreporting (III), Ligon/TAP (IV), Supervision (V),

Training (VI), Body-Worn Cameras and the City’s Alternative to the Court-ordered Pilot Study

(VII), Performance Evaluation (VIII), Auditing (IX), Early Intervention System (X), and

Complaints and Discipline (XI).

       Appendix 1 to this Report details each of the Court-ordered requirements, the text from

which the requirement is derived, the definition of compliance, the methodology used for assessing

compliance, the data needed for the Monitor’s compliance review, and whether the City has done

the work necessary to meet the definition of compliance for that task. The terms to describe the

status of the Department’s compliance are as follows:

       In Compliance. The NYPD has met the definition of compliance for this requirement at
       this time. The Monitor’s responsibility will be to assess whether compliance is maintained
       and whether it is having the desired effect of meeting the fundamental goals of the Court-
       ordered reforms.

       Partial Compliance. The NYPD has made progress in implementing the requirement, but
       has not reached the level necessary for compliance, or there are additional steps that the
       Department needs to take to meet the definition of compliance.

       Not Yet in Compliance. The NYPD has more work to do to implement the requirement,
       the level of noncompliance is too high, and there are additional steps the NYPD needs to
       take to meet the definition of compliance.

The Monitor’s compliance assessment shows that the NYPD has put in place much of the policies

and procedures required by the Court and trained its officers in those policies and procedures. It

is now the implementation on the street that is being measured by the Monitor Team, and this

Report shows that there has been progress over the last year, but that there is still more work to be

done in terms of supervision, documentation, monitoring of Fourteenth Amendment compliance,

and discipline, among others.



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       Before delving into the requirements and NYPD implementation efforts, it is useful to

provide some context to this Report. This Report covers data and information about NYPD

policing in 2020 and 2021. Policing in 2020 and 2021 looked different than policing in 2019

because of both the COVID-19 pandemic and in response to the protests resulting from the murder

of George Floyd and the deaths of other Black Americans. Data from the last two years can be

difficult to interpret. Reported stops in 2019 rose to 12,958 from 11,238 in 2018, which appeared

to have been the result of increased reporting as opposed to an increase in stops. In 2020, reported

stops fell to 9,544. The numbers in 2021 for reported stops appear to be about that same level,

with 8,947 stop reports filed in 2021. This decrease in reported stops was likely due, in part, to

fewer stops as a result of the COVID pandemic, but it is unclear whether there was a continued

improvement in stop reporting. While reported crime in New York City decreased from 2018 to

2019, the City saw a spike in shootings and homicides starting in June of 2020. Shootings and

homicides in 2020 in New York City were higher than they were in 2019, following a trend

affecting many other U.S. cities. This increase continued into 2021.

II.    WRITTEN POLICIES

       A.      Stop and Frisk Policies

       The Court in Floyd recognized that the practice, known as “stop and frisk” or “stop,

question and frisk (SQF)” can be an important tool to further public safety. The Court ruled,

however, that the Department’s practices of stops, frisks, and searches did not comply with the

Constitution, and to remedy that, the Department needed to change its policies, procedures, and

practices on stops, frisks, and searches. The NYPD’s written policy regarding stop, question, and

frisk is detailed in Section 212-11 of the Patrol Guide (P.G.), Investigative Encounters: Requests

for Information, Common Law Right of Inquiry and Level 3 Stops. The Court required the

following changes made to the Patrol Guide:


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   x   The Patrol Guide must state what constitutes a stop; when a stop may be conducted; when
       a frisk may be conducted; and when a search may be conducted.

   x   The Patrol Guide must include a definition of “reasonable suspicion,” the standard needed
       for a stop.

   x   The Patrol Guide must state clearly that officers must have separate reasonable suspicion
       that a person is armed and dangerous to conduct a frisk of that person.

   x   The Patrol Guide must require officers to document the stop and articulate the
       circumstances that gave them reasonable suspicion for the stop, and, if conducted, for the
       frisk.

   x   The Patrol Guide must require supervisory review of stops, including review of the
       constitutionality of the stop, and not just that a stop report form was filled out.

               1.      Compliance Assessment—Written Stop and Frisk Policies and
                       Implementation.

                       Task 1a In Compliance; Task 1b Partial Compliance.

       In August 2015, the Court approved a new P.G. 212-11 governing stops, frisks, and

searches. The Patrol Guide also addresses investigative encounters between officers and civilians

that are less intrusive than stops or arrests. These encounters are governed by People v. DeBour,

which sets out four levels of encounters: a simple Request for Information (Level 1); a Common

Law Right of Inquiry (Level 2); a Terry stop, when an officer detains a person to investigate (Level

3); and an arrest (Level 4). The investigative encounters procedures in P.G. 212-11 describe the

standards that govern each level.

       There have been several changes to P.G. 212-11 since it was first approved by the Court in

2015. In March 2016, the Court approved changes to P.G. 212-11 to reconcile the procedures with

the revised stop report form required by the Court. Additional changes were made when the stop

report form became electronic, allowing officers to more easily complete the form on their phones.

In October 2018, the Department proposed, and the Court approved, changes to P.G. 212-11 to

comply with the Right to Know Act enacted by the City Council. These laws require officers in



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certain nonemergency encounters to identify themselves by name, rank, and command, explain the

reason for the stop, and offer business cards if the person stopped is not arrested or issued a

summons. Further changes to P.G. 212-11 were made in 2018 when the NYPD launched its

citywide BWC program and again in 2021 instructing officers to activate their BWCs at Level 1

and adding new requirements for the categorization of such videos (see BWC Section VII.C below,

Alternative to the Combined Pilot). These are all positive developments.

       The revised Patrol Guide for stop and frisk policies meets the requirements of the Court’s

orders and the City is in compliance with this requirement (Task 1a).

       As stated in prior Monitor Reports, compliance requires not just a change in written policy,

but also that the policy change is implemented and sustained in the field. Officers must articulate

reasonable suspicion for the stop and the frisk, if conducted, and articulate a justifiable basis for

the search, if conducted. Stops, frisks, and searches that do not meet these constitutional

requirements must be identified by the Department and corrective action taken with respect to both

the relevant officers and their supervisors.

       Starting in the fourth quarter of 2016, the Monitor Team has obtained samples of stop

reports to review. In 2018, Monitor Team members began reviewing the BWC video of the

encounters. The stop reports and BWC videos are evaluated by three members of the Monitor

Team and any disagreements, either among the Monitor Team or between the Monitor Team and

the NYPD’s assessment of the stop reports, are reviewed by the Monitor and Deputy Monitor. The

stops are then discussed, and the results sent to the NYPD, which meets with the Monitor Team to

discuss those cases in which there is a disagreement between the Department’s and the Monitor’s

assessment. As noted below in Section IX, Auditing, the level of agreement between the

Department’s assessments and the Monitor’s assessments has increased each year.




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       Chart 1 below reflects the Monitor’s assessment of stop reports from the fourth quarter of

2016 to the fourth quarter of 2020. The chart shows the quarter and number of stop reports

reviewed in the first two columns and the number and percentage of stop reports that the Monitor

Team determined articulated reasonable suspicion for the stop in the third column. The number

of stops with frisks and the Monitor Team’s assessment of whether those stop reports articulated

reasonable suspicion that the person stopped was armed and dangerous are reported in the fourth

and fifth columns. The sixth column reports the number of stops that included a search, and the

seventh column reports the number and percentage of stop reports that the Monitor Team

determined articulated a suitable justification for the search. The Monitor’s assessment of stops

included only stops for which there was a stop report and does not account for stops that were not

reported; see Section III below for a discussion of undocumented stops.

Chart 1.       Monitor Team Review of Stop Reports 4Q2016 through 4Q2019
 Quarter     # Stop       Stop           # Stop         Stop Reports      # Stop        Stop Reports
             Reports      Reports that   Reports in     that              Reports       that
             Reviewed     Articulate     Which          Articulate        Where         Articulate
             by           Reasonable     Suspect Was    Reasonable        Suspect Was   Justification
             Monitor      Suspicion      Frisked        Suspicion for     Searched      for the
             Team         for the Stop                  the Frisk                       Search
 4Q2016           261       121 (46%)         146          111 (76%)           67           56 (84%)
 1Q2017           256       142 (55%)         145          114 (79%)           79           68 (86%)
 2Q2017           302       178 (59%)         176          143 (81%)           91           73 (80%)
 3Q2017           312       188 (60%)         179          146 (82%)           87           76 (87%)
 4Q2017           305       212 (70%)         171          153 (89%)          107         101 (94%)
 1Q2018           308       202 (66%)         213          187 (88%)           92           84 (92%)
 2Q2018           295       211 (72%)         189          169 (89%)           81           70 (87%)
 3Q2018           302       251 (83%)         150          134 (89%)          113           98 (87%)
 4Q2018           300       239 (80%)         184          170 (92%)          113         106 (94%)
 1Q2019           315       250 (79%)         174          155 (89%)          109         101 (93%)
 2Q2019           308       245 (80%)         190          168 (88%)          121         115 (95%)
 3Q2019           304       249 (82%)         143          117 (82%)          129         119 (92%)
 4Q2019           308       202 (66%)         213          187 (88%)           92           84 (92%)

       For 2020, the Monitor Team’s assessments of stops included the BWC video associated

with the stop reports being reviewed. The Monitor Team’s review of BWC video determined



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whether there were stops that did not have a legal basis even though the stop report narrative

articulated reasonable suspicion. The Monitor Team also was able to assess whether the BWC

video showed that a stop encounter was legal, even though the written stop report narrative did not

sufficiently articulate reasonable suspicion for the stop. The Monitor Team’s evaluation of stops,

frisks, and searches in 2020 included all the available evidence, including the stop report, the ICAD

(the radio dispatch system) printout, and BWC video. Chart 2 below presents the Monitor Team’s

assessment of whether the stop was legal and whether the frisk, if conducted, was proper and

whether the search, if conducted, was proper.

Chart 2.       Monitor Team Review of Reported Stops 1Q2020 through 4Q2020
 Quarter     # Stops       Stops That     # Stop in       Frisks That     # Stop         Stop That
             Reviewed      Had            Which           Had             Where          Had
             by            Reasonable     Suspect         Reasonable      Suspect        Justification
             Monitor       Suspicion      Was             Suspicion for   Was            for the
             Team          for the Stop   Frisked         the Frisk       Searched       Search
 1Q2020           303      252 (85%)            161         153 (95%)        117          109 (93%)
 2Q2020           302      237 (78%)            138         127 (92%)        119          113 (95%)
 3Q2020           300      280 (93%)            152         142 (93%)        127          119 (94%)
 4Q2020           298      264 (88%)            140         136 (97%)        107          100 (93%)

       Charts 1 and 2 indicate that the level of compliant stop reports and stops has improved over

time. More than half the stop reports in the first quarter of 2016 failed to articulate reasonable

suspicion. By 2019, the Monitor Team’s review of stop reports showed that 23.4 percent of stop

reports failed to articulate reasonable suspicion. In 2020, based on the stop reports, the BWC

videos and ICAD printouts reviewed, the Monitor Team determined that 14.2 percent of the stops

reviewed were improper, lacking reasonable suspicion. The percentage of officers who articulated

reasonable suspicion that the person stopped was armed and dangerous (necessary for a frisk), or

justification for the search, also increased over time, although the level of compliance was fairly

high even in the fourth quarter of 2016. In 2020, over 94 percent of reported frisks reviewed by

the Monitor Team were proper and over 96 percent of reported searches reviewed were proper.


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       The Monitor’s assessment of stops and stop reports can only be based on stops that have

been documented by officers in a stop report. As discussed in Section III below, there are officers

who are making stops but not documenting them in a stop report. The Monitor cannot assess the

legality of stop encounters that have not been documented. Without more accurate and complete

documentation of stop encounters, the Monitor cannot find the NYPD in compliance with the

Court-ordered stop and frisk policies. Based on the Monitor’s review of stop reports and BWC

video of stops, as well as the extent to which supervisors and Integrity Control Officers are

identifying and correcting improper stops (see Section V, Supervision) and the Quality Assurance

Division is identifying improper stops (see Section IX, Auditing), the NYPD is in partial

compliance with respect to implementing the Court-approved stop and frisk policies (Task 1b).

       B.      Stop Report Form

       The Court’s order required the NYPD to develop and implement a stop report form to be

used by officers every time a person is stopped. The stop report must include a narrative section

to explain the basis for the stop and a narrative section to explain the basis for the frisk or the

search, if applicable. The Court also required the Department to simplify and improve the

checkboxes that were in the prior stop report.

               1.      Compliance Assessment—Stop Report Form.

                       Tasks 3, 8a In Compliance; Task 1c Partial Compliance.

       Revisions to the stop report were approved by the Court in March 2016. As required by

the Floyd Remedial Order, two narrative sections were added to the stop report. The electronic

version of the stop report in FORMS, the NYPD’s Records Management System, was approved

by the Court in November 2016. In October 2018, the Court approved revisions to the stop report

for officers to document the type of information that led to the stop (self-initiated, radio run, or

victim or witness report) and whether a radio run was anonymous or not. The current stop report


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in use by the NYPD meets the requirement for a stop report form and the City is in compliance

with Tasks 3 and 8a. The NYPD will only be in full compliance with the Court’s stop report

requirements, however, if officers use the stop report form to document their stops in practice. The

underreporting of stops has been acknowledged by the Department and explicitly identified in

NYPD audits (see Section III, Underreporting, below). The Department is in partial compliance

with Task 1c, implementation of the stop report form.


       C.      Policy Prohibiting Racial Profiling

       The Court’s orders and the parties’ agreements require the NYPD to revise its Patrol Guide

prohibition on racial profiling. The new procedures must state that race, ethnicity, or national

origin may be considered by officers in taking police enforcement action only when it is part of a

specific and reliable suspect description, and that racially defined groups may not be targeted for

stops simply because they appear more frequently in local crime suspect data.

               1.      Compliance Assessment—Policy Prohibiting Racial Profiling and
                       Implementation.

                       Task 2a In Compliance; Task 2b Partial Compliance.

       In August 2015, the Court approved the Department’s revised policy prohibiting racial

profiling and bias-based policing, P.G. 203-25. The policy defines racial profiling as police action,

including stops, frisks, arrests, or other law enforcement actions, or the failure to perform a police

action motivated, even in part, by the actual or perceived race, color, ethnicity, or national origin

of an individual. Race may be considered only if it is part of a reliable and specific suspect

description that includes not just race, gender, and age, but other identifying characteristics or

information. The policy also includes a description of Section 14-151 of the New York City

Administrative Code prohibiting bias-based profiling.          The Administrative Code includes




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demographic categories in addition to race, color, and national origin: creed, age, alienage or

citizenship status, gender, sexual orientation, disability, and housing status.

         In June 2021, the Department moved the racial profiling policy from the Patrol Guide to

the NYPD’s Administrative Guide, A.G. 304-17. 4 The NYPD also added two sections to A.G.
                                                     5F




304-17, which state that the Department is committed to complying with federal civil rights laws

(e.g., Title VII, Section 504, Title IX) and that it is impermissible to retaliate against any individual

under Title VI of the 1964 Civil Rights Act. The Department policies comply with the Court’s

requirement for policies prohibiting racial profiling (Task 2a).

         To assess the Department’s compliance with its racial profiling policies and the Fourteenth

Amendment, the Monitor has used a variety of statistical analyses of NYPD’s stop and frisk data

conducted by experts on the Monitor Team.

         In the Monitor’s Fifth Report, Dr. John MacDonald, a member of the Monitor Team,

examined trends in the NYPD’s SQF data for the years 2013, 2014, and 2015. The analyses in

that report indicated that racial disparities during 2013-15 were trending in the right direction; most

measures showed a diminution of racial disparities, although some did not. However, that report

drew no conclusion about the NYPD’s constitutional compliance, because statistical data over a

more extensive period was needed.          Moreover, as noted in prior Monitor reports, NYPD

underreporting of stops limits the reliability of analyses based on data that include only reported

stops.

         The Monitor’s Thirteenth Report examined SQF data for 2013-2019, using the statistical

analyses developed and applied in the Monitor’s Fifth Report, comparing racial disparities in post-



4
 Moving the racial profiling policies to the Administrative Guide does not diminish its authority;
any violations of the Administrative Guide are subject to discipline and correction just as are
violations of the Patrol Guide.

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stop outcomes—frisks, searches, summonses, arrests, uses of force, and the percentage of frisks

and searches that resulted in the recovery of contraband or weapons, or “hit rates”—after

controlling for other potentially confounding factors. To address the concern that undocumented

stops might undermine the validity of the analyses in the report, Dr. MacDonald conducted

additional analyses to examine the extent to which undocumented stops may affect the estimates

of racial disparities in post-stop outcomes.

       The analyses in the Thirteenth Report indicated that racial disparities between Black and

Hispanic persons and similarly situated Whites and others in frisks, searches, summonses, arrests,

uses of force, and the recovery of a weapon or other contraband, diminished substantially after the

Court’s 2013 Remedial Order. However, undocumented stops raise concerns about the ability to

draw strong conclusions about Fourteenth Amendment compliance. This is particularly the case

for comparisons of frisks, arrests, and uses of force for Black persons, as the estimated disparities

in stop outcomes increase if one uses a larger estimate of undocumented stops.

       Without more complete data on stops, the NYPD is in partial compliance with

implementation of the racial profiling policies (Task 2b).

       D.      NYCHA Interior Patrol Policies

       The Davis settlement requires revisions to P.G. 212-60, which concerns interior patrols of

New York City Housing Authority buildings. The settlement also requires changes to related

NYPD training materials and the use of a revised Trespass Crimes Fact Sheet (TCFS), an NYPD

form used by officers to describe the circumstances leading to or supporting an arrest for trespass.

The Court-approved policy states that officers must have an objective, credible reason to approach

a person in or around an NYCHA building, and that simply entering, being in, or exiting an

NYCHA building is not an objective credible reason for an approach.




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               1.      Compliance Assessment—NYCHA Interior Patrol Policies.

                       Task 10a In Compliance; Task 10b Partial Compliance; Task 10c No
                       Assessment.

       The Court approved the Department’s revised policy regarding interior patrols of NYCHA

buildings in June 2016. It became effective on April 25, 2017. The City is in compliance with the

Court’s requirement regarding written policies for NYCHA interior patrols (Task 10a).

       The Monitor’s Fifteenth Report examined the NYPD’s trespass enforcement activities

from 2013 to 2019.      The report analyzed trends and patterns in trespass arrests, trespass

summonses, and trespass stops made by NYPD officers in and around NYCHA housing

developments during those years. It assessed whether Black and Hispanic persons are more likely

to be subjected to NYPD trespass enforcement actions relative to Whites and other racial group

members. Since the entry of the Davis settlement, citywide NYPD criminal trespass arrests have

dropped by almost 74 percent, trespass summonses have declined by 80 percent, and trespass stops

have decreased by 96 percent from 2013 to 2019. These substantial declines in NYPD trespass

enforcement activities were observed in NYCHA buildings, in areas surrounding NYCHA

buildings, and throughout New York City’s five boroughs. In addition, the results show clearly

that trespass enforcement dropped significantly for Black and Hispanic individuals in NYCHA,

and that the decreased trespass enforcement was not associated with increases in other enforcement

activity. The analyses in the Fifteenth Report also indicated that the percentages of area residents

that are Black and Hispanic are no longer statistically significant predictors of trespass arrest,

trespass summons, and trespass stop rates in NYCHA buildings or in census block groups at further

distances from NYCHA developments. Black and Hispanic subjects are now no more likely to be

subjected to trespass enforcement activities relative to White and other racial group subjects.

These results support the analysis of the Monitor’s Thirteenth Report.



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       The analysis in the Fifteenth Report did not examine individual trespass arrests,

summonses, and stops for Fourth Amendment compliance. That assessment was done for this

Report. With respect to implementation, the Monitor Team reviewed stop reports at NYCHA

properties and officer BWC videos of interior patrols in NYCHA buildings.

                       a.       Review of Stop Reports at NYCHA Properties

       A sample of 300 stop reports was randomly selected from the population of 771 reports for

stops in NYCHA developments in 2020. These reports were identified from the publicly available

data on the NYC data portal. For each stop report, the Monitor Team assessed whether the stop

narrative articulated reasonable suspicion for the stop, whether the frisk narrative articulated

reasonable suspicion that the person stopped was armed and dangerous, and whether there was a

sufficient legal basis for the search. Chart 3 below summarizes the Monitor’s assessment of the

legal sufficiency for the stops, frisks, and searches listed in the 300 reports, along with the

assessments from prior years.

Chart 3 NYCHA Stop Reports
 Period      Stop           Stop Narrative    Frisks    Frisk                Searches Search
             Reports        Articulates       Evaluated Narrative            Evaluated Narrative
             Evaluated      Reasonable                  Articulates                    Articulates
                            Suspicion for               Reasonable                     Legal Basis
                            Stop                        Suspicion for                  for
                                                        Frisk                          Search

 2017/2018       412            253 (61%)         225         200 (89%)         183         176 (96%)
   2019          300            198 (66%)         178         156 (88%)          97          90 (93%)
   2020          300            215 (72%)         197         179 (91%)         129         114 (88%)

The Monitor Team made the following additional observations:

   x   Of the 85 stop reports that the Monitor Team determined did not articulate reasonable
       suspicion, 80 of the stop reports were approved by the supervising officers. In five cases,
       the supervisor and Monitor Team agreed that there was an insufficient basis for the stop.
       In one instance, the Monitor Team disagreed with the reviewing supervisor and determined
       that there was a sufficient basis for the stop.



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   x   Of the 18 stop reports in which, according to the Monitor Team’s determination, there was
       insufficient articulation that the person frisked was armed and dangerous, the supervising
       officer concluded that there was an insufficient basis for the frisk in two of the 18
       encounters, approved the frisk in 14, and did not review the legal basis in two others.

                       b.      Review of BWC Videos at NYCHA Properties

       As part of the monitoring plan, BWC video recordings are assessed to explore the

lawfulness of encounters between police officers and members of the public inside and in the

vicinity of NYCHA buildings. Every six months, the Axon BWC data management system is

searched using the tag “Interior Patrol–NYCHA.” In 2020, there were 71,504 videos categorized

as “Interior Patrol–NYCHA.” This is approximately half of the more than 149,000 videos that

were recorded in 2019 as Interior Patrol–NYCHA. Due to the frequency of videos in which no

members of the public are encountered in routine interior patrols, the sample was stratified into

two groups. The first group was videos that were “uncategorized” with a secondary category of

“Interior Patrol–NYCHA.” The second group consisted of videos assigned a category indicating

there was police action involving a member of the public (arrest, summons, investigative

encounter) and that also had the secondary category of “Interior Patrol–NYCHA.” Two hundred

videos from each stratum (uncategorized and category indicating police action) were randomly

selected for assessment. This assessment focused on the lawfulness of significant public contacts

between the police and the public.

       For monitoring purposes, significant public contact is defined as any encounter between

the officer and a member of the public that lasts longer than 30 seconds, or any encounter in which

it appears that the officer is engaged in an investigative encounter. This would include contacts of

less than 30 seconds during which the officer asked Level 1 or Level 2 questions. Routine

interactions with staff members of the building, other officers, or persons in their official capacity

(FDNY, EMS, Postal, etc.) were not considered a significant public contact for this definition.



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There was significant public contact in 14 percent (27 of 200) of the “uncategorized” videos and

51 percent (101 of 200) of the other videos. Overall, in 128 of the 400 videos (32%), the recording

officer had significant public contact with a person during the Interior Patrol.

        A total of 282 individuals were encountered in the 128 videos in which officers were

observed to have had significant public contact. Chart 4 below summarizes the results of the

Monitor Team’s review of the 128 videos

Chart 4. 2020 NYCHA BWC Videos

Table 1 – Location Where Person First Encountered

    Location                      Count
    APARTMENT                      38
    BASEMENT                         1
    ELEVATOR                         6
    HALLWAY                         95
    LOBBY                          16
    OUTSIDE                         35
    ROOF                             1
    ROOF LANDING                    24
    STAIRWAY                       66
    Total                          282


Table 2 – Level at First Encounter
 Level                           Count
 0                                 13
 1                                 191
 2                                 22
 3                                 10
 4                                 44
 Inconclusive 5
              6F                    2
 Total                             282



5
  There are a few reasons why a BWC video can be inconclusive, but it is often because the video
was activated after the encounter started (so the viewer cannot see or hear what was said or done
at the beginning of the encounter) or terminated early, before the end of the encounter.


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Table 3 – Did It Appear that the Officers’ Actions Were Lawful at First Encounter?
                               Count
 Inconclusive                     5
 No                              15
 Yes                            262
 Total                          282


Table 4 – Did the Encounter Escalate?
                             Count
 Inconclusive                  4
 No                           252
 Yes                           26
 Total                        282


Table 5 – If the Encounter Escalated, Did the Escalation Appear Lawful? 6    7F




                      Count
 No                     19
 Yes                     7
 Total                  26


Table 6 – Was the Person Frisked?
                    Count
 Inconclusive         4
 No                  253
 Yes                  25
 Total               282


Table 7 – Did the Frisk Appear Lawful?
                    Count
 No                    12
 Yes                   13
 Total                 25




6
  The Monitor Team determined whether there was improper escalation based on whether the
officer had a legal basis for escalation (e.g., reasonable suspicion to escalate to Level 3 or Probable
cause to escalate to Level 4 arrest).


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Table 8 – Was the Person Searched?
                     Count
 Inconclusive          4
 No                   251
 Yes                   27
 Total                282


Table 9 – Did the Search appear lawful?
                     Count
 No                    13
 Yes                   14
 Total                 27


Table 10 – Enforcement Action Taken?
                   Count
 Inconclusive         1
 None                249
 Summons             10
 Arrested             22
 Total                      281


Table 11 – Did the Officer Offer a Right to Know (RTK) Business Card?
                        Count
 Inconclusive               3
 Not Required             229
 No                        45
 Yes                        5
 Total                    281


Table 12 – Did the Officer Explain His/Her Actions?
                         Count
 Inconclusive                6
 No                         18
 Yes                       257
 Total                     281


Table 13 – Gender of Person Encountered
                   Count
 Inconclusive         5


                                                                           33
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 Female              87
 Male                190
 Total               282


Table 14 – Race of Person Encountered
                  Count
 Inconclusive        18
 Asian               2
 Black              173
 Hispanic            75
 White              14
 Total              282


The Monitor Team made the following observations:

   x   The most common location of the 282 encounters was in the hallway (34%).

   x   Most encounters (N=191) started at Level 1 (68%).

   x   There were 44 encounters that started at probable cause (16%). In nine of these encounters
       (20%), the person was issued a summons; in 11 cases (25%), the person was arrested; and
       in 24 cases (55%), no enforcement action was taken.

   x   During the 282 encounters, the officers acted lawfully at the initial approach in 261 (93%)
       of them; in 15 encounters (5%), the officers did not appear to have a credible reason to
       approach, and five encounters were inconclusive.

   x   There were 26 encounters that appeared to escalate; of those, escalation was proper in seven
       (27%) and without the appropriate legal authority in 19 (63%).

   x   In the large majority of encounters, there was no frisk (91%). Of the 25 encounters in
       which a frisk was conducted, the officer had reasonable suspicion that the person was
       armed and dangerous in 13 (52%) of them.

   x   In the large majority of encounters, there was no search (90%). Of the 27 encounters in
       which there was a search, the officer had the legal authority to conduct the search in 14
       (52%) of those encounters.

       The Fifteenth Report showed that the level of NYPD trespass enforcement has decreased

significantly. But the trespass enforcement that remains must be conducted constitutionally. The

Monitor Team’s review of reported stops in NYCHA buildings has shown an increase in stops



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with reasonable suspicion, but only to a level of 72 percent compliance. The reviews of BWC

videos of Interior Patrols at NYCHA buildings showed improper escalation and officers’ failure

to offer persons their business card when required. The Monitor Team determined that the NYPD

is in partial compliance with implementing the revised policies regarding police patrols at NYCHA

locations (Task 10b). The Monitor Team will be reviewing 2021 trespass arrests for the next report

and will assess compliance with Task 10c.

       E.      Trespass Crimes Fact Sheets (TCFS)

       The Davis settlement requires officers making trespass arrests in NYCHA buildings to

document the arrests on a new form—the Trespass Crimes Fact Sheet (PD 351-144). NYPD

officers must complete a TCFS prior to arraignment, and the TCFS must articulate a proper basis

for the officer’s approach and probable cause for the trespass arrest.

               1.      Compliance Assessment—Trespass Crimes Fact Sheet

                       Task 11a In Compliance; Task 11b No Assessment.

       Revisions to the TCFS were approved by the Court in June 2016. The TCFS transitioned

from a paper form to an electronic form that is available on officers’ phones and in the NYPD’s

records management system in 2020. The NYPD is in compliance with the written requirement

that trespass arrests be documented with a TCFS (Task 11a). The NYPD audited 2020 trespass

arrests and found that a TCFS was completed in 94 percent of arrests at NYCHA locations. The

Monitor Team did not review 2020 trespass arrests and the TCFS associated with them. The

Monitor Team will be reviewing 2021 TCFS for the next report and will assess compliance with

Task 11b.




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         F.     Business Card Requirement

      The Floyd Remedial Order specified that any “form or card given to stopped persons should

provide the stated reasons for the stop, the badge numbers of the stopping officers, and information

on how to file a complaint.” 7
                             8F




                1.      Compliance Assessment—Business Card Requirement

                        Task 14 Not Yet In Compliance.

         In August 2015, as part of the submission of P.G. 212.11, the Department required officers

to offer persons who are stopped but not arrested or summonsed a “What Is a Stop?” tear-off

information card. To comply with New York City’s Right to Know Act, the “What Is a Stop?”

tear-off information card was replaced with a single all-purpose Business Card that officers are

required to offer individuals at the end of most Level 2 and Level 3 encounters and other specified

interactions. The Business Card is pre-printed with the officer’s name and shield number and the

back of the card lists a website where individuals who are stopped can request their stop report as

well as BWC footage related to the encounter. Plaintiffs agreed to this change on the condition

that the Department respond to public requests for stop reports within 10 business days.

         Although the Business Card was approved by the Court and meets the requirements of the

Court’s order, the Monitor Team’s review of BWC video and stop report data indicates that in too

many cases, officers are not offering Business Cards to persons stopped but not arrested or

summonsed. Chart 5 below illustrates the frequency that Business Cards are offered by members

of the NYPD as observed on BWC footage during the Monitor Team’s assessment of stop reports

and videos associated with those stops. In 2020, the NYPD complied with offering the Business




7
    Remedial Order, 959 F. Supp. 2d 668, 682.

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Card in 46.5 percent of the instances when it was required (309 out of 665). The NYPD is not yet

in compliance with this requirement (Task 14).

Chart 5. Compliance with Business Card Requirement – 2020 Monitor Sample of Stops

                              RTK        RTK      RTK
               Total         Card Not    Card     Card
  Quarter      Events        Required   Required Offered Compliance
  1Q2020        288            109        179      91     50.80%
  2Q2020        275            114        161      71     44.10%
  3Q2020        275            120        155      68     43.90%
  4Q2020        280            110        170      79     46.50%
 2020 Total     1118           453        665     309     46.50%


III.   UNDERREPORTING OF STOPS

       Any assessment of compliance with the Court’s remedial orders will be impossible unless

the Department finds ways to ensure that unreported stops are no longer a significant issue. If the

NYPD’s data is not accurate and complete, the Monitor cannot find that the City is in substantial

compliance.

       Trying to identify and report on actions that are not documented is difficult. The Monitor

and the NYPD have attempted to determine the scope of underreporting of Level 3 Terry stops

and address the problem in a number of ways. These include: (a) RISKS Reviews; (b) RAND

audits of radio communications; (c) PIE audits; (d) supervisory review of BWC videos; (e) CCRB

reports of stop-related complaints for which a stop report was not completed; and (f) discipline

and correction of officers for unreported stops. These measures are discussed in the Report below

and in Sections V, IX, and XI.


                        a.       RISKS Reviews

       Starting in December 2018, the NYPD began meeting with every Patrol, PSA, and Transit

command twice a year to discuss the commands’ efforts to address the following issues:



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underreporting of stops, constitutionality of stops, and compliance with policies regarding the use

of BWCs, including proper activation and deactivation, categorization, and supervisory reviews of

videos. Before each meeting, the Risk Management Bureau prepares a profile of the command to

be reviewed, including relevant statistics from audits by the Quality Assurance Division and data

on BWC usage. Underreporting is a key focus of the RISKS Review process. Knowing that the

stop reports and BWC videos of their subordinates will be discussed at the command’s RISKS

Review is an incentive for command leadership to ensure that there is meaningful review of the

stop reports and BWC videos. The Monitor Team attends the RISKS Review meetings, including

those done remotely during the COVID-19 pandemic. There were 175 RISKS Review meetings

in 2020 and 98 RISKS Review meetings in the first six months of 2021.

       Representatives from the Risk Management Bureau begin the meetings with every

command with a statement about the purpose of the RISKS meetings. Commanding Officers

(COs) and their staffs are reminded that RISKS is designed to ensure that every stop, frisk, and

search conducted is lawful, that every stop is documented, that every stop is recorded on BWC,

and that stops are free from racial bias. After this opening by RMB, COs are given the opportunity

to discuss challenges related to the RISKS process and how they are meeting those challenges.

The meeting then proceeds to examine the metrics reported in the RISKS profile for each

command, and COs are expected to discuss deficiencies and a plan for correcting them.

       The RISKS meetings are an important strategy for the NYPD to achieve substantial

compliance. Commands are adopting local strategies to address concerns identified in the RISKS

Review meetings. Some commands are adding keyword searches to the RAND audits (see

subsection b below), while others are using the BWC system in proactive ways to identify

underreporting. The better-prepared Precinct Commanders are using the RISKS Review metrics




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and developing practices designed to achieve compliance. We hope to see even more COs using

this process for addressing documentation and compliance issues.

                      b.      RAND Audits

       The NYPD relies on a methodology developed by the RAND Corporation (thus named the

RAND audit) to search for encounters that might be stops, determine whether the encounter was a

Level 3 stop, and if so, whether it was properly recorded on a stop report. The RAND audit

involves a search of radio dispatches (the ICAD system) for four keywords: “stopped,” “holding,”

“show-up,” and “warrant check.” Presumably, if an officer reports a stop over the radio, one of

these four keywords might be used. For each command, QAD searches ICAD for a one-week

period for these keywords. QAD auditors then listen to the radio transmissions, review the ICAD

printouts, and view BWC videos to assess if a stop might have occurred. QAD then cross-

references events that might be stops with the stop reports recorded in that command to determine

if the stop was recorded. If the auditor determines that a stop report may have been required but

was not prepared, the matter is referred to the command for further investigation. The command

then reports back to QAD whether the encounter did, in fact, require a stop report and whether one

was filed. The Monitor Team has been tracking these audits since the first quarter of 2016. The

compliance rate for completed stop reports based on the RAND audits increased from 49 percent

in 2017 to 71 percent in 2020 (see Auditing, Section IX, below).

       Although the RAND audit results have shown an increase in completed stop reports for

encounters that involved stops, the RAND audit methodology has been decreasing in its

effectiveness in identifying events that may have been stops. Officers are now using their NYPD

phones instead of their radios for a variety of tasks, so those tasks will not appear in ICAD

transmissions.




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        The figure below illustrates the relative effectiveness of RAND audits in identifying

possible events that might be stops worth investigation by commands. The blue line in Figure 1

illustrates the number of events that QAD identifies that might be possible stops per RAND audit.

For example, in the first quarter of 2016, QAD conducted 28 RAND audits and identified 37

keyword incidents that could possibly be stops. The orange line represents the percentage of

possible stops compared to all of the events in ICAD that contained those keywords. Again, for

example, in the first quarter of 2016, there were 630 ICAD keywords identified during the search

and 37 of them were determined by QAD to possibly be stops; in 5.9 percent of the keyword hits,

a stop was suspected. These indicators can be used as a measure of the RAND audit efficiency.

        Both these measures have been decreasing since the first quarter of 2016. This may be

due, in part, to the fact that officers are now using their Department cellphones for many of the

tasks for which they previously would call in on the radio, such as warrant checks. The trend lines

as noted by the dotted lines in each respective color show a downward slope. It is the Monitor

Team’s assessment that the RAND audit has a diminished ability to identify possible stops based

on the keywords in ICAD. For this reason, the Monitor Team recommended in December 2021

that the NYPD consider using BWC auditing methods for identifying undocumented stops (see

subsection d, below). The Monitor anticipates a proposal from the NYPD for BWC audits in May

2022.




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Figure 1. Possible Stops per RAND Audit and Percentage Possible Stops per Keyword


1.4                                                                                                   7.0%


1.2                                                                                                   6.0%


1.0                                                                                                   5.0%


0.8                                                                                                   4.0%


0.6                                                                                                   3.0%


0.4                                                                                                   2.0%


0.2                                                                                                   1.0%


0.0                                                                                                   0.0%




                                   Events per Audit         %PossibleStops




       In addition to QAD RAND audits, commands have conducted their own RAND audits.

Starting in February 2020, the RMB began conducting a daily automated search of the keywords

in ICAD transmissions of patrol commands and sending the results to commands that subscribe to

this report for investigation. In addition, some commands developed protocols over and above the

RAND daily searches. They use additional keywords relevant to their commands, such as

canvassing, or misspell keywords, such as “stp” in addition to “stop” to locate possible hits. This

should be encouraged.

       In both 2019 and 2020, the Monitor requested that NYPD track and report on

undocumented stops identified by commands using these methods. However, the NYPD does not

require commands to maintain this data, and the NYPD has not been collecting data from this



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methodology. To better identify and account for underreporting and achieve compliance with Task

1c, the NYPD will need to begin tracking and reporting this type of data to the Monitor.

                       c.     Police Initiated Enforcement Audits

         A second audit conducted by QAD to identify undocumented stops is the PIE audit. These

audits examine arrests in which the People of the State of New York are the complainants on the

Complaint Report, such as criminal possession of a controlled substance and criminal possession

of a weapon. The arrest reports are reviewed to determine whether it appears that a stop report

should have been completed for the encounter. When an auditor determines that an arrest report

possibly required a stop report and no stop report was completed, the arrest report is sent to the

command for further investigation. From 2017 to 2020, the compliance level identified by QAD’s

PIE audits increased from 34.2 percent in 2017 to 71.6 percent in 2020 (see Auditing, Section IX,

below).

Figure 2 – PIE Compliance


                            % PIE Compliance
 90.0%

 80.0%

 70.0%

 60.0%

 50.0%

 40.0%

 30.0%

 20.0%

 10.0%

  0.0%




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                       d.      Review of BWC Videos

       The NYPD can also identify stops that were not documented by having supervisors or

auditors examine the BWC videos of their officers. Sergeants are required to review five BWC

videos of their officers per month and complete a self-inspection worksheet of their reviews. In

addition, other supervisors at the command level, such as training sergeants, platoon commanders,

Integrity Control Officers, and others, review officer BWC videos. At RISKS Review meetings,

command staff are asked about supervisory review of BWC videos and whether any undocumented

stops were identified. In 2021, several commands found stops that did not have stop reports

through their review of BWC footage. For example, at a recent RISKS Review, one command

identified four unreported stops from radio runs based on reports of a person with a gun (“gun

runs”) by randomly viewing BWC videos recorded by the Public Safety Team. None of these

incidents were discovered by the RAND audits conducted by QAD or by the command. In 2019

and again in 2020, the Monitor asked the NYPD to track the number of undocumented stops

identified through command BWC video reviews, but the NYPD to date has not done so. The

NYPD will need to begin tracking and reporting this type of data to the Monitor to achieve

compliance with Task 1c.

       Review of BWC video can also be done by RMB in a more focused auditing fashion. Most

stops that have stop reports were categorized by the recording officer as “Arrests” or “Investigative

Encounters” in the BWC metadata. The NYPD should use these two categories to create samples

of videos to search for undocumented stops. Two other categories used frequently by officers to

categorize recordings of Level 3 stops are “Crime in Progress” and “Stop-Pedestrian.” These

categories would be a good source of information to drive BWC audits for missing stop reports.

For example, during the week of December 27, 2020, there were 12 BWC videos categorized as

“Stop-Pedestrian,” but only one stop report on file for that week. That discrepancy calls for a


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review of the 12 BWC videos to determine if they involved stops, and if so, determine appropriate

corrective measures.

       The Monitor Team has done its own review of BWC videos categorized as “Investigative

Encounters.” Beginning in the second quarter of 2020, the Monitor Team selected a random

sample of BWC videos categorized as “Investigative Encounter” from the population of all videos

recorded in that time period. The initial sample size was 75 videos from each quarter, and this was

increased to 150 videos for the first quarter of 2021 and subsequent samples. The Monitor Team

then views the videos from each quarter and seeks to determine if the encounter involved a stop,

frisk, or search. If the video appears to illustrate a stop, frisk, or search, the video is sent to the

NYPD to investigate if a stop, frisk, or search did occur and if the encounter was properly

documented. The chart below illustrates the results of this effort:

Chart 6 – Investigative Encounter BWC Video Analysis
 Quarter     Number of       Sample Possible NYPD                 Monitor        Stop      Compliance
            Investigative     BWC    Stops Confirmed             Identified     Reports       rate
             Encounter       Videos          Stops                as Stops
            BWC Videos
 2Q2020        10,915           75        24           19            19
 3Q2020         9,478           75        21           19            20
 4Q2020         8,352           75        24           18            18
 1Q2021        10,039          150        67           47            55
               38,784          375       136          103           112           100         89.3%

       As noted in Chart 6 above, the Monitor Team assessed 375 BWC videos categorized as

“Investigative Encounter” and determined that 136 of those videos appeared to capture a stop

encounter. After the NYPD conducted its review of these recordings, it concluded that 103 of

them were confirmed as stops. Of the 103 videos the NYPD confirmed as stops, the NYPD located

100 stop reports on file, and in three incidents the stop was not documented in a stop report. The

NYPD determined the other encounters to either be events that started at probable cause or never




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rose to the level of a Level 3 stop. The Monitor Team again reviewed the BWC videos in light of

the NYPD’s views and agreed that some of those encounters did start with probable cause.

However, there were nine additional encounters that the Monitor Team concluded were stops, for

a total of 112 stops, with only 100 stop reports (89%).

                        e.     CCRB-Identified Failures to Report

       When a civilian makes a complaint for alleged misconduct, the CCRB may also find other

misconduct beyond the CCRB’s jurisdiction through their investigation of the original complaint,

such as lack of documentation for a Level 3 stop. These findings are classified as “Other

Misconduct Noted” (OMN) and forwarded to the Department for further investigation.

       The CCRB has referred to the NYPD a decreasing number of OMN cases alleging failure

to complete a stop report over the past several years. The CCRB referred 136 cases in 2015, 44

cases in 2020, and 16 cases in the first three quarters of 2021. The number of these OMN cases

that were substantiated by the NYPD also decreased, from 105 out of 136 total in 2015 to 24 out

of 51 in 2019. For 2020, the NYPD substantiated 10 (out of 44) OMN cases referred by the CCRB.

For the first three quarters of 2021, the NYPD substantiated eight OMNs for failure to complete a

stop report out of 16 OMNs referred by the CCRB, with two cases still open.

                        f.     Discipline and Correction of Officers with Unreported Stops

       The Monitor requested data from the NYPD regarding any discipline, instructions, or

CRAFT entries for officers identified as not completing stop reports, especially those with a history

of underreporting. 8 The NYPD has informed the Monitor Team that it does not maintain data
                   9F




8
 CRAFT stands for Cop’s Rapid Assessment Feedback Tool. Supervisors can issue a Supervisory
Comment Form in the CRAFT system for an officer’s positive actions or negative actions (Needs
Improvement). The CRAFT “Needs Improvement” report is now used by NYPD instead of the
Minor Violations Log, which was a logbook kept at the command but was not tracked Department-
wide.


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regarding discipline or instructions at the command level for failing to complete a stop report.

What data is available includes discipline, training, or instructions from RAND audit follow-up

actions and CCRB OMN cases. For negative CRAFT entries, the Monitor Team’s review of fourth

quarter 2020 CRAFT entries identified 11 negative entries for failure to complete a stop report.

The NYPD will need to collect and report discipline or other corrective actions at the command

level for members’ failure to document their stops to achieve compliance with Task 1c.

                      g.      Compliance Assessment – Underreporting

       The NYPD has made significant efforts to address underreporting, but the issue is not

sufficiently overcome for the City to be in compliance.        The noncompliance rates for the

Department’s RAND audits and PIE audits have decreased, although the 2020 results of both

audits are still at 29 percent and 28 percent, respectively. From a sample of BWC videos

categorized as investigative encounters, the Monitor Team identified 112 stops with 100 stop

reports, for a noncompliance rate of 11 percent. The RISKS Reviews and other steps taken by the

NYPD appear to have made some impact on documenting stops, but additional steps taken must

be taken to address the issue of underreporting for the Department to be in compliance with the

requirement to document all stops.

IV.    LIGON/TRESPASS AFFIDAVIT PROGRAM (TAP)

       The Trespass Affidavit Program, sometimes called “Clean Halls,” was a Department

program in which police officers conducted interior patrols in certain private apartment buildings.

For a building to have been enrolled in the program, the owner must have certified concerns

regarding criminal activity or community complaints in the building, such as trespassing or drug

activity, and submit an “Owner’s Affidavit” providing the NYPD with the authority to patrol their

buildings. The Court’s Remedial Order and the Ligon settlement required revised policies and

training for officers conducting interior patrols in TAP enrolled buildings, NYPD compliance with


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a wide range of requirements governing officer activity in and around TAP buildings, a new

Administrative Guide governing the requirements and procedures for entry into and continued

enrollment in the TAP program, and compliance with those administrative requirements.

       The Department’s revised policy regarding interior patrols of buildings enrolled in TAP

was approved by the Court in June 2016. It became effective on April 25, 2017. The Department’s

revised policy regarding TAP administration, A.G. 303-27, became effective on April 25, 2017.

       In 2020, the NYPD determined that the Trespass Affidavit Program was not an efficient

use of police resources, and informed building owners that the program would end.             The

Department formally ended the Trespass Affidavit Program on September 30, 2020.               The

Department should treat former TAP buildings in the same manner as any other private building.

Officers will continue to respond to calls for service and address crime at private buildings.

However, officers should no longer conduct routine interior patrols of private buildings based on

the owner’s affidavit under TAP. In addition, Patrol Guide section 212-59 and Administrative

Guide section 303-27 were officially revoked in October 2020.

       The NYPD issued multiple FINEST messages in September and October 2020 announcing

the dissolution of TAP and read those FINEST messages at consecutive roll calls. The NYPD and

the New York City Law Department also sent letters in September 2020 to landlords informing

them of the end of the program and requesting that they remove all signs from their buildings that

were associated with the program.

       The City and Ligon counsel engaged in extensive negotiations regarding a formal end to

the Ligon stipulation and a resolution is expected in 2022. Additional notices of the termination

of the program were sent to owners and managers of buildings that previously were enrolled in

TAP. A generic version of the notice sent in January 2022 is included in Appendix 2 along with




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pictureV of TAP signV. The Monitor Team will audit and assess whether the program has ended

in practice. The Monitor Team will submit a report on TAP dissolution to the Court in 2022.

Given that the Trespass Affidavit Program was terminated in 2020, this Report does not include

assessments of compliance for TAP-related tasks.

V.     SUPERVISION

       The Court in Floyd found that NYPD supervisors did not take responsibility for reviewing

the constitutionality of the stops made by officers under their supervision. The Remedial Order

requires that supervisory review of stops include a review not just of the completeness and

accuracy of the stop report form, but of the constitutionality of the stop and, if conducted, the frisk

and search. If an officer’s actions are improper, the officer’s supervisor must take corrective

action. The Davis settlement provides that any additional reforms regarding supervision of officers

engaged in trespass enforcement in or around NYCHA residences will be addressed by the Monitor

in consultation with the parties. Supervisors must ensure that the stops, frisks, and trespass arrests

made by their officers are legal and proper and that these activities are properly documented.

               1.       Compliance Assessment—Supervision

                       Task 15a In Compliance; Task 15b Not Yet In Compliance; Task 16a

                       In Compliance; Task 16b Partial Compliance.

       Patrol Guide 212-11 requires documentation of all stops and establishes the responsibilities

of supervising officers up the chain of command. Supervisors are required to respond to the scene

of stops when feasible, discuss the circumstances of the stop with an officer making a stop before

the end of the officer’s tour, and review the officer’s stop report form. If a stop report is inaccurate

or incomplete, the supervisor must direct the officer to make the necessary corrections. If the

supervisor determines that the officer did not have reasonable suspicion for the stop, reasonable

suspicion for the frisk or an appropriate basis for the search, the supervisor must document that


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and specify an appropriate follow-up:        instruction, additional training, or, when warranted,

discipline. The Court has approved these policies and the NYPD is in compliance with the required

policies (Task 15a).

       The NYPD has also required Integrity Control Officers (ICOs) in commands to conduct

self-inspections of stop reports to evaluate both the actions of their officers and the supervisory

reviews of their sergeants. The specific details and criteria used for these self-inspections are part

of an audit plan developed by the NYPD, which the Court approved in July 2020 (see Section IX,

Auditing, below). The NYPD is in compliance with the requirement for written policies requiring

ICO review of stops and frisks (Task 16a).

       The NYPD is responsible for ensuring that its supervisors are putting these policies

regarding review of officers’ stops into practice.         Are supervisors taking seriously their

responsibility to review the constitutionality of stops? For instance, the Monitor Team’s review

of stops showed that supervisors were not identifying the impermissible stops, frisks and searches

of officers under their charge, but instead approving them (see Section II.D.1b above, Stop Reports

at NYCHA Properties).

       In 2020, out of 9,618 recorded stops, supervisors only identified 68 stop reports that failed

to articulate reasonable suspicion (only 0.7 percent). For the 5,235 stops in which a frisk was

conducted in 2020, supervisors checked “No” under the caption “Sufficient Basis for Frisk” for 72

stop reports (1.4 percent). Supervisors checked “No” under the caption “Sufficient Basis for

Search” in 85 stop reports out of 4,001 stop reports in 2020 in which a search was reported (2.1

percent). In 2021, supervisors noted that the stop report failed to articulate reasonable suspicion




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in only 19 stop reports out of 1,927 recorded stops as of March 31, 2021 (1.0 percent). 9 Chart 7
                                                                                          10F




below documents these statistics.

Chart 7. Supervisory Actions on Stop Reports
              # Stop    # Reviewing       # Stop      # Reviewing        # Stop     # Reviewing
              Reports   Supervisor        Reports     Supervisor         Reports    Supervisor
                        Determined        with        Determined         with       Determined
                        Insufficient      Frisks      Insufficient       Searches   Insufficient
                        Basis for Stop                Basis for Frisk               Basis for Search
    2019      12,958    66                7,290       60                 4,721      64
    2020      9,618     68                5,235       72                 4,001      85
    1Q2021    1,927     19                1,068       18                 902        27

         Chart 8 below shows the follow-up actions taken in 2020 by the supervisors in those cases

in which the supervisor determined there was an insufficient basis for the stop, frisk, or search.

Chart 8. 2020 Stop Report Follow-Up Actions by Reviewing Supervisors
    Supervisor Determined Insufficient Basis             Stop               Frisk               Search
    Follow-Up Action
    Instruction Only                                      21                  24                 28
    Training Only                                          0                   1                  0
    Discipline Only                                       0                   2                  2
    Instruction and Training                              32                  34                 32
    Instruction and Discipline                            0                   1                  0
    Instruction, Training, and Discipline                  4                   8                  6
    No Action Taken                                       11                   2                 17
    Total                                                 68                  72                 85

         Command ICOs are also required to evaluate a sample of the stops performed by officers

in their command and the supervision of the sergeants and lieutenants in their command. Each

month, the ICO of each command must examine the most recent 25 stop reports filed by officers

in the command, review the BWC videos associated with those stop reports, and determine



9
  The NYPD has noted that supervisors are rejecting a large number of stop reports submitted by
officers and having officers correct those stop reports. According to the data in the NYPD’s
records management system, supervisors corrected 3,366 out of 9,618 stop reports (35%) in
2020.

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whether the stop and any frisk or search, if conducted, were proper, and whether the supervisor

who approved the stop report properly assessed the legality of the stop. The self-inspection is then

signed off by the command’s executive officer or commanding officer. When QAD conducts its

audits of each command, it also examines the command’s self-inspections. If a stop report is

reviewed by both the ICO in a self-inspection and QAD in its audit, QAD reviews whether the

ICO’s findings are consistent with its auditors’ findings (see Chart 13 in Section IX, Auditing,

below). The ICO reviews are significantly more stringent than the supervisors’ reviews.

       The NYPD has tried to address concerns about supervision in several ways: RISKS

Review meetings; remedial training for commands and for supervisors who do not identify and

correct deficient stop reports; and discipline. During the RISKS Review meetings, Department

leadership emphasize the importance of supervision to achieve compliance. One particular focus

of the meetings is whether the results of the command’s self-inspections of stop reports are

consistent with QAD’s audits of stop reports. If the command’s self-inspection doesn’t identify a

problem with a stop report that QAD finds to be deficient, that means that not only did the officer

fail to articulate reasonable suspicion, but also that the deficient stop report was not caught by the

officer’s supervisor when reviewing the report and completing the supervisory section, by the

command ICO when reviewing the report for the self-inspection, and by the command’s executive

officer, who signs off on and approves the self-inspection.

       The Department has implemented a protocol to correct supervisors who repeatedly approve

deficient stop reports. Supervisors who approve multiple deficient stop reports are provided a

refresher class where they receive training from an RMB attorney aimed at the specific deficiencies

that have been identified. Fifty-one supervisors received remedial training in 2020 and the first

six months of 2021. In addition, RMB has provided training for supervisors from commands with




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a high number of deficient reports. The training involves one hour of refresher training and one

hour of reviewing stop reports (see Chart 9 below).

Chart 9. Remedial Training for Command Supervisors (4Q 2020 and 1Q, 2Q 2021)
 Date(s)                           Number of Supervisors             Commands
 11/12/20                          3                                 28
 2/3/21; 2/9/21                    5                                 PSA 7
 3/16/21                           1                                 73
 3/18/21; 6/23/21                  2                                 103
 3/23/21                           3                                 30
 3/25/21                           4                                 60
 4/2/21                            3                                 105
 4/8/21                            4                                 67
 4/15/21                           5                                 79, 81, 90, PBMN, 104
 5/12/21                           12                                75
 5/26/21                           6                                 81
 6/2/21                            3                                 70
 6/15/21                           4                                 46
 6/16/21                           2                                 121
 6/24/21                           3                                 49
 6/29/21                           2                                 PSA8

RMB has also provided roll call training on supervisory review of stops for commands, as noted

in Chart 10 below.

Chart 10. Remedial Roll Call Training
 Command                           Date(s)
 13 Pct.                           5/8/21
 28                                11/12/20
 30                                3/23/21
 46                                6/15/21
 67                                5/8/21
 71                                6/2/21
 103                               3/18/21
 105                               4/2/21
 113                               1/27/21; 3/16/21; 3/26/21
 120                               5/27/21
 121                               6/16/21

In some commands, command executives have taken actions to correct supervisors who do not

sufficiently evaluate their officers’ stop reports. In the fourth quarter of 2020, 26 supervisors were


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given negative CRAFT entries for failing to detect an improper stop, frisk, or search when

reviewing stop reports, and two supervisors were given negative CRAFT entries for not ensuring

that a stop report was prepared.

       The NYPD is not yet in compliance with the supervisory review requirement of the Court’s

order (Task 15b). With respect to the requirement that ICOs conduct self-inspections to assess the

constitutionality of stops, the NYPD is in partial compliance with the Court-ordered requirement

(Task 16b).

VI.    TRAINING

       The COVID-19 pandemic and other factors forced the cancellation of several recruit

classes. Other in-person trainings were also temporarily suspended and later resumed with social

distancing protocols and mask mandates in place. Due to concerns regarding the potential spread

of COVID-19, the Department suspended all in-person observation of training in March 2020.

Monitor Team observation of recruit trainings resumed in May 2021.

       A.      In-Service Stop and Frisk and Racial Profiling Training

       The Court’s Remedial Order required the NYPD to revise its training regarding stop and

frisk to adhere to constitutional standards and New York State law. Required topics include: when

a stop may be conducted, when a frisk may be conducted, and when a search may be conducted;

trespass enforcement and interior patrols; proper documentation of stops; and supervisors’

responsibility for reviewing officers’ stops and frisks. The Remedial Order also required the

NYPD to revise its training regarding the illegality of racial profiling to make clear that targeting

“the right people” for stops is a form of racial profiling and violates the Constitution. Members of

racially defined groups may not be targeted for stops in general simply because members of that

racial group appear more frequently in local crime suspect data. Race may be considered only

when the stop is based on a specific and reliable suspect description. The training must clearly


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convey the changes in NYPD procedures and what is expected of officers and supervisors

regarding the documentation and supervision of stops.

               1.      Compliance Assessment—In-Service Training for Stop and Frisk and
                       Racial Profiling

                       Tasks 17a, 17c, 18a, 18c, 19a, 19c In Compliance.

       A full-day in-service training for sergeants and lieutenants devoted to the law and

procedures regarding investigative encounters was approved by the Court in December 2017. In

July 2018, a version of this training for police officers and detectives was approved by the Court.

Each class was limited to 30-35 officers or supervisors, and training was taught every weekday

and during both the day (7x3) and evening (3x11) tours. By the end of October 2020, the

Department completed delivering the critical training to more than 34,300 members of the service,

including police officers, detectives, sergeants, and lieutenants.

       The training materials covered the fundamental principles of stop, question and frisk,

trespass enforcement, and bias-free policing. Opportunities for discussion about the role of race

in investigative encounters were included in several places. The materials described the difference

between the constitutionally permissible use of race based on a specific, reliable suspect

description and the constitutionally impermissible targeting of racially defined groups for stops.

The materials also effectively conveyed the changes in NYPD procedures governing investigative

encounters and interior patrols, as well as what is expected of officers and supervisors regarding

the documentation and supervision of stops and trespass arrests. The training materials are in

compliance with the requirements of the Court’s orders (Tasks 17a, 18a, 19a).

       The Monitor and the Monitor Team observed many trainings for both officers and

supervisors. Plaintiffs’ counsel also attended training classes on a quarterly basis. The Monitor

Team and Plaintiffs’ counsel shared with the Department their observations and views about the



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course materials, the way the materials were presented, and the course instructors. The instructors

observed by the Monitor Team were knowledgeable and followed the approved materials. They

varied in style and in their ability to engage the officers, but the instructors were quite good. The

NYPD is in compliance with these training requirements (Tasks 17c, 18c, 19c).

       In addition to the in-service training on stop and frisk and racial profiling, the NYPD also

trained its members on implicit bias and procedural justice. “Implicit bias” is when people make

automatic, unconscious associations between groups of people and stereotypes about those groups,

and that those associations arise from the particular environment (neighborhood, family, friends,

media, etc.) in which they grow up, live, and work. “Procedural justice” is a phrase used to

describe the necessity of treating civilians with respect, listening to them, and explaining the

officer’s actions. Although the implicit bias training was not a specific requirement of the

Remedial Order, the Court had noted that “[i]t may also be appropriate to conduct training for

officers on the effect of unconscious racial bias.” Floyd, ECF 372, p. 17. The NYPD contracted

with an outside vendor, Fair and Impartial Policing, LLC (FIP), to create the training materials and

conduct the course. Thirty-five thousand members of the Department were trained, including those

at the highest level of the Department.

       The FIP training was oriented towards police officers’ knowledge of implicit bias and its

implications for policing. The NYPD’s stated objective for the program was to convey to police

personnel:

       x     The science of implicit bias (convey to officers that all people, even well-intentioned
             people, including officers, can be impacted by implicit bias).

       x     How implicit biases might manifest in policing.

       x     The consequences of biased policing for community members, officers, and agencies.

       x     The skills that police personnel need to be fair and impartial.



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       B.      Training for Newly Promoted Supervisors

       Under NYPD’s stop and frisk procedures, supervisors are responsible for reviewing the

legality of stops.   For this reason, newly promoted supervisors must be trained on these

responsibilities and on their responsibilities for reviewing trespass arrests.

               1.      Compliance Assessment—Newly Promoted Supervisors

                       Tasks 20a, 20b In Compliance.

       Training materials for newly promoted sergeants and lieutenants were approved by the

Court in March 2018. After the in-service training for incumbent sergeants and lieutenants was

approved, the training for newly promoted supervisors was changed to mirror the in-service

training for supervisors, adding BWC video and encouraging more class participation. The

Monitor Team observed training of newly promoted supervisors before and after it was approved

by the Court and again in February 2020 and September 2021. The training covers the required

material in the lesson plan, but, more importantly, the instructors engaged the class in interactive

exercises and discussions and thorough questions and answers. The NYPD is in compliance with

these requirements (Tasks 20a, 20b).

       C.      Housing Training

       The Davis settlement required the Department to provide in-service training to familiarize

officers who conduct interior patrols in NYCHA buildings with the posted rules and regulations

in those buildings and provide them with guidance on how to maintain the proper balance between

constitutionally enforcing the law and respecting the rights of residents and their guests. The

proposed 45-minute training was expanded to a full-day training. The NYPD also developed a

useful pamphlet for Housing Bureau officers highlighting important features of the training.




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               1.         Compliance Assessment—In-Service Housing Training

                          Tasks 26a, 26b In Compliance.

       The Housing one-day training materials were approved by the Court in May 2019. The

training launched in September 2019 and ended in February 2020. Over the course of five months,

approximately 3,000 Housing officers and officers in precincts who patrol NYCHA buildings

received this training.

       The training made effective use of multiple instructors, all of whom were Housing Bureau

members. Several instructors also had previous experience living as residents within NYCHA

housing. The classes were interactive, with attendees being asked whether they had been stopped

by the police, a discussion of Operation Impact 10 and its impact on the community and the bases
                                                11F




for the lawsuits that led to the training. The issue of discretion was emphasized throughout the

class. The Housing one-day training pressed the attendees to think differently and react differently

based upon the NYPD’s stated values of community partnership, valuing human life, respect,

courtesy, and civility. The NYPD is in compliance with the requirements for the creation of

Housing training materials and the implementation of Housing training (Tasks 26a, 26b).

       D.      Training for Investigations of Racial Profiling and Bias-Based Policing
               Complaints

       The Remedial Order requires the NYPD to track and investigate racial profiling

complaints. For this reason, training for investigators on the NYPD’s racial profiling policies and

how to go about conducting profiling investigations is also required. The training is designed to

provide investigators with the fundamental skills to process and investigate complaints regarding


10
  Operation Impact, a program implemented by the Department in 2003-2008, designated
certain areas of high crime in the City as “impact zones” and, among other things, assigned
newly graduated police recruits to footposts in those areas. Operation Impact contributed to the
pressure put on officers to make more stops and arrests and, as noted by the Court in the Liability
Opinion, without regard to the constitutionality of those stops.

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the NYPD’s policy prohibiting racial profiling and bias-based policing. The responsibility for

investigating citizen complaints of racial profiling will be shifted to the CCRB some time in 2022,

so this training will become moot. Until the CCRB begins those investigations, however, the

NYPD must still investigate those complaints and must train its investigators on how to conduct

the investigations properly.

               1.      Compliance Assessment—Racial Profiling Complaint Investigations
                       Training

                       Task 29a In Compliance; Task 29b Partial Compliance.

       Training for investigators of racial profiling allegations that provides guidance on how to

conduct such investigations was approved by the Court in January 2019. The NYPD revised the

training in 2021 to address concerns raised by the Monitor about the thoroughness and impartiality

of NYPD’s investigations of racial profiling complaints.

       The Monitor Team observed this training in July 2019 and in July 2021. At the July 2021

training, the instructors went through the approved lesson plan and provided examples and

scenarios to reinforce the content contained in the new slides that were added to the PowerPoint

presentation. For example, the investigators were told not to use guilty dispositions in criminal or

summonses cases as a basis to unfound profiling allegations. The Monitor Team also met in May

2021 with the investigators assigned to profiling investigations to share the Team’s observations

and findings from their review of NYPD racial profiling investigations.

       The NYPD has shared the training materials with the CCRB, which will take over profiling

investigations in 2022 as the result of City Council legislation. The Department is in compliance

with the requirement for training materials regarding racial profiling (Task 29a). The Department

is only in partial compliance with implementing the training, however, given the concerns




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identified with respect to the thoroughness and impartiality of the actual investigations (See

Section XI below) (Task 29b).

       E.      Training for Plainclothes Officers

       The NYPD conducts a three-day training course for officers who will be starting as

plainclothes officers. That course was required for officers who joined a precinct-based anti-crime

unit, or any other unit that works in plainclothes. The precinct anti-crime units were disbanded in

June 2020, and the basic plainclothes training course was temporarily suspended. The training

was restarted in the summer of 2021.

               1.      Compliance Assessment—Basic Plainclothes Course

                       Task 30a In Compliance; Task 30b Partial Compliance.

       In August 2018, the Court approved training materials for a module on investigative

encounters that is part of the three-day course given to plainclothes officers. The materials were

revised to be consistent with the Court-approved in-service investigative encounters training. The

training materials meet the Court’s requirements (Task 30a).

       The Monitor Team observed the Basic Plainclothes Course in February 2020. Although

the instructor used the approved materials, the quality of the training was not sufficient. There

was little to no explanation of the material, no engagement with the attendees, and very little

connection between the material covered and plainclothes policing. In September 2021, the

Monitor Team as well as counsel for Plaintiffs observed the restarted Plainclothes Course. The

instructor covered the approved material and did a good job engaging the officers. He used his

experiences as a patrol officer, anti-crime officer, and emergency services officer to illustrate and

clarify course concepts.    The NYPD is in partial compliance with the implementation of

plainclothes training (Task 30b).




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       F.      Recruit Training—Policing Legally

       Training for recruits on stop, question, and frisk must provide recruits with the standards

for what a stop is, when a stop may be conducted, and when a frisk may be conducted. A recruit

training class entitled “Policing Legally—Street Encounters” covers the legal standards governing

when an officer may stop, question, and frisk a person. The training emphasizes that the legal

authority for a stop does not automatically provide the authority for a frisk. To frisk a person, the

officer must have reasonable suspicion that the person stopped is armed and dangerous. The

training materials stress that an encounter between a civilian and an officer is a “stop” when a

reasonable person would not feel free to disregard the officer and walk away. Such an encounter

requires the officer to have reasonable suspicion that the person was engaged in or is about to be

engaged in a felony or a Penal Law misdemeanor. The course covers Terry v. Ohio and the four

levels of DeBour encounters.

               1.      Compliance Assessment—Recruit Training—Policing Legally

                       Tasks 17b, 17d, 19b, 19d In Compliance.

       Training materials for Police Academy recruit classes on stop and frisk were rewritten and

approved by the Court in April 2015. The materials for Policing Legally have been revised as new

NYPD policies and new stop report forms were approved. The course was revised in 2018 to

ensure consistency with the in-service investigative encounters training and to add BWC videos

as a tool to review each level of investigative encounters. Information regarding the Right to Know

Act was also added to the curriculum. These changes were approved by the Court in August 2018.

The revised Policing Legally training materials are in compliance with the Court’s requirements

(Tasks 17b, 19b).

       The Monitor Team observed Policing Legally classes early in the monitorship and returned

to the Police Academy to observe these classes in 2018, 2019, 2020, and 2021. Team members


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found the instruction to be consistent with the Court-ordered materials and well presented, with

significant recruit engagement.         The NYPD is in compliance with the requirements for

implementing recruit training on stops and frisks (Tasks 17d, 19d).

       G.      Recruit Training—Policing Impartially

       The NYPD’s recruit training regarding racial profiling must clearly state the difference

between the constitutionally permissible use of race in a stop based on a specific, reliable suspect

description and the constitutionally impermissible targeting of racially defined groups for stops.

               1.      Compliance Assessment—Recruit Training—Policing Impartially

                       Tasks 18b, 18d In Compliance.

       The Court approved the NYPD’s training course for recruits on racial profiling, Policing

Impartially, in April 2015. The class material includes information regarding bias and police

history and how knowledge of this history can help officers be more effective. The training

materials are in compliance with the Court’s requirements (Task 18b).

       Monitor Team members observed this class in 2018, 2019, and 2021. The course followed

the general course guide and approved material, although some of the classes observed could

improve with more engagement and discussion of the materials. The NYPD also provides all

recruits with the FIP training on implicit bias and procedural justice. The NYPD is in compliance

with the requirement for recruit training on racial profiling (Task 18d).

       H.      Recruit Training—Characteristics of Armed Suspects

       One recruit training segment identified in the Floyd liability and remedies decisions as

needing revision was a training module conducted by the Firearms and Tactics Section on the

characteristics of armed suspects. 11 This training teaches recruits about factors that should raise
                                  12F




11
   Liability Opinion, Floyd v. City of New York, 959 F. Supp. 2d 540, 614; see Remedial Order,
Floyd v. City of New York, 959 F. Supp. 2d 668, 680.

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their awareness when they attempt to determine whether or not an individual they encounter is

armed.

                1.      Compliance Assessment—Recruit Training—Characteristics of
                        Armed Suspects

                        Tasks 28a, 28b In Compliance.

         A revised version of this training was approved by the Court in February 2017 after review

by the parties. The NYPD is in compliance with the requirement for a revised curriculum (Task

28a).

         Monitor Team members and Plaintiffs’ counsel observed this training in 2019. The class

was taught by a 27-year veteran of the NYPD who has taught similar material for more than 10

years.    In the Monitor’s Eleventh Report, the Monitor determined that the NYPD was in

compliance with the requirement to implement this training (Task 28b). The Monitor Team

observed this class again in January 2022, this time taught by a different instructor. The instructor

knew the topic well and covered the Court-approved material. The NYPD is in compliance with

implementing recruit training on Characteristics of Armed Suspects (Task 28b).

         I.     Recruit Training—Interior Patrol at NYCHA and TAP Locations

         The Davis settlement requires revised recruit training governing the legal standards and

procedures for when a person may (or may not) be stopped in or outside an NYCHA building (P.G.

212-60). The training must instruct recruits that mere presence near, entry into, or exit from an

NYCHA building is not an “objective credible reason” to approach a person to request information.

The training also must cover trespass enforcement standards in and around NYCHA buildings,

including the requirement of completing a TCFS for trespass arrests.




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               1.      Compliance Assessment—Recruit Training—Interior Patrol

                       Tasks 25a, Task 25b In Compliance.

       Training materials for the Interior Patrol recruit course were approved by the Court in April

2015. The NYPD combined the Court-approved recruit training materials regarding patrols at

TAP buildings with the training materials approved by the Court in Davis governing housing

patrols in and around NYCHA buildings. The training also includes scenario-based role-play

exercises for both TAP and NYCHA buildings. Further revisions regarding updates to the stop

report and Housing policies were negotiated by the parties and approved by the Monitor in May

2017. Additional changes removing all references to TAP, adding guidance regarding the Right

to Know Act and discretion, and reordering some of the material, were approved by the Monitor

in February 2021. The training materials meet the requirements of the Court’s orders (Task 25a).

       Monitor Team members have observed these classes and generally found the instruction to

be consistent with the approved materials. For some of the classes observed in 2020, however, the

training did not meet the level of quality expected. The Interior Patrol classes resumed in 2021,

and the Monitor Team observed the training in November 2021 and March 2022. The instructors

provided the recruits with the Housing brochure that was distributed in the in-service Housing

training. The quality of the training observed varied based on the experience and proficiency of

the instructor, but the instructors covered the approved materials and engaged with the trainees.

The NYPD is in compliance with implementing recruit training on Interior Patrol (Task 25b).

       J.      Field Training Guide and FTO Training

       The Court’s Remedial Order required the NYPD to revise its Field Training Guide and

Field Training Officer (FTO) training materials to reflect the corrected policies governing trespass

stops outside TAP buildings. The Field Training Guide and the FTO materials also needed to be

revised to conform with P.G. 212-11.


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               1.      Compliance Assessment—Field Training Guide and FTO Training

                       Tasks 23a, 23b In Compliance.

       The Field Training Guide was revised in 2016 and training for Field Training Officers was

revised to reflect changes to the in-service investigative encounters training. In addition, BWC

videos were added to the training, and the PowerPoint presentation has been updated to be more

engaging. The language in the Field Training Guide and FTO training materials mirrored the

language approved by the Court in other trainings, and the Monitor approved the FTO Guide and

the training materials. The FTO Guide and training materials are in compliance with the Court’s

requirements (Task 23a). The last FTO training was suspended while there were no Academy

recruits graduating and becoming probationary officers but resumed in 2021 when recruits

graduated from the Police Academy. The Monitor Team observed the FTO training in January

2022. The instructor had a good command of the Court-approved materials, covered the materials

during the class, and asked questions and provided scenarios along the way to test the trainees’

understanding of the information discussed. The instructor reinforced the FTO’s responsibility to

instruct probationary officers on the law and ensure they can state what they saw and how those

factors impact the level of the encounter. The NYPD is in compliance with the requirements

related to FTOs (Task 23b).

       K.      Refresher Training Course for Investigative Encounters

       In-service training for officers and supervisors on investigative encounters was completed

in October 2020. The NYPD and the Monitor Team recognize that one-time training on stop and

frisk policies and procedures is not sufficient or sustainable as officers are further in time from

their training. This is especially true for newer officers whose last training on stop and frisk was

from the Police Academy. For this reason, the NYPD must develop refresher training courses




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(“booster” training) to instruct officers on how to properly conduct stops and frisks, and to instruct

supervisors on how to properly review stops and frisks.

               1.      Compliance Assessment—Refresher Training Course for
                       Investigative Encounters

                       Task 31a In Compliance; Task 31b Not Yet in Compliance.

       The Department is continuing production of a series of short videos that will serve as

refresher training for all NYPD members following the completion of the investigative encounters

in-service training. It is anticipated that there will be nine videos in total. The first four videos

will correspond to Levels 1 through 4 of the DeBour framework. There will also be videos on the

topics of racial profiling, supervision, Housing policies, the Right to Know Act, and the stop report.

Scripts for these videos were approved by the Court in January 2021.

       In working with the scripts, the NYPD determined that revisions were needed to make the

training more user-friendly in a video presentation. The Department worked with the Plaintiffs

and the Monitor Team to revise and approve new scripts. The NYPD’s Creative Services Unit

will begin production of the videos in early 2022. The videos will be approximately 4-5 minutes

in length and consist of narration and fact pattern scenarios. The videos will be posted on NYPD-

U, which is accessible to all NYPD members via both the Department intranet and their

Department smartphones. All members will be required to view the training videos and attain a

passing score on quizzes related to their content. The quiz questions were developed with the

parties and approved by the Monitor. The length and format of these videos are designed to work

as mandated refresher training, remedial training for officers as appropriate, as well as a tool for

an officer who wants a quick refresher based on circumstances he or she encounters on patrol. The

NYPD is in compliance with the requirements for developing the materials for refresher training




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(Task 31a). The NYPD is not yet in compliance with implementation of the refresher training

(Task 31b).

VII.   BODY-WORN CAMERAS

       A.     Precinct-Level BWC Pilot

       As part of the Remedial Order, the Court directed the Monitor to oversee a pilot of the use

of BWCs by NYPD officers. The goal of the pilot program was to assess the effects of deploying

BWCs on policing outcomes, community perceptions of policing in their neighborhoods, and

whether deployment results in reducing unconstitutional stops and frisks. The Monitor’s research

and evaluation design for the BWC pilot program was developed and executed by Dr. Anthony

Braga, Dr. John MacDonald, and other members of the Monitor Team.

       The NYPD launched the BWC pilot program in April 2017. In a randomized control trial,

1,200 officers in 20 pilot precincts wore BWCs for a one-year period. Those 20 precincts were

matched with 20 precincts in which officers were not wearing BWCs.

       As part of the BWC pilot, the Court directed the Monitor to “establish procedures for the

review of stop recording by supervisors and, as appropriate, more senior managers.” Floyd, ECF

372, p. 27. In 2017, the NYPD developed a self-inspection protocol for the review of BWC videos

by sergeants in the commands with BWCs. Sergeants must review five BWC videos each month.

After reviewing these videos, sergeants must complete a BWC self-inspection worksheet for each

video; the sergeant’s platoon commander or lieutenant must then review two of the videos and

complete the self-inspection worksheet; and the command’s executive officer must review and

approve the BWC self-inspection worksheet.

       The Remedial Order also directed the Monitor to “establish procedures for the preservation

of stop recordings for use in verifying complaints in a manner that protects the privacy of those

stopped.” Id. When the BWC pilot was launched, the NYPD shared BWC video with the CCRB


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within 10 days of a CCRB request. The BWC patrol guide, P.G. 212-123, states that “[t]he Internal

Affairs Bureau will process requests from the Civilian Complaint Review Board for body-worn

camera video as per P.G. 211-14,” but it did not provide a specific protocol for how those videos

would be shared or any time frame for when they would be shared. In November 2019, the NYPD

and CCRB entered into a Memorandum of Understanding (MOU) to expedite production and

sharing of BWC footage. Under the MOU, the NYPD agreed to establish a facility with at least

10 secure computer terminals so that CCRB investigators can review BWC footage directly. The

NYPD must provide CCRB with BWC footage requested within 25 days if any redactions are

needed, and within 10 days if no redactions are needed.

               1.      Compliance Assessment—Precinct Level BWC Pilot

                       Tasks 32a, 32b, 32c In Compliance

       The precinct level BWC pilot was completed in December 2018 and the Monitor published

the Twelfth Report—The Deployment of Body Worn Cameras on New York City Police

Department (NYPD) Officers—in November 2020.                The Twelfth Report showed that the

deployment of BWCs was associated with a statistically significant decrease in CCRB complaints

and a statistically significant increase in the number of stop reports completed by treatment officers

relative to control officers. The randomized controlled trial showed that the placement of BWCs

on officers resulted in the increased documentation of stop reports, particularly of those stops that

may have reflected unlawful police actions. As such, BWCs can be a useful tool in reducing

underreporting of stops and unlawfulness by making stops more transparent to NYPD supervisors

and outside monitors (e.g., district attorneys, courts, the CCRB).

       In addition, as part of the pilot, the NYPD developed protocols for supervisory review of

BWC videos that the Monitor approved in August 2017. With respect to the sharing of BWC

videos with the CCRB, the COVID-19 pandemic and the shelter-at-home orders postponed the


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establishment of the shared facility to expedite production. In addition, there were a significant

number of new complaints and additional requests for BWC videos after the protests over the

murder of George Floyd. However, after the CCRB raised concerns about the delays in obtaining

BWC videos, the NYPD made significant progress in providing the CCRB with BWC videos for

complaint investigations related to the protests and in reducing the backlog of BWC requests. As

of March 31, 2022, there were 91 pending requests for BWC footage, which accounts for three

percent of the open CCRB investigations. Of those, 41 percent of the requests were less than 30

days old, while 50 percent of the requests were over 90 days old. 12 The NYPD and CCRB have
                                                                           13F




developed protocols for timely CCRB access to BWC videos. The NYPD is in compliance with

the BWC pilot requirements of Tasks 32a, 32b, and 32c.

          After the commencement of the pilot, the Department voluntarily decided to equip all

uniformed officers performing patrol functions in Patrol precincts, Housing Police Service Areas

(PSAs), and Transit Districts, as well as those assigned to specialized units such as the Strategic

Response Group with BWCs. The Department is integrating the increased quantity of BWC

footage into its training and oversight.

          B.      PSA BWC Pilot

          Dr. Braga and other members of the Monitor Team developed a separate research and

evaluation plan for the use of BWCs by Housing Bureau officers working in PSAs to assess how

BWC videos impact policing in and around NYCHA properties. NYPD Housing Bureau officers

in the nine PSAs were equipped with BWCs over the course of nearly 11 months, starting with

PSA 8 in February 2018 and ending with PSA 9 in December 2018. The study will compare




12
     https://www1.nyc.gov/assets/ccrb/downloads/pdf/policy_pdf/monthly_stats/2022/04062022_monthlystats.pdf.


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officer data for the 36 months before officers were equipped with BWCs to officer data for the 12

months the officers were equipped with BWCs.

                1.     Compliance Assessment—PSA BWC Pilot

                       Task 33 Assessment Not Complete.

         The Monitor Team is analyzing the data for the PSA BWC study. For this reason, the

Monitor’s assessment is not complete (Task 33).

         C.     Alternative to Combined Pilot and Monitor’s Studies

         In July and August 2018, the Court ordered a pilot program to study two recommendations

for NYPD reforms: the electronic documentation of Level 1 and 2 encounters and the activation

of BWCs during Level 1 encounters. 13 In November 2018, the Monitor submitted a proposal
                                      14F




combining the two Court-ordered pilots into one, which the Court approved in February 2019. 14 15F




The combined pilot was to be overseen by the Monitor, who retained Dr. Stephen Mastrofski and

CUNY’s Institute for State and Local Governance (ISLG) to assist in planning and

implementation. As designed, the pilot was to use systematic social observations, i.e., trained

observers who would ride along with officers and collect data. Results from the pilot would then

inform the Court on the impact of implementing one or both proposed policy changes.

         Because of the COVID-19 pandemic, it was no longer feasible to have trained observers

ride with NYPD officers. Moreover, on February 21, 2020, the NYPD proposed an alternative to

the combined pilot. In the NYPD’s Alternative Plan, the NYPD would voluntarily adopt one of

the two policy changes—mandatory activation of BWCs for Level 1 encounters. The NYPD

proposed to adopt this requirement citywide, except for those Level 1 encounters that are: (1)



13
     Floyd, ECF No. 619; Floyd, ECF No. 634.
14
     Floyd, ECF No. 691.

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currently “Do Not Record” scenarios, such as interviewing confidential informants, work by

undercover officers, and strip searches; (2) aided situations, other than with emotionally disturbed

persons; and (3) taking reports for past crimes. Under the Alternative Plan, the NYPD would not

have officers electronically document Level 1 and Level 2 encounters on their phones, but the

BWC metadata (Evidence.com) would include certain information about encounters.

         In response to the City’s proposed alternative, and because the systematic social

observation study was no longer feasible, the Monitor proposed studies to improve the City’s

Alternative Plan, to answer questions raised by the Court in its orders for the pilots, and to provide

additional information to assist the Monitor in assessing compliance. The NYPD’s Alternative

Plan and the Monitor’s Studies were approved by the Court in February 2021. The Court’s Order

and the research designs for the Monitor’s Studies are attached as Appendix 3. Officers are now

required to record the majority of Level 1 encounters on their BWCs and to more extensively

categorize videos that capture certain types of investigative encounters. 15 For encounters that end
                                                                          16F




at Levels 1, 2, or 3, officers will now be required to document the final level of encounter. For

encounters that end at Level 2, officers will now be required to document the race and gender of

the primary person encountered and whether multiple people were encountered.

         The Monitor’s Studies will be conducted by ISLG and a team of researchers (originally at

Stanford University), including Dr. Jennifer Eberhardt. These studies address important questions

about the NYPD’s compliance with the Fourth and Fourteenth Amendments in police-citizen

encounters: legal compliance in police-citizen encounters, racial disparities in compliance and

escalation of encounters, and appropriate documentation of encounters. The studies will also

generate important descriptive information about the nature of police-citizen encounters.



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     Floyd, ECF No. 817.

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               1.      Compliance Assessment—NYPD’s Alternative Plan and Monitor’s
                       Studies

                       Task 40a In Compliance; Tasks 40b, 40c Partial Compliance.

       The Court approved the NYPD’s Alternative Plan and the Monitor’s Studies in February

2021. The NYPD revised and issued its revised BWC policies in May 2021, requiring NYPD

members to activate their cameras during most Level 1 encounters. P.G. 212-123. Pursuant to

P.G. 212-123, BWC activation is required for all levels of investigative encounters except for

vehicle collisions, missing persons, aided cases not involving an emotionally disturbed person, and

past crime investigations. Under the documentation requirements of the BWC policy, for all

investigative encounters that are captured on BWC that do not end in an arrest or summons,

officers must document the level of the encounter. For all Level 2 encounters, officers must

document the race and gender of the primary person encountered, and whether or not the encounter

was with more than one individual. The NYPD is in compliance with the requirements for policy

changes for the Alternative Plan (Task 40a).

       Although the BWC policy was revised in May 2021, the revised policy was not

implemented until after the NYPD trained its members on the policy and made changes to the

BWC metadata in Evidence.com. The NYPD began its training in September 2021 and made

changes to the BWC system in October 2021. The NYPD is now tracking the extent to which

officers are documenting the DeBour level of investigative encounters and the demographics of

persons in Level 2 encounters. These new categories are custom fields for the NYPD, so officers

cannot record them using their phones while they are in the field; instead, they have to finish their

tour, dock the camera, upload the video, and then come back to the metadata (likely the next day)

to add these categories. Officers are only now starting to do this, and many videos do not yet have




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these categories documented. The NYPD is in partial compliance with the implementation of the

Alternative Plan (Task 40b).

       With respect to the Monitor’s Studies, the research team has hired and begun training

graduate students for coding the BWC videos and has begun training the legal experts who will be

reviewing the BWC videos. The NYPD has provided the research teams with relevant data to

prepare for the studies. With the training of the graduate students and the legal experts complete,

ISLG began a pilot test of the study in March 2022. The NYPD is in partial compliance with the

requirements of the Monitor’s Studies (Task 40c).

VIII. PERFORMANCE EVALUATION

       The Court found that the NYPD’s performance objectives and the way that the NYPD

measured officer performance put pressure on officers to make stops without regard to whether

they were constitutional. For that reason, one reform requirement is to implement a performance

evaluation system for officers that does more than just count the number of enforcement actions.

               1.     Compliance Assessment—Performance Evaluations

                      Task 38a In Compliance; Task 38b Partial Compliance.

       Changes to the Department’s performance evaluation system for officers and detectives

were approved by the Court in November 2017. The NYPD is in compliance with the requirements

for a revised performance evaluation system (Task 38a).

       Officers and detectives are now evaluated quarterly and on an annual basis on their

performance in 12 different dimensions. The 12 performance dimensions are:

       1.      Problem Identification/Solving
       2.      Adaptability and Responsiveness
       3.      Judgment
       4.      Integrity
       5.      Application of Law and Procedures
       6.      Community Interaction
       7.      Departmental Interaction


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         8.        Professional Image and Maintenance of Equipment
         9.        Quality and Timeliness of Reports
         10.       Initiative
         11.       Leadership
         12.       Implementation of Proactive Policing Strategies (for members who perform
                   administrative functions, a different dimension, Competence in Unit’s Mission,
                   replaces this dimension)

         Two dimensions of particular relevance to the monitorship are “Application of Law and

Procedures” and “Quality and Timeliness of Reports.” Supervisors are asked to rate their

subordinates based upon, among other factors, the lawfulness of the officer’s stops and the

accuracy and completeness of the officer’s stop reports. In approving the performance evaluation

system, the Court directed the Monitor to review and assess it to ensure “on paper and in practice,

it does not (a) reinstitute pressures that result in a focus on the quantity of stops without regard to

their lawfulness or (b) undermine the goals of the remedial process, including compliance with the

Fourth and Fourteenth Amendments to the Constitution.” 16    17F




         In the fourth quarter of 2020, the NYPD reported the following data with regards to the

performance evaluation system:

               x   There were 14,149 total performance evaluations completed for officers and
                   detectives in 4Q2020. There were 987 missing evaluations (6.5% missing).

               x   There were 8,264 CRAFT supervisory feedback forms completed in 4Q2020.
                   There were 5,123 positive CRAFT entries and 3,141 negative CRAFT entries.

               x   In 4Q2020, officer profiles contained the following information related to stops:
                         Insufficient Basis for Stop: 20
                         Insufficient Basis for Frisk: 24
                         Insufficient Basis for Search: 27

               x   There were 902 follow-ups indicated from the preparation of stop reports in
                   4Q2020.




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     Floyd, ECF No. 564.

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       The Monitor has undertaken a number of steps to evaluate whether the performance

evaluation system meets the Court’s criteria. The Monitor Team reviewed evaluations for officers

receiving a “Needs Improvement” rating for Application of Law and Procedures, Quality and

Timeliness of Department Reports, and Implementation of Proactive Policing for the fourth quarter

of 2020. The Monitor Team reviewed data on officers receiving a “Needs Improvement” CRAFT

supervisory feedback report for those dimensions. In addition, the Monitor Team reviewed the

quarterly evaluations in a sample of eight precincts, one PSA, and one Transit District.

                      a.      Review of Performance Evaluations with Ratings of “Needs
                              Improvement” for Selected Performance Dimensions

       For the fourth quarter of 2020, there were only 117 out of over 14,000 performance

evaluations that had a “Needs Improvement” rating for the performance dimensions Application

of Law and Procedures, Quality and Timeliness of Department Reports, and/or Implementation of

Proactive Policing. These performance evaluations came from 21 different commands. The

dimension Application of Law and Procedure had 12, Proactive Policing had 95, and Quality and

Timeliness of Written Reports had 10. In total, there were 26 CRAFT entries made in relation to

these 117 Needs Improvement ratings. One officer was issued two CRAFT entries and was

instructed on how to properly conduct a stop of a person suspected of a crime. There were no

negative CRAFT entries or Needs Improvement ratings because of stop report activity or lack

thereof.

       Most of the comments provided by supervisors in the performance evaluations—not

limited to evaluations with Needs Improvement ratings—contained boilerplate language. For

example, one supervisor used the comment “The officer performed the duties entailed in the above

area as described by the chosen attributes” for numerous officers during the period. This comment




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was used regardless of the rating given and without any additional specificity about what behavior

or activities were being addressed.

                       b.     Review of Negative CRAFT Entries on Selected Performance
                              Dimensions

       In the fourth quarter of 2020, there were more than 8,000 CRAFT entries prepared. There

were 5,123 for “exceeds expectations,” and 3,141 for “needs improvement.” In the selected

performance dimensions of Application of Law and Procedures, Implementation of Proactive

Policing, and Quality and Timeliness of Written Reports, there were 777 CRAFT entries that were

listed as “needs improvement.” These entries were examined to identify areas related to stops.

Chart 11 below shows the breakdown of stop-related CRAFT entries in those performance

dimensions. The reasons supervisors provided to describe the nature of the feedback was diverse.

An attempt was made to condense those descriptions into major themes and categories to permit a

better understanding of the areas identified most often.

Chart 11. 4Q2020 Negative CRAFT Entries on Selected Performance Dimensions
 Application of Law and Procedure                                   Count
 ACTIVITY LOG DEFICIENT                                              38
 APPROVED STOP REPORT WITH DEFICIENCIES                              21
 BUSINESS CARD NOT OFFERED                                           23
 BWC RELATED                                                         48
 DID NOT ENSURE A STOP REPORT WAS PREPARED                           2
 FAILED TO PREPARE STOP REPORT                                       6
 LACKS REASONABLE SUSPICION FOR FRISK                                11
 IMPROPER SEARCH                                                     5
 LACKS REASONABLE SUSPICION FOR STOP                                 56
 Total                                                               210


 Quality and Timeliness of Written Reports                         Count
 APPROVED STOP REPORT WITH DEFICIENCIES                              5
 BUSINESS CARD NOT OFFERED                                           1
 BWC RELATED                                                         6
 FAILED TO PREPARE STOP REPORT                                       4
 ACTIVITY LOG DEFICIENT                                              2


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 Total                                                                  18


 Implementation of Proactive Policing                                 Count
 ACTIVITY LOG DEFICIENT                                               2
 BUSINESS CARD NOT OFFERED                                            16
 BWC ACTIVATION RELATED                                               10
 FAILED TO PREPARE STOP REPORT                                        1
 IMPROPER FRISK                                                       2
 IMPROPER SEARCH                                                      1
 STOP REPORT DEFICIENT                                                2
 FAILED TO MAKE STOP                                                  4
 Total                                                                38

                       c.     Review of Quarterly Performance Evaluation Data for Sample
                              Commands

         Quarterly performance evaluations from the following commands were examined:

Precincts 9, 32, 52, 60, 73, 103, 114 and 121, PSA6 and TD34. In total, there were more than

1,300 performance evaluations reviewed from this group of 10 commands. In only 12 instances

did the reviewing supervisor rate the officer as Needs Improvement in any of the 12 performance

dimensions. Therefore, out of the 1,337 evaluations completed, only 0.07% contained a Needs

Improvement rating on any one of the performance dimensions rated. The Monitor Team’s

evaluation of the NYPD’s 2019 performance evaluations in the Eleventh Report showed what is

known as a “halo effect” in performance evaluation systems—every officer received a positive

evaluation in all 12 dimensions regardless of negative CRAFT entries. The halo effect observed

from the 2019 period still appears to be present in the fourth quarter of 2020.

         The Monitor Team compared negative CRAFT entries for the selected performance

dimensions that were for insufficient legal basis for stop encounters with the ratings given by

supervisors in performance evaluations during the 4Q2020 performance rating period. In the 10

selected commands, there were 14 officers and supervisors who had a negative CRAFT entry

related to stops in one of the three performance dimensions. Four of those officers’ performance


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evaluations are missing. A review of the performance evaluations of the 10 remaining officers

revealed that one received a rating of meets standards, five received a rating of exceeds standards,

and four were rated as exceptional. Again, as in our previous assessment, it is not clear that there

is a connection between the presence of a negative CRAFT entry and the member’s rating on the

quarterly evaluation.

       The Monitor Team’s review of the data indicates that the NYPD’s performance evaluation

system, as it is being implemented in practice, does not lead supervisors to pressure officers to

make more stops without regard to the lawfulness of those stops. Also, the Monitor Team did not

find cases in which officers were given negative evaluations because of a lack of stop activity.

Based on the Monitor Team’s review of performance evaluation data, the City is in partial

compliance with the performance evaluation requirements (Task 38b).

IX.    AUDITING

       The Court’s Remedial Order requires the NYPD to develop systems to monitor its

members’ compliance with constitutional and state law standards. The Department’s auditing

function is designed to discover and then correct deviations from NYPD policy and the law. The

Department’s QAD is the unit that conducts audits, including those relating to stop and frisk and

trespass enforcement. QAD also requires commands to submit self-inspections to monitor their

compliance. In July 2020, the Court approved the NYPD’s 2020 Audit Plan. These audits and

self-inspections examine each command’s compliance with the Fourth Amendment and the

NYPD’s stop and frisk procedures.

       In submitting the NYPD 2020 Audit Plan for Court approval, the Monitor noted that the

plan covers only audits conducted by QAD and self-inspections conducted by executives at the

command level. These audits and self-inspections examine each command’s compliance with the

Fourth Amendment and compliance with the Department’s stop and frisk and BWC policies. The


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Audit Plan does not cover the Department’s responsibilities for monitoring its members’

compliance with the Fourteenth Amendment, a separate task. The Monitor and the parties

recognize the importance of sound NYPD procedures for monitoring Fourteenth Amendment

compliance, a requirement which the Monitor has added to the compliance matrix in Appendix 1.

       A.      QAD Auditing of Stop Reports

       Under the Court-approved Audit Plan, auditors now review BWC footage for every audited

stop report. QAD examines whether the encounter was recorded in full or in part, whether the

BWC video was consistent or inconsistent with the stop report, and whether the stop report and

the BWC video indicate that there was reasonable suspicion for the stop or frisk (if conducted) or

a legally sufficient basis for any search conducted. The Audit Plan also changed the sampling

methodology so that the number of stop reports audited now depends upon the number of stop

reports prepared in each command during the prior year. Additionally, the Audit Plan now ensures

that all commands are audited on a weekly basis, which allows for timely feedback and corrective

action without having to wait for quarterly audit results.

       Chart 12 below shows QAD’s determinations of the percentage of stop reports that

articulated reasonable suspicion for the stop, the percentage of stop reports that articulated

reasonable suspicion that the person frisked was armed and dangerous, and the percentage of stop

reports that articulated a legal basis for the search conducted. Based on the assessments from QAD

audits, the NYPD’s level of compliance improved from 2017 to 2018, remained at about the same

level for 2019, and improved in 2020.




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Chart 12. QAD Stop Report Audits
 Period   Stop      Stop Narrative         Frisks           Frisk Narrative   Searches    Search
          Reports   Articulates            Evaluated        Articulates       Evaluated   Narrative
          Evaluated Reasonable                              Reasonable                    Articulates
                    Suspicion for                           Suspicion for                 Legal Basis for
                    Stop                                    Frisk                         Search
 2017        7,526 5,448 (72%)                4,480          3,920 (88%)        2,458      2,256 (92%)
 2018         7,134     5,839 (82%)           4,119         3,739 (91%)         2,421      2,277 (94%)
 2019         7,475     6,050 (81%)           3,434         3,233 (94%)         2,473      2,312 (93%)
 2020         5,144     4,493 (87%)           2,551         2,371 (93%)         2,127      1,961 (92%)

        QAD’s review of command self-inspections indicates that the percentage of reports in

which QAD and the command came to the same conclusion reached 90 percent during the last two

quarters of 2020 and 95 percent in the first quarter of 2021. See Chart 13 below.

Chart 13. QAD Audits and Command Self-Inspections of 2018-1Q2021Stop Reports
            # Stop        # Stop Reports                          % QAD, Command
                                              # QAD,
            Reports       Audited by QAD                          Consistent (Column
 Quarter                                      Command
            Audited       in Command                              3 divided by
                                              Consistent
            by QAD        Self-Inspection                         Column 4)
 1Q2018        1,862            1,414              868                    61%
 2Q2018        1,852            1,458              948                    65%
 3Q2018        1,761            1,343              942                    70%
 4Q2018        1,659            1,088              765                    70%
 1Q2019        1,741            1,110              884                    80%
 2Q2019        2,172            1,313             1,078                   82%
 3Q2019        1,915            1,244              972                    78%
 4Q2019        1,647            1,094              842                    77%
 1Q2020        1,823            1,105              833                    75%
 2Q2020        1,537            1,117              896                    80%
 3Q2020         768              426                  385                 90%
 4Q2020        1,016             654                  597                 91%
 1Q2021        1,014             624                  564                 90%
 2Q2021         963              571                  540                 95%




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       QAD’s assessment of whether BWC videos of a stop are consistent with the narrative in

the related stop report find a fairly high level of consistency, except for the third quarter of 2020.

See Chart 14 below.

Chart 14. QAD Audit of Stop Reports with Associated BWC Video
                                                Video
                            Video Consistent    Inconsistent
          Number of
                            with Stop Report    with Stop
          Videos Reviewed
                            Narrative           Report
                                                Narrative
 1Q2018 82                   61 (74%)           21 (26%)
 2Q2018 164                      141 (86%)               23 (14%)
 3Q2018 258                      222 (86%)               36 (14%)
 4Q2018     476                  406 (85%)               70 (15%)
 1Q2019     755                  666 (88%)               89 (12%)
 2Q2019     940                  863 (92%)               77 (8%)
 3Q2019     947                  877 (93%)               70 (7%)
 4Q2019     870                  797 (92%)               73 (8%)
 1Q2020     905                  817 (90%)               88 (10%)
 2Q2020     879                  812 (92%)               67 (8%)
 3Q2020     740                  577 (78%)               163 (22%)
 4Q2020     972                  886 (91%)               86 (9%)
 1Q2021     996                  899 (90%)               97 (10%)
 2Q2021     948                  862 (91%)               86 (9%)

       B.      Monitor Team Review of Stop Report Audits

       Starting with the audits from the fourth quarter of 2016, the Monitor Team has obtained

QAD’s audits of a sample of commands along with the audited stop reports from those commands.

The goal is to evaluate the auditors’ work and to review a sufficient number of stops to be able to

make meaningful statements about citywide compliance. The stop reports are evaluated by three

members of the Monitor Team. When they disagree, the stop reports are reviewed by the Monitor

and Deputy Monitor. These disagreements are discussed in Monitor Team meetings, and then the




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results are sent to QAD, which meets with the Monitor Team to discuss those cases in which there

is a disagreement between QAD’s and the Monitor’s assessment.

          Chart 15 below compares the number and percentage of stop reports each quarter that QAD

determined articulated reasonable suspicion with the number and percentage of stop reports that

the Monitor Team determined described justified stops. Both QAD audits and those conducted by

the Monitor Team show an improvement in the stops meeting the standard of reasonable suspicion.

Chart 15 shows that although the Monitor Team’s assessment of compliance is lower than the

NYPD’s assessment of compliance, the difference between the Monitor Team’s assessments and

QAD’s assessments has decreased over time. This is likely due at least in part to the meetings

with the Monitor Team and NYPD and a more thorough review of the stop reports by QAD as a

result.

Chart 15. Monitor and QAD Assessments of Stops
                QAD (No., % Monitor (No.,
                Articulating % Containing
                                          Total
                Reasonable   Justified
                Suspicion)   Stops)
 1Q2017         197 (77%)        142 (55%)        256
 2Q2017         209 (69%)        178 (59%)        302
 3Q2017         219 (70%)        188 (60%)        312
 4Q2017         221 (72%)        212 (70%)        305
 1Q2018         222 (72%)        202 (66%)        308
 2Q2018         238 (81%)        211 (72%)        295
 3Q2018         240 (79%)        251 (83%)        302
 4Q2018         232 (77%)        239 (80%)        300
 1Q2019         263 (83%)        250 (79%)        315
 2Q2019         255 (83%)        245 (80%)        308
 3Q2019         257 (85%)        249 (82%)        304
 4Q2019         233 (75%)        228 (74%)        310
 1Q2020         252 (83%)        256 (85%)        303
 2Q2020         243 (80%)        237 (78%)        302
 3Q2020         281 (94%)        280 (93%)        300
 4Q2020         274 (92%)        264 (88%)        298




                                                                                            81
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       C.      QAD Audits for Undocumented Stops

               1.     RAND Audit Results

       QAD continues to audit the potential underreporting of stops by implementing the

recommendations of the RAND Corporation. The RAND audit program is designed to identify

stop encounters using radio transmissions to discover instances in which stop reports should have

been prepared. QAD uses keyword searches of ICADs to identify events that likely involved stop

encounters. These keywords are “Stopped,” “Show-up,” “Holding,” and “Warrant Check.” Once

a potential stop encounter is identified through the review of ICADs and/or listening to the

corresponding radio transmission, NYPD records are reviewed to determine whether a

corresponding stop report was prepared. If there is BWC video of the event, QAD reviews the

video as part of this analysis. If an auditor determines that a stop report may have been required,

the event is sent back to the command for further investigation. When a command investigates an

encounter for the purposes of a RAND audit and determines that a stop report was necessary but

not completed, the command directs that a stop report be completed and takes corrective action.

       Chart 16 below shows that in 2020, QAD’s RAND audits identified 23 Terry stops for

which no stop report was prepared.

Chart 16. RAND Audit with Command Responses
             Total                  Report                                      Compliance
                                                                    Terry
             RAND                   Deemed Not                                  Rate (%)
                           Stop                          Total      Stop
             Audits                 Necessary                                   (Stop Reports
                           Reports                       Terry      Without
             Indicating             After                                       Prepared/Total
                           Prepared                      Stops      Stop
             a Possible             Command                                     Stops)
                                                                    Report
             Stop                   Investigation
  4Q2016     28            8        8                    20         12          40%
  1Q2017     28            6        10                   17         11          35%
  2Q2017     31            6        9                    22         16          27%
  3Q2017     21            12       4                    17         5           71%
  4Q2017     23            12       6                    17         5           71%
  1Q2018     21            10       7                    14         4           71%



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             Total                   Report                                     Compliance
                                                                    Terry
             RAND                    Deemed Not                                 Rate (%)
                            Stop                         Total      Stop
             Audits                  Necessary                                  (Stop Reports
                            Reports                      Terry      Without
             Indicating              After                                      Prepared/Total
                            Prepared                     Stops      Stop
             a Possible              Command                                    Stops)
                                                                    Report
             Stop                    Investigation
  2Q2018     25             13       5                   20         7           65%
  3Q2018     26             6        12                  14         8           43%
  4Q2018     25             9        5                   20         11          45%
  1Q2019     19             13       4                   15         2           87%
  2Q2019     18             11       5                   13         2           85%
  3Q2019     28             13       2                   26         13          50%
  4Q2019     22             16       2                   20         4           80%
  1Q2020     40             20       4                   36         16          56%
  2Q2020     38             28       6                   32         4           88%
  3Q2020     15             9        3                   12         3           75%
  4Q2020     11             8        3                   8          0           100%
  1Q2021     23             21       1                   22         1           95%
  2Q2021     11             9        2                   9          0           100

       When a command investigates a RAND audit encounter and determines that it was a stop

without a stop report, the command directs the officer involved to complete a stop report and takes

corrective action. Chart 17 below details follow-up actions taken by commands for members who

did not document stops.

Chart 17. Command Follow-Up Actions from RAND Audit
                                                               Minor Violations
             Terry Stop                                                             No
                              Command         Instructions/    Log or CRAFT
             Without Stop                                                           Disciplinary
                              Discipline      Training         Supervisory
             Report                                                                 Action
                                                               Report
  4Q2016     12               2               3                5                    2
  1Q2017     11               0               6                5                    0
  2Q2017     16               0               8                5                    3
  3Q2017     5                0               3                1                    1
  4Q2017     5                4               1                0                    0
  1Q2018     4                2               0                1                    1
  2Q2018     7                0               2                3                    2
  3Q2018     8                1               4                3                    0
  4Q2018     11               1               1                7                    2
  1Q2019     2                0               0                2                    0


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                                                                 Minor Violations
             Terry Stop                                                             No
                              Command         Instructions/      Log or CRAFT
             Without Stop                                                           Disciplinary
                              Discipline      Training           Supervisory
             Report                                                                 Action
                                                                 Report
  2Q2019     2                0               0                  1                  1
  3Q2019     13               1               0                  11                 1
  4Q2019     4                0               0                  4                  0
  1Q2020     16               1               1                  14                 0
  2Q2020     4                0               1                  2                  1
  3Q2020     3                0               1                  2                  0
  4Q2020     0                0               0                  0                  0
  1Q2021     1                0               1                  0                  0
  2Q2021     0                0               0                  0                  0

               2.     Results from Police-Initiated Enforcement Audits

       QAD also uses police-initiated enforcement (PIE) audits to detect undocumented stop

encounters. These audits look at arrests in each command from the audit period that resulted from

police-initiated enforcement. These are defined as arrests in which the People of the State of New

York are the complainants on the Complaint Report, such as criminal possession of a controlled

substance, criminal possession of a weapon, or trespass. Each week, the most recent PIE arrest

from each command is audited. Arrest reports are reviewed to determine whether or not a stop

report should have been filled out for the encounter. When an auditor determines that the arrest

report possibly required a stop report and no such stop report was filled out, the arrest report is

returned to the command for further investigation. See Chart 18 below.

Chart 18. PIE Audits with Command Responses
            Arrests                                                                 Percentage
            Audited         Stop     Command                Stop          Stop      Compliance
            Possibly        Report   Response               Report        Report    (SR on
            Requiring       Not
                            Required Missing                Required      on File   file/SR
            Stop Reports                                                            Required)
 4Q2016     103             50       7                      46           20         44%
 1Q2017     161             95       23                     43           19         44%
 2Q2017     154             104      6                      44           13         30%
 3Q2017     194             122      26                     46           12         26%
 4Q2017     225             171      0                      54           20         37%



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              Arrests                                                               Percentage
              Audited            Stop            Command     Stop         Stop      Compliance
              Possibly           Report          Response    Report       Report    (SR on
              Requiring          Not             Missing     Required     on File   file/SR
              Stop Reports       Required                                           Required)
  1Q2018      122                74              4           44           18        41%
  2Q2018      149                103             5           41           16        39%
  3Q2018      190                121             19          50           22        44%
  4Q2018      166                74              37          55           34        62%
  1Q2019      156                63              72          21           13        62%
  2Q2019      128                94              1           33           20        61%
  3Q2019      149                96              0           53           21        40%
  4Q2019      138                103             0           35           16        46%
  1Q2020      132                95              0           37           24        65%
  2Q2020      141                96              0           45           24        53%
  3Q2020      81                 43              0           38           30        79%
  4Q2020      94                 38              0           56           53        95%
  1Q2021      58                 21              0           37           29        78%
  2Q2021      66                 17              0           49           42        86%

        D.     QAD Auditing of Trespass Crimes Fact Sheets

        Officers are required to fill out a TCFS for all trespass arrests in and around NYCHA

buildings. QAD auditors review whether a TCFS was prepared when required, whether the officer

articulated a proper basis for the approach on the TCFS, and whether the arrest documentation

articulates probable cause for the arrest.

        QAD audits find that the majority of trespass arrests in NYCHA are properly documented

by a TCFS, and that paperwork associated with these arrests indicates that there was a proper

basis to approach and then arrest the individual. See Chart 19 below.

Chart 19. QAD Audits of Trespass Arrests and TCFS
               NYCHA Trespass           NYCHA TCFS Articulated      NYCHA Trespass Arrests
               Arrest Had TCFS          Proper Basis for Approach   Articulated Probable Cause
 2018           85% (516/604)                97% (501/516)              94% (567/604)
 2019           94% (520/555)                98% (508/520)              93% (515/555)
 2020           94% (240/255)                94% (225/240)              94% (240/255)
 Six months 99% (155/156)                    97% (151/155)              99% (155/156)
 2021


                                                                                            85
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               1.     Compliance Assessment—Audit Plan

                      Tasks 36a, 36b In Compliance.

       In its Liability Opinion, the Court held that the NYPD was deliberately indifferent to

unconstitutional stops and frisks, in part because it had “no meaningful procedures for auditing

stop paperwork to monitor the constitutionality of stops.” Floyd v. City of New York, 959 F. Supp.

2d 540, 609 (S.D.N.Y. 2013). In particular, the Court found that QAD’s process of reviewing

stops consisted of “a superficial review of whether paperwork was completed, not a substantive

review of whether a stop was constitutional.” Id. at 609-10. To address that finding, the Court’s

Remedial Order instructed the Monitor to work with the parties to develop reforms to the NYPD’s

“monitoring . . . regarding stop and frisk.” Floyd v. City of New York, 959 F. Supp. 2d 668, 677

(S.D.N.Y. 2013).

       The Monitor has worked with the NYPD and Plaintiffs to make QAD’s review of stops

more effective. In July 2020, the Court approved the NYPD’s 2020 Audit Plan, which includes

important improvements over the prior protocols. Most significantly, the Plan requires QAD to

review BWC video corresponding to every stop report being audited. Under the 2020 Audit Plan,

QAD also reviews the BWC video associated with every audited trespass arrest and PIE arrest. In

addition, under the new command self-inspection protocol in the 2020 Audit Plan, the ICOs at

commands review the BWC video associated with each stop report being evaluated as part of the

command stop report self-inspection.

       The NYPD is required to establish auditing procedures that identify noncompliant stops,

frisks, searches, and trespass arrests and a mechanism for correcting them. With the 2020 Audit




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Plan, the NYPD is in compliance with this requirement (Task 36a). 17 The NYPD has implemented
                                                                   18F




these protocols in the fourth quarter of 2020 and the first two quarters of 2021. The NYPD is in

compliance with implementing the 2020 Audit Plan (Task 36b).

               2.      Compliance Assessment—Monitoring Fourteenth Amendment
                       Compliance

                              Tasks 36c, 36d Not Yet In Compliance.

        The Department has not yet established procedures for monitoring its members’ use of stop

and frisk and trespass enforcement in compliance with the Fourteenth Amendment. The NYPD

has developed a system that provides a visualization of stop and frisk data that can be used in

monitoring Fourteenth Amendment compliance and identifying areas for further investigation.

The NYPD demonstrated the dashboard to the Monitor Team in March 2022. The NYPD will be

providing a demonstration for the Plaintiffs. The NYPD is not yet in compliance with developing

and implementing procedures for monitoring Fourteenth Amendment compliance (Tasks 36c and

36d).

X.      EARLY INTERVENTION SYSTEM

        In November 2018, the Court ordered the Department, in consultation with the Monitor, to

submit a plan for an early intervention system: a program that systematically receives, assesses,

and acts on information regarding adverse findings on the conduct of police officers involving

illegal stops or illegal trespass enforcements. The five specific categories of required information

regarding officer conduct are: (a) declinations by the District Attorneys in New York City; (b)

suppression decisions by courts precluding evidence as a result of unlawful stops and searches; (c)

court findings of incredible testimony by police officers; (d) denials of indemnification and/or


17
  QAD’s audits and command self-inspections assess compliance with the Fourth Amendment
and the Department’s stop and frisk policies. The NYPD is also required to develop sound
procedures for monitoring Fourteenth Amendment compliance.

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representation of police officers by the New York City Law Department; and (e) judgment and

settlements against police officers in civil cases where there exists evidence of police

malfeasance. 18
             19F




       The Department submitted a plan for its Early Identification Program (EIP) to the Court in

December 2019, to which the Plaintiffs objected. After significant negotiations overseen by the

Monitor, the parties submitted a joint filing to the Court delineating the remaining points of

disagreement among the parties regarding the Department’s EIP plan. The Court issued an order

in June 2020 setting out the requirements for the early intervention system. 19 In addition to the
                                                                            20F




Court’s order, a new section of New York City’s Administrative Code, NYC Administrative Code

§ 14-190, has created additional requirements for the Department’s early intervention system. 20
                                                                                              21F




                   1.   Compliance Assessment—Early Intervention System

                        Task 37a In Compliance; Task 37b Partial Compliance.

       The NYPD submitted to the Court its plan for receiving, assessing, and acting on

information regarding adverse findings regarding unlawful stops and trespass enforcement. The

Court then issued an order setting out the requirements for the early intervention system. The

NYPD is in compliance with this requirement (Task 37a).

       The NYPD’s EIP is designed to utilize risk management strategies to intervene to support

employee professional development by attempting to identify and mitigate factors which may lead

to negative performance issues, employee discipline, or negative interactions with the public.

Under the EIP, when a designated threshold is triggered, RMB staff prepare an overview of the

officer’s history with the Department and make a recommendation for a potential intervention.


18
   Floyd, ECF No. 662.
19
   Floyd, ECF No. 767.
20 Local Law 68-2020.




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The designated thresholds include, but are not limited to, three or more declinations to prosecute

in a 12-month period in certain specified categories; a suppression decision in a case involving

stops, trespass enforcement, or racial profiling or slurs; a court finding of incredible testimony; a

declination by the Law Department to represent or indemnify the officer in a lawsuit; a lawsuit

naming the officer alleging an unconstitutional stop, an unconstitutional trespass enforcement, or

racial profiling or racial slurs where there has been a judgment or settlement against a police

officer, and where there exists evidence that the police officer violated a rule or regulation of the

NYPD, and any CCRB complaint against the officer involving racial profiling or a racial slur. The

officer’s commanding officer is also asked to make a recommendation regarding potential

intervention, and the officer’s profile and the RMB’s and CO’s recommendations are sent to an

Early Intervention Committee.

       The Early Intervention Committee (EIC) is chaired by the Chief of RMB and includes

executive-level personnel representing the Deputy Commissioner of Legal Matters, the Deputy

Commissioner of Equity and Inclusion, the Chief of the Department, the Chief of Detectives, the

Chief of Patrol, and the Chief of Personnel. In addition to the thresholds specified in the Court’s

order, the EIC will also review any officer who meets certain criteria regarding civil litigation, 21 22F




force complaints, 22 and other indicators specified in legislation enacted by the City Council. 23
                  23F                                                                          24F




21
   Three or more commenced lawsuits in a 12-month period; six or more commenced lawsuits in
a five-year period; one lawsuit disposed for $200,000 or greater in a 12-month period.
22
  Two or more force complaints in a 12-month period; four or more force complaints in a two-
year period; five or more force complaints in a four-year period.
23
   These indicators include CCRB and Internal Affairs Bureau (IAB) investigations, criminal
arrests and investigations of an officer, vehicle pursuits and collisions, violations of the Patrol
Guide, and arrests and summonses for resisting arrest, obstructing governmental administration,
and disorderly conduct. Local Law 68-2020. The bill took effect on September 1, 2020.

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         When evaluating an officer, the EIC must consider: relevant details relating to the incident

or incidents that caused the officer to meet the designated threshold; their tenure with the

Department, including whether the officer has previously been presented to the EIC; the subject

officer’s history or disciplinary and performance monitoring; and the officer’s performance

evaluations and past and current assignments. In October 2021, the NYPD published guidelines

for the Early Intervention Program in its Administrative Guide, A.G. 320-54. The EIC has several

potential interventions from which to choose, including training, mentoring, further review of the

officer’s BWC videos, enhanced supervision, change of assignment, and conferral with Bureau

leadership. Where necessary, officers may be referred for a determination of whether monitoring

is appropriate, for an assessment with the Health and Wellness Section, to the Internal Affairs

Bureau for potential disciplinary action, or to a District Attorney’s Office for potential criminal

investigation. The EIC may also decide that no intervention is necessary.

         Within seven business days of making a decision, the EIC will inform the commanding

officer and other applicable internal stakeholders of its recommendation. Within 30 days, the

commanding officer is required to report back on the implementation of the EIC’s

recommendation.

         Pursuant to the June 2020 Court order, the Department is required to post aggregate data

regarding officers who have been assessed by EIC on a quarterly basis. 24 Pursuant to the new
                                                                            25F




Administrative Code section, the Department is required to submit an annual report to the Mayor




24
     Floyd, ECF No. 767.




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and the Speaker of the City Council regarding the Department’s use of early intervention during

the previous year. 25 Both sets of reports are publicly available on the NYPD website. 26
                    26F                                                                27F




          The EIC first met in August 2020 and has convened approximately monthly since then.

The Monitor Team has observed each of the EIC meetings convened thus far. From August 2020

through December 2021, the EIC reviewed 712 members of the service. Those members crossed

thresholds relating to CCRB complaints, declined prosecutions, racial profiling and racial slur

complaints, use of force, and suppression decisions. In addition, four of the 712 were referred to

the EIC for review by their Commanding Officer. In February 2022, the EIC reviewed officers

who had been identified by the Kings County (Brooklyn) District Attorney’s Office as lacking in

credibility. The EIC has not yet reviewed any members of the Department based on lawsuits

alleging improper stop, trespass enforcement, or racial profiling or slurs where evidence existed

that the police officer violated an NYPD rule.         Another requirement of the Court’s early

intervention order is for the NYPD to use information from the EIP for making performance

evaluations and transfer or discretionary promotional decisions on a case-by-case basis as the

Police Commissioner deems appropriate. The NYPD has not yet established protocols for

implementing that requirement.

          There are some very positive aspects of the NYPD’s Early Intervention Program. The goal

of the program is for the NYPD to identify potential issues and at-risk behavior and take action

before they escalate. The interventions can be helpful in steering members in the right direction.

The inclusion of the Employee Assistance Unit in the EIC is quite beneficial. The Monitor Team

did note that there were members of the service who clearly should have been flagged by the



25
     NYC Administrative Code § 14-190.
26
     https://www1.nyc.gov/site/nypd/stats/reports-analysis/early-intervention-program-reports.page.

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NYPD earlier for review but who may have either avoided oversight or the earlier interventions

were unsuccessful; at the same time, however, the fact that these members were reviewed by the

EIC indicates that the thresholds are identifying officers who need review. The Monitor Team

also had concerns, shared with the NYPD, that many of the COs are not recommending any

intervention for officers who meet the EIP thresholds. The Monitor Team will continue working

with the NYPD on implementation of the EIP and the Court’s order. The NYPD is in partial

compliance with implementation of the early intervention system (Task 37b).

XI.       COMPLAINTS AND DISCIPLINE

          The Court’s Remedial Order required the NYPD to change its policies and practices with

respect to investigations of racial profiling and other bias-based profiling allegations as well as its

handling of civilian complaints that have been substantiated by the CCRB.

          A.     NYPD Investigations of Profiling Allegations

          The NYPD currently investigates all profiling allegations related to race and bias-based

policing, whether the allegation is made directly to the Department or referred from the CCRB.

Investigation of racial profiling complaints filed by a citizen will move from NYPD to CCRB

commencing some time in 2022, due to an amendment of the Charter. 27 Until that transfer is
                                                                         28F




made, however, the NYPD will continue to investigate racial profiling complaints.

          Profiling complaints have decreased each year since 2017, with 127 complaints filed in the

first two quarters of 2021. The NYPD had not substantiated any profiling allegations prior to 2020

but has now substantiated three allegations against uniformed members and one against a school

safety agent in profiling investigations. See Chart 20 below. The allegations against the three

uniformed members were for racist internet postings. The Department brought charges and



27
     Charter 440, LL 2021/047, effective January 20, 2022.

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 specifications against these officers for prohibited conduct under P.G. 2013-10 (now A.G 304.06),

 which prohibits “using discourteous or disrespectful remarks regarding another person’s age,

 ethnicity, race, religion, gender, gender identify/expression sexual orientation, or disability.” The

 NYPD did not charge a violation of its policy against racial profiling, A.G. 304.17, because posting

 on the internet is not a police enforcement action, which is required by the racial profiling

 prohibition in the Administrative Guide. The allegation against the school safety agent involved

 an ethnic and religious slur. Complaints against a uniformed member for a racial or ethnic slur

 would be investigated by the CCRB. Because this complaint was against a school safety agent,

 the CCRB did not have jurisdiction, and the NYPD investigated the complaint. The Department’s

 charges and specifications in this case also were for prohibited conduct and not racial profiling.

        There are 18 members of the service who have had four or more racial profiling complaints,

 with two of those members having seven complaints and one having six.

 Chart 20. Profiling Case Dispositions by Year, 2014 – December 31, 2021

                    2014      2015      2016     2017     2018      2019      2020      2021       Total
Unfounded            2        173       226      331      319        211       84        39        1,385
Unsubstantiated      6        120       285      464      365        231       103       65        1,639
Exonerated           2         11         0        2        8          4         4        2          33
Partially            0         37        44       50       40         50        25        9         255
Substantiated*
Information and       0        0          0        2        2         1         1         0           6
Intelligence
Open or Active        0        1         3        3         1          1        17        93        119
Substantiated         0        0         0        0         1          0        3         0           4
Closed to File        0        1         4        5         9         15        3         1          39
Total                10       343       562      858       745       513       240       209       3,480

 * These are cases in which other allegations in a complaint were substantiated, but not profiling
 allegations. The chart above includes three cases in the “Substantiated” category because an
 allegation of biased policing was substantiated, even though other allegations in the complaint
 were not substantiated, so the case might otherwise be considered “Partially Substantiated.”




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                1.     Compliance Assessment—Racial Profiling Investigations

                       Task 35a In Compliance; Task 35b Partial Compliance.

        In January 2019, the Court approved an IAB Guide section and related training that provide

detailed guidance on how to investigate profiling complaints. In 2019 and 2020, the Monitor Team

reviewed profiling investigations and developed significant concerns regarding the investigations’

thoroughness and impartiality.     See Monitor’s Tenth and Eleventh Reports. Based on the

Monitor’s recommendations, the NYPD made changes to how it investigates profiling complaints

and made changes to profiling investigations training and to the IAB Guide on profiling

investigations. Revisions to the IAB Guide section were approved by the Court in December 2020.

In May 2021, the Monitor Team met with profiling investigators to discuss the revisions to the

IAB Guide and to provide feedback on how to best conduct such investigations. The NYPD is in

compliance with the requirement for written protocols for profiling investigations (Task 35a).

        Since the Eleventh Report, the Monitor Team reviewed another set of 18 profiling

investigations, conducted from 2019 to 2021. Cases were selected for review based upon specific

criteria, including:

x       Profiling cases in which a police officer was named as a subject in three or more profiling
        complaints; the officer was identified as a subject in recorded civil actions and settlements
        involving profiling complaints; or the officer was identified via EIC or RISKS Reviews.

x       Profiling cases in which the underlying police encounter involved a stop, frisk, or search.

x       Cases from different Patrol Boroughs and the Housing, Detective, and Transit Bureaus.

        Overall, the racial profiling investigations selected for review reflected an improvement

over prior profiling investigations reviewed by the Monitor Team. The majority of the cases were

thoroughly investigated, and a few investigations were very well done. Improvements were noted

in the complaint intake process, complainant contact and interview, subject/witness officer

interviews, and the general investigative approach taken with these cases. The amount of time


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between the assignment of the case to an investigator and that investigator contacting the

complainant decreased. Investigators asked complainants to describe the interaction with the

subject officer without interruption. In addition, there were fewer cases in which the subject and

witness officers were asked leading questions. Investigators also consistently used BWC videos

of the subject and other officers present in the encounter. The BWC videos recorded by the subject

officer and other members at the scene were informative and helped identify inconsistencies

between statements and what actually transpired.

       Although there was overall improvement in the investigation of profiling cases, there were

deficiencies noted in each case reviewed. One deficiency common among all of the cases was that

either the investigation lacked any analysis of trends or patterns of prior allegations and/or

enforcement practices of the subject officer, or the analysis that was included in the investigation

was faulty. This was the case even though a number of investigations concerned members of the

service with multiple prior profiling investigations. The NYPD is in partial compliance with this

requirement (Task 35b).

       B.      NYPD Handling of Substantiated CCRB Cases

      The Department Advocate’s Office (DAO) reviews CCRB findings and recommendations

for discipline regarding allegations the CCRB has substantiated. The Court required that the DAO

change its procedures to show “increased deference to credibility designations by the CCRB,” to

adopt “an evidentiary standard that is neutral between the claims of complainants and officers,”

and to ensure there is “no general requirement of corroborating physical evidence.” Floyd, ECF

372, p. 24.

               1.      NYPD Discipline and Penalties Imposed

       At trial, the Court found that the NYPD failed to impose meaningful discipline when the

CCRB determined that officers engaged in unconstitutional stops and frisks. Floyd, ECF 373, p.


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105.   Chart 21 below shows the recommendations made by the CCRB to the NYPD for

substantiated stop and frisk cases. Chart 21 shows that the discipline recommended by the CCRB

to the NYPD has decreased over the period from 2014 to 2020. The number of substantiated stop

and frisk cases also declined over that period.

Chart 21. CCRB’s Initial Disciplinary Recommendations, 2014-2020

                      2014        2015         2016    2017       2018        2019        2020
 Instructions         20          58           4       4          15          6           12
 Training             1           22           69      22         14          24          20
 Command              4           65 28  29F   72      41         15          16          18
 Discipline-A
 Command              51          74 29  30F   44      16         28          37          15
 Discipline-B
 Charges and          102         48           23      19         15          13          3
 Specifications
 Other                1 30
                       31F        1 31
                                   32F         0       0          1 32
                                                                    33F       0           0
 TOTAL                179         268          212     102        88          96          68

        The Police Commissioner makes the final determination about the discipline imposed.

Chart 22 below compares the CCRB’s initial discipline recommendations with the final discipline

imposed by the NYPD for 24 closed 2020 cases involving stops, frisks, and searches. In most

cases, the Police Commissioner imposed the same discipline as the CCRB, a change from many


28
   Includes five cases in which instructions were also recommended and three cases in which
training was also recommended.
29
 Includes one case in which Instructions were also recommended and four cases in which training
was also recommended.
30
  In 2014, there was one case in which the CCRB’s disciplinary recommendation is listed in the
data as “Command Discipline” without specifying whether level A or B was recommended.
31
  In 2015, one case is listed as “NDA” (No Disciplinary Action) in the data. The notes on the
case indicate that the complaint was received after the statute of limitations had run.
32
  CCRB initially recommended charges and specifications, but then reconsidered on its own and
unsubstantiated the case.



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years in the past.   In the three cases in which the CCRB recommended Instructions, the

Commissioner imposed Training, and in another case, the CCRB’s recommendation for Command

Discipline Level B was changed to Command Discipline Level A by the Commissioner. Two

cases in which Training was recommended were closed administratively because the members

resigned and two cases in which Command Discipline Level A was recommended were closed

administratively because one of the members resigned and the other retired. There were no closed

substantiated cases in 2020 in which the Commissioner took no disciplinary action (NDA).

Chart 22. Comparison of Recommended Penalties to Final Disposition, 2020 Closed Cases
     2019 Penalty Type,                 CCRB Recommended                         Final
     Closed Cases                      Discipline                                Penalty
     Charges and Specifications       0                                           0
     Command Discipline-B             3                                           2
     Command Discipline-A             14                                          13
     Training                         4                                           5
     Instructions                     3                                           0
     No Disciplinary Action           0                                           0
     Case Closed                      N/A                                         4
     Administratively*
     Total                            24                                           24
      *Three members resigned and one member retired.

              2.      DAO Reconsideration Requests

       In 2014, the NYPD and the CCRB established a new “reconsideration process,” in which

the DAO may ask the CCRB to reconsider its findings on whether allegations were substantiated

or its recommendations for discipline. The CCRB would then choose to change or maintain its

original conclusions. Alternatively, in certain circumstances (such as when a case is running out

of time under the statute of limitations), the DAO may unilaterally recommend a different

disposition or discipline to the Police Commissioner without requesting reconsideration by the

CCRB. In either case, the Police Commissioner would make the final decision on what discipline,




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if any, to impose after reviewing both the CCRB’s and the DAO’s findings and recommended

remedy. The NYPD requested no reconsiderations for 2020 or 2021 CCRB cases.

       As noted above, for the 2020 closed stop and frisk cases, there were no cases in which the

Commissioner declined to impose discipline, and in the one case in which the Commissioner

changed the disposition from a recommended Command Discipline Level B to Command

Discipline Level A, the Commissioner issued a departure letter explaining his rationale.

               3.     Discipline Matrix

       In January 2019, the Independent Panel on the Disciplinary System of the New York City

Police Department, a panel of judges and former prosecutors, made 13 recommendations to

improve the Department’s internal discipline process. The recommendations included that the

NYPD should consider creating a discipline penalty matrix to outline the presumptive penalties

for a wide variety of possible offenses. In June 2020, a new NYC Administrative Code provision,

NYC Administrative Code § 14-186, required that a discipline matrix be published on the NYPD’s

website.   The NYPD published a draft discipline matrix in August 2020, solicited public

comments, and made revisions based on the comments received. The matrix was published and

went into effect on January 15, 2021. In addition to setting presumptive penalties for acts of

misconduct and violations of Department policy, the discipline matrix also lists mitigating and

aggravating factors that should be considered when deciding on an appropriate penalty. The

presumptive penalty for an improper or wrongful stop, frisk, or search of an individual is set at

three penalty days, with a mitigated penalty of training and an aggravated penalty of 15 penalty

days. These presumptive penalties for stop and frisk violations are more severe than the penalties

that had been imposed for stop and frisk violations from 2014 to 2021, but it is unclear whether

the presumptive penalty of three penalty days for stop and frisk violations will be imposed going

forward.


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       In February 2021, the Department and the CCRB entered into a Memorandum of

Understanding regarding the application of the discipline matrix. The CCRB agreed to use the

penalty guidelines set forth in the discipline matrix as the framework for its recommendations and

will only deviate from those recommendations in extraordinary circumstances. The NYPD agreed

to provide the CCRB with the subject officer’s employment history, including the officer’s

disciplinary history. To date, few of the substantiated stop and frisk cases in which the CCRB has

used the discipline matrix have been completed and closed by the NYPD, so the Monitor Team is

not able to evaluate the impact of this change.

                4.     Compliance Assessment—DAO Handling of Substantiated CCRB
                       Cases

                       Tasks 34a, 34b No Assessment.

       The Court’s Remedial Order requires the NYPD to improve its procedures for handling

CCRB findings of substantiated misconduct during stops. Specifically, the DAO must provide

more deference to credibility determinations made by the CCRB, use an evidentiary standard that

is neutral between the claims of complainants and officers, and not require that physical evidence

corroborate the complaint. For the 2020 substantiated CCRB cases, the NYPD agreed that a

violation occurred in all of the closed cases. Even in cases in which the NYPD imposed a less

severe penalty than the CCRB recommended, the NYPD did not challenge the CCRB’s credibility

determination. In these 24 cases, the NYPD was compliant with the Court’s specific discipline

requirements.

       Although the DAO has made changes to its practices for handling substantiated CCRB

complaints, the procedures have not yet been submitted for Court approval. Instead, the Court

directed the Monitor to prepare an in-depth study of the efficacy, fairness, and integrity of the

City’s policies, practices, and procedures for handling police misconduct during stops. The Court



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requested that any recommendations regarding the DAO protocols be incorporated in the discipline

study report. The Monitor brought on Jim Yates, a former state court judge and counsel to four

New York State Assembly Speakers, to conduct the study and draft the discipline report, which

will be completed in 2022. The report will include an analysis of: (1) police discipline, including

disciplinary processes and outcomes; (2) the civilian complaint process (both at the CCRB and the

NYPD); and (3) the prosecution and adjudication of such complaints. The Monitor will defer its

assessment of discipline requirements until after the completion of the discipline study and report.

       C.      Other Misconduct Noted, Failure to Complete Stop Report

       If the CCRB investigates a complaint involving a stop, frisk, or search and determines that

the subject member or members made a Terry stop but did not complete a stop report for the

encounter, the CCRB refers the case to the NYPD as Other Misconduct Noted (OMN). If the

failure to complete a stop report is associated with a complaint that CCRB substantiates, then the

CCRB sends the OMN with the substantiated complaint, and the DAO handles both. If there is no

substantiated complaint associated with the failure to complete a stop report, the OMN is sent to

the IAB, the IAB logs the case, and the NYPD assigns it to the command for investigation and

tracks the outcome.

       Chart 23 below details outcomes of the NYPD’s investigations of CCRB’s OMN referrals

for failure to complete a stop report for completed CCRB cases from 2015 through the first three

quarters of 2021. For 2020, the CCRB has made 44 OMN referrals to the Department for failure

to compete a stop report; of those, 10 were substantiated. For the first three quarters of 2021, the

CCRB referred 16 OMNs for failure to complete a stop report; of those, eight were substantiated

(seven Charges and Specs and one Instructions) and only two are still open. For the cases for

which investigations were completed and substantiated in 2020 and 2021, none of the cases listed

a penalty imposed on the officer.


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Chart 23. Outcomes for Failure to Complete Stop Report (OMN Cases)
                     2015     2016    2017 2018      2019 2020                 2021
 Substantiated,      29       21      18      9      7     0                   0
 Command
 Discipline
 Substantiated, C&S 2         0       1       0      0     0                   7
 Substantiated,      2        15      6       2      0     0                   0
 Training
 Substantiated,      60       53      19      9      14    8                   1
 Instructions
 Substantiated,      0        1       1       0      0     0                   0
 Minor Procedural
 Violations
 Substantiated,      5        0       0       0      0     0                   0
 Warn and
 Admonish
 Substantiated, NDA 7         1       7       0      2     2                   0
 NDA-DUP             3        8       7       1      0     0                   0
 Exonerated          5        7       2       10     11    9                   1
 Unfounded           3        2       4       0      2     1                   0
 Unsubstantiated     2        3       2       16     12    13                  0
 Information and     0        0       2       5      3     1                   1
 Intelligence
 Open/Pending        9        0       0       0      0     0                   2
 Other*              9        4       2       5      0     10                  4
 Total               136      115     72      57     51    44                  16
* Includes the following dispositions: Filed, No Allegation, No Record Found.

XII.    CONCLUSION

        The Monitor Team’s review of NYPD policies and practices in 2020 and 2021 shows a

continued improvement in NYPD’s compliance with the Court’s reform requirements and with the

Fourth and Fourteenth Amendments with respect to stop, frisk and search. The Monitor Team’s

review of stop reports and BWC footage showed an increase in the percentage of compliant stops

from 2019 to 2020, from 77 percent to 86 percent. The percentage of compliant frisks increased

from 87 percent in 2019 to 92 percent in 2020, and the percentage of compliant searches remained

steady at 93 percent for both years. Again, however, as noted in earlier Monitor Reports and in

this one, the issue of underreporting of stops remains a concern and limits the extent to which the


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Monitor can draw conclusions from this data. Other issues to be addressed include discipline,

supervision, offering Business Cards when required, and the development of a process for

monitoring compliance with the Fourteenth Amendment. There is still additional work to be done.

In the Compliance Matrix in Appendix 1 to this Report, the Monitor has determined that the City

is in compliance with 43 tasks, but only in partial compliance with 13 tasks, and not yet in

compliance with five tasks. Also, there are five tasks for which the Monitor provided no

assessment and will review in future reports. To achieve substantial compliance with the Court’s

orders, the Department will need to accelerate its efforts to improve supervision, discipline,

documentation, performance evaluation, and early intervention, among other measures, to finish

the job. These are not nominal tasks; they are important and critical to ensuring constitutional

policing.




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                                    LIST OF RESOURCES

Since the last general Monitor Report at the end of 2020, the Monitor has published four special
reports on specific topics related to the monitorship:

           x   Twelfth Report – The Deployment of Body Worn Cameras on New York City
               Police Department (NYPD) Officers

           x   Thirteenth Report – Racial Disparities in NYPD Stop, Question, and Frisk
               Practices: An Analysis of 2013 to 2019 Stop Reports

           x   Fourteenth Report – NYPD Social Distancing Enforcement, 2020

           x   Fifteenth Report – Analysis of New York City Police Department (NYPD)
               Trespass Enforcement Activity in and Around New York City Housing Authority
               (NYCHA) Buildings

Other resources are listed below:

           x   Monitor’s Website, https://www.nypdmonitor.org/, including Monitor Reports,
               NYPD Policies, NYPD Training Materials, Court Opinions and Orders and NYPD
               Reference Materials.

           x   Civilian Complaint Review Board, https://www1.nyc.gov/site/ccrb/index.page

           x   NYPD Website, https://www1.nyc.gov/site/nypd/about/about-nypd/about-nypd-
               landing.page

           x   Center for Constitutional Rights Website, https://ccrjustice.org/ourcases/current-
               cases/floyd-et-al

           x   Communities United for Police Reform, https://www.changethenypd.org

           x   NAACP LDF Website, https://www.naacpldf.org/case-issue/davis-v-city-new-
               york/

           x   NYCLU Website, https://www.nyclu.org/en/cases/ligon-v-city-new-york-
               challenging-nypds-aggressive-patrolling-private-apartment-buildings




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                         APPENDIX 1



                  COMPLIANCE MATRIX
                                                     Task No. and
11th Report 16th Report                               Source of
  Status      Status            Standard             Requirement           Essence of Requirement                               Compliance Definition                               Methodology for Assessing and Achieving Compliance

Requirements for Policies and Procedures
In        In          Creation of Written Task #1a,       Source: Revise policies regarding stop Compliance with this provision will be achieved when NYPD                       Revise policies for stops to comport with federal and state constitutional
                                            Floyd remedial order,   and frisk to adhere to         develops new policies regarding stops which comply with                         standards.
Compliance Compliance policies,
                             procedures, and    p.14                       constitutional standards and     federal and state constitutional standards and which are
                             Training Materials                            New York state law               approved by the Monitor and the Court.
Partial      Partial       Implementation     Task #1b        Source:    NYPD stops and frisks comply     Compliance with this provision will be achieved when:                  Percentage of compliant stops must increase over time. Reviews of
                                                Floyd remedial order,      with NYPD policies and with      1. Stops made by NYPD MOS comply with NYPD's new                       BWC footage and associated stop reports will be made to assess the
Compliance    Compliance
                                                p.14                       state and federal standards      policies and with federal and state standards.                         accuracy of stop reports and whether the BWC footage and stop reports
                                                                                                            2. Stop reports that do not articulate reasonable suspicion for        are consistent. Compliance on this task is dependent on demonstration
                                                                                                            the stop or the frisk, or do not articulate the basis for the search   of compliance with documentation (Task 1c). Compliance must be
                                                                                                            are identified as deficient by supervisors and the officer is          consistent over time and across commands. Substantial compliance will
                                                                                                            corrected.                                           3. Stop           be assessed by a combination of a quantitative measure (percentage of
                                                                                                            reports that do not articulate reasonable suspicion are                compliant stops) with a qualitative assessment of the Department's
                                                                                                            identified by QAD, and corrective action is taken with respect to      efforts, including RISK Reviews, correction and discipline, and EIS.
                                                                                                            the relevant MOS (officers and supervisors).                           Compliance or non-compliance with other tasks/requirements will also
                                                                                                            4. QAD evaluates BWC footage of stop encounters described              inform the Monitor's qualitative assessment.
                                                                                                            in audited stop reports, identifies stops when the BWC footage
                                                                                                            is contrary to the reasonable suspicion articulated in the stop
                                                                                                            report, and corrective action is taken with respect to the
                                                                                                            relevant officers and supervisors.
Notyetin   Partial       Implementation      Task #1c        Source: Stops and Frisk are                Compliance with this provision will be achieved when                   RISKS Reviews, QAD audits, BWC Reviews. The Monitor team will
                                                 Floyd remedial order,   Documented on Stop Reports 1. Stops made by NYPD MOS are documented on Stop                               review a combination of RAND audit compliance rates, PIE audit
Compliance    Compliance
                                                 p.14                                                       Reports;                                                       2. In   compliance rates and CCRB OMN rates for failure to complete stop
                                                                                                            stop reports, officers articulate reasonable suspicion for the         reports. The Monitor team will also review samples of BWC videos. The
                                                                                                            stop and frisk, if conducted, and the basis for a search, if           Monitor will review the Department's efforts to correct undocumented
                                                                                                            conducted.                                                             stops, including RISK Reviews, supervisory actions and officer
                                                                                                            3. BWC footage of stops are not contrary to the reasonable             instructions and discipline. The Monitor also will assess NYPD efforts
                                                                                                            suspicion articulated in stop reports of the same encounters.          (by leadership and supervisors) to communicate the importance of
                                                                                                            4. Officers who make stops and do not document them are                documenting stops. Compliance must be consistent over time and
                                                                                                            corrected through instructions and discipline.                         across commands.
In           In            Creation of Written Task #2a        Source: Revise policies regarding racial Compliance with this provision will be achieved when NYPD                Revise policies to ensure race is not used improperly when officers
                             policies,           Floyd remedial order,   profiling to make clear targeting develops new policies regarding racial profiling.                       conduct stops
Compliance    Compliance
                             procedures and      p.17                    “right people” for stops is racial
                             Training Materials                          profiling and violates
                                                                         Constitution
                                                                                                                                                                                                                                                           Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 110 of 169
Notyetin   Partial     Implementation     Task #2b       Source: NYPD stops and frisks comply       Compliance with this provision will be achieved when:                Assessment of this task will be both quantitative and qualitative.
                                              Floyd remedial order,  with NYPD policies and with        1. Stops made by NYPD MOS comply with NYPD's new                     Compliance or non-compliance with other tasks/requirements, such as
Compliance    Compliance
                                              p.17                   state and federal standards        policies and with federal and state standards regarding racial       Task 1c (documentation of stops) and Task 35 (racial profiling
                                                                     regarding racial profiling         profiling.                                              2. Data on   investigations), will inform the Monitor's assessment.
                                                                                                        stops, frisks and searches made by NYPD MOS do not show              Analyses will be conducted to assess whether there are racial disparities
                                                                                                        racial disparities that are not explained by legally justified       that are statistically significant and practically significant, and whether
                                                                                                        reasons, and that are practically significant in magnitude and       racial disparities are declining over time. Monitor team analyses may
                                                                                                        statistically significant, based on analyses conducted by            include: (1) An analysis of outcomes from stops (frisks, searches,
                                                                                                        Monitor experts.                               3. Communications     summonses and arrests, force) for Blacks and Hispanics compared to
                                                                                                        from NYPD leadership (executives, CO's and others) and               similarly-situated non-Hispanics; (2) An analysis of the recovery rate of
                                                                                                        officers' stop report narratives do not indicate a targeting of      contraband and weapons for stops of Blacks and Hispanics compared to
                                                                                                        defined racial or ethnic groups for stops because of their           similarly-situated non-Hispanics; (3) An analysis of whether there are
                                                                                                        prevalence in local crime suspect data.                              racial disparities in the stop reports that the Monitor team found deficient
                                                                                                                                                                             in articulating reasonable suspicion for stops, frisks or searches,
                                                                                                                                                                             including an assessment of how MOS are using the term "fits
                                                                                                                                                                             description." The Monitor team will also conduct an analysis that will
                                                                                                                                                                             examine racial disparity by place, over time.
                                                                                                                                                                             The Monitor team will also conduct analyses for assessing compliance
                                                                                                                                                                             with the Davis case. The Monitor team has conducted the following
                                                                                                                                                                             types of analyses:                                                  A.
                                                                                                                                                                             Descriptive results and multivariate analyses for 2013-2019, for NYCHA:
                                                                                                                                                                             (1) Comparison of trespass stops, arrests, and summonses over time in
                                                                                                                                                                             and around NYCHA developments; (2) Examination of whether
                                                                                                                                                                             outcomes vary by whether an officer is assigned to the Housing Bureau
                                                                                                                                                                             or other NYPD units. B. Spatial analysis of overall enforcement
                                                                                                                                                                             activity and disparities by race/ethnicity for Davis case: (3) Assess
                                                                                                                                                                             enforcement activity (stops, arrests, summonses) at various distances
                                                                                                                                                                             from NYCHA (inside, immediate surrounding, and further away) and
                                                                                                                                                                             whether the enforcement activities vary by race; (4) Assessment of
                                                                                                                                                                             relative racial disparity in enforcement activity (stops, arrests,
                                                                                                                                                                             summonses) in NYCHA properties compared to disparities in areas with
                                                                                                                                                                             otherwise similar crime rates; (5) Assess whether NYCHA developments
                                                                                                                                                                             with comparable levels of crime but different racial distributions of
In           In          Creation of Written Task #3        Source: Stop Report must include a        Compliance with this provision will be achieved when:
                           policies,           Floyd remedial order,  narrative section to explain      1. NYPD revises its stop report form to include a narrative
Compliance    Compliance
                           procedures and      p.19                   basis for the stop and a          section for the officer to explain the reason for the stop.    2.
                           Training Materials                         narrative section to explain      NYPD revises its stop report form to include a narrative section
                                                                      basis for frisk or search, if     for the officer to explain the reason for the frisk or search.
                                                                      applicable, and the stop report   3. NYPD prepares a stop report form which contains simplified
                                                                      checkboxes must be simplified     and improved checkboxes
                                                                      and improved.
In           In          Creation of Written Task #4        Source: NYPD must transmit FINEST         Compliance with this provision will be achieved when NYPD     Prepare and distribute a FINEST message to all NYPD personnel
                           policies,           Floyd remedial order,  message explaining Floyd and      prepares and distributes a FINEST message detailing the Floyd summarizing the constitutional standards for conducting stops and frisks
Compliance    Compliance
                           procedures and      p.25                   related reforms to entire         litigation disposition and constitutional standards NYPD      and prohibiting racial profiling
                           Training Materials                         Department                        personnel have to comply when conducting stops
                                                                                                                                                                                                                                                      Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 111 of 169
In           No          Creation of Written   Task #5a        Source:  NYPD shall develop and adopt      Compliance with this provision will be achieved when:                Revise policies for stops to comport with federal and state constitutional
                           policies,             Floyd remedial order     the standards set forth in        1. NYPD revises its policy to specify when it is legally             standards.
Compliance    Assessment
                           procedures and        (Ligon remedies          subparagraph E(1)(a) though       permissible to stop a person outside a TAP building on
                           Training Materials    section), p.33-34; Ligon (m) of the Ligon stipulation of   suspicion of trespass;                                   2.
                                                 stipulation of           settlement regarding              NYPD develops and adopts specified standards regarding
                                                 settlement, p.11         enforcement activities in and     enforcement activities in and around TAP buildings
                                                                          around TAP buildings
Notyetin   No          Implementation        Task #5b        Source: NYPD shall implement policies    Compliance with this provision will be achieved when:                  Percentage of compliant stops must increase over time. Compliance on
                                                 Floyd remedial order     and procedures, training,       1. Stops made by NYPD MOS at TAP locations comply with                 this task is dependent on demonstration of compliance with
Compliance    Assessment
                                                 (Ligon remedies          supervision and monitoring      NYPD's new policies and with federal and state standards.              documentation (Task 1c). Compliance must be consistent over time and
                                                 section), p.33-34; Ligon programs sufficient to          2. Stop reports that do not articulate reasonable suspicion for        across commands.
                                                 stipulation of           consistently follow, apply and  the stop or the frisk, or do not articulate the basis for the search
                                                 settlement, p.11         use the standards regarding     are identified as deficient by supervisors and the officer is
                                                                          enforcement in and around       corrected.                                           3. Stop
                                                                          TAP buildings specified in      reports that do not articulate reasonable suspicion are
                                                                          Paragraph E(1)(a) through (m)   identified by QAD, and corrective action is taken with respect to
                                                                          of the Ligon stipulation of     the relevant MOS (officers and supervisors).
                                                                          settlement.                     4. NYPD MOS follow the agreed-upon standards for
                                                                                                          investigative encounters and trespass enforcement activities in
                                                                                                          and around TAP buildings.
In           No          Creation of Written   Task #6a         Source: Amend Interim Order 22 with     Compliance will be achieved when revisions are made to                 Revise and publish PG 212-59
                           policies,             Floyd remedial order     specified language regarding    NYPD policy (P.G. 212-59) on interior patrols in buildings
Compliance    Assessment
                           procedures and        (Ligon remedies          mere presence near, entry into enrolled in the Trespass Affidavit Program buildings specifying
                           Training Materials    section), p.34           or exit out of TAP building     that mere presence outside of or entry into or exit from a TAP
                                                                                                          building does not constitute an objective credible reason to
                                                                                                          approach an individual under a DeBour analysis.
Notyetin   No          Implementation        Task #6b         Source: NYPD MOS must have OCR to Compliance will be achieved when NYPD MOS have OCR for
                                                 Floyd remedial order     approach person at TAP          Level 1 encounters at TAP locations.
Compliance    Assessment
                                                 (Ligon remedies          locations
                                                 section), p.34
In           No          Creation of Written   Task #7          Source: Draft FINEST message            Compliance with this provision will be achieved when NYPD              Draft and promulgate FINEST message explaining revisions to IO 22
                           policies,             Floyd remedial order     explaining revisions to Interim drafts and promulgates FINEST message explaining revisions
Compliance    Assessment
                           procedures and        (Ligon remedies          Order 22                        to IO 22
                           Training Materials    section), p.34
In           No          Creation of Written   Task #8a         Source: Develop procedures to ensure Compliance with this provision will be achieved when the                  NYPD needs to revise its procedures to make clear that Stop Reports
                           policies,             Floyd remedial order     Stop Reports are completed for NYPD has developed procedures to ensure that Stop Reports               are required for all stops including stops for trespass outside of TAP
Compliance    Assessment
                           procedures and        (Ligon remedies          every trespass stop at TAP      are prepared for all stops in and around TAP buildings                 buildings
                           Training Materials    section), p.35; Ligon    locations
                                                 stipulation of
                                                 settlement, p.7
                                                                                                                                                                                                                                                          Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 112 of 169
Notyetin   No          Implementation     Task #8b         Source:   All stops at TAP locations must Compliance with this provision will be achieved when MOS        QAD Audits, RISK Reviews. Monitor team will review a combination of
                                              Floyd remedial order       be documented by a Stop         complete a Stop Report for all stops conducted in or around     RAND audit compliance rates, PIE audit compliance rates and CCRB
Compliance    Assessment
                                              (Ligon remedies            Report                          TAP buildings.                                                  OMN rates for failure to complete stop reports. Compliance must be
                                              section), p.35; Ligon                                                                                                      consistent over time and across commands.
                                              stipulation of
                                              settlement, p.7
In           No          Implementation     Task #9          Source: Distribute revised TAP policies Compliance with this provision will be achieved when the             Distribution of P.G. 212-59
                                              Floyd remedial order     and procedures to each NYPD revised version of P.G. 212-59 has been distributed to all MOS.
Compliance    Assessment
                                              (Ligon remedies          member and redistribute two
                                              section), p.36           additional times at six-month
                                                                       intervals
In           In          Creation of Written Task #10a       Source: Revise Patrol Guide 212-60      Compliance with this provision will be achieved when the             Revise PG 212-60 to promote constitutional interactions.
                           policies,           Davis stipulation of                                    Department revises its policy on interior patrols in NYCHA
Compliance    Compliance
                           procedures and      settlement, p.9                                         buildings to promote constitutional interactions.
                           Training Materials
Partial      Partial     Implementation      Task #10b       Source: NYPD interior patrols, stops    Compliance with this provision will be achieved when:                Percentage of compliant stops must increase over time. Compliance on
                                               Davis stipulation of    and frisks at NYCHA properties 1. Stops made by NYPD MOS at NYCHA properties comply                  this task is dependent on demonstration of compliance with
Compliance    Compliance
                                               settlement, p.9         comply with NYPD policies and with NYPD's new policies and with federal and state standards. documentation (Task 1c#)
                                                                       with state and federal          2. Stop reports that do not articulate reasonable suspicion for
                                                                       standards                       the stop or the frisk, or do not articulate the basis for the search
                                                                                                       are identified as deficient by supervisors and the officer is
                                                                                                       corrected.                                           3. Stop
                                                                                                       reports that do not articulate reasonable suspicion are
                                                                                                       identified by QAD, and corrective action is taken with respect to
                                                                                                       the relevant MOS (officers and supervisors).

Partial      No          Implementation      Task #10c       Source: NYPD trespass arrests at          Compliance with this provision will be achieved when:           Percentage of compliant arrest must increase over time. Compliance
                                               Davis stipulation of    NYCHA properties comply with      1. Trespass arrests made at NYCHA properties comply with        must be consistent over time and across commands.
Compliance    Assessment
                                               settlement, p.9         NYPD policies and with state      the NYPD's policies and with federal and state standards
                                                                       and federal standards
In           In          Creation of Written Task #11a               Revise Trespass Crimes Fact       Compliance with this provision will be achieved when the        Revise Trespass Crimes Fact Sheet
                           policies,           Source: Davis           Sheet                             Department revises the Trespass Crimes Fact Sheet
Compliance    Compliance
                           procedures and      stipulation of
                           Training Materials settlement, p.10, Ligon
                                               stipulation of
                                               settlement, p.12
Partial      No          Implementation      Task #11b       Source: MOS use Trespass Crime Fact       Compliance with this provision will be achieved when:           Compliance must be consistent across commands and over time.
                                               Davis stipulation of    Sheet for Housing trespass        1. NYPD MOS complete a Trespass Crime Fact Sheet form
Compliance    Assessment
                                               settlement, p.10, Ligon arrests                           (PD 351-144) prior to arraignment, any time they effect an
                                               stipulation of                                            arrest for trespass in or around a NYCHA residence.        2.
                                               settlement, p.12                                          The TCFS articulates a proper basis for the approach and
                                                                                                         probable cause for the trespass arrest.
                                                                                                                                                                                                                                              Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 113 of 169
In           No           Creation of Written Task #12a       Source:   NYPD officers are required to      Compliance with this provision will be achieved when officers         Require officers to complete a Trespass Crimes Fact Sheet for all
                            policies,           Ligon stipulation of      complete a Trespass Crimes         are required to complete a Trespass Crimes Fact Sheet for all         trespass arrests made in or around TAP buildings prior to arraignment
Compliance    Assessment
                            procedures and      settlement, p.10          Fact Sheet for every trespass      trespass arrests made in or around TAP buildings prior to
                            Training Materials                            arrest made in or around a TAP     arraignment.
                                                                          building
Notyetin   No           Implementation        Task #12b       Source: NYPD officers complete a           Compliance with this provision will be achieved when:      1.         Compliance must be consistent across commands and over time.
                                                  Ligon stipulation of    Trespass Crimes Fact Sheet for     Officers complete a Trespass Crimes Fact Sheet for all
Compliance    Assessment
                                                  settlement, p.10        every trespass arrest made in      trespass arrests made in or around TAP buildings prior to
                                                                          or around a TAP building           arraignment;                                              2.
                                                                                                             The TCFS articulates a proper basis for the approach and
                                                                                                             probable cause for the trespass arrest.
In           No           Creation of Written   Task #13a       Source: Revise and promulgate              Compliance with this provision will be achieved when the              Promulgate the revised AG 303-27.
                            policies,             Ligon stipulation of    Administrative Guide 303-27        NYPD promulgates the revised AG 303-27.
Compliance    Assessment
                            procedures and        settlement, p.13-14
                            Training Materials
Notyetin   No           Implementation        Task 13b        Source: Implement Administrative           Compliance with this provision will be achieved when the
                                                  Ligon stipulation of    Guide 303-27                       NYPD implements the revised AG 303-27:
Compliance    Assessment
                                                  settlement, p.10                                           1. CPOs obtain appropriate Trespass Crimes Owner's Affidavit
                                                                                                             and complete TAP enrollment form for buildings entering the
                                                                                                             program.                                         2. CPOs review
                                                                                                             and evaluate whether to renew a building's participation in the
                                                                                                             program before the expiration of six months.
                                                                                                             3. COs review and evaluate whether to renew a building's
                                                                                                             participation in the program before the expiration of one year.
                                                                                                             4. Borough Commanders are notified if there is a need for a
                                                                                                             building to remain in TAP beyond one year, and will
                                                                                                             recommend approval to the Officer of the Chief of Patrol if the
                                                                                                             they determine that the building should remain in the program.
                                                                                                             The Office of the Chief of Patrol will issue the final approval for
                                                                                                             renewal.

Notyetin   Notyetin   Implementation        Task #14       Source: NYPD Business Card given to         Compliance will be achieved when NYPD MOS offer a                     Monitor team will review BWC videos and Stop Reports to assess
                                                  Floyd remedial order,  person stopped but not              business card to persons stopped but not arrested or                  whether persons stopped but not arrested or summonsed are offered a
Compliance    Compliance
                                                  p.21                   arrested or summonsed,              summonsed                                                             business card.
                                                                         replacing the tear-off receipt

                            Supervisory Review Requirements
In           In           Creation of Written Task #15a      Source: Sergeants and must address            Compliance with this provision will be achieved when:                 Add Supervisor checkboxes "Sufficient Basis to Stop," "Sufficient Basis
                            policies,           Floyd remedial order,  constitutionality of stops of their   1. NYPD policies and procedures require supervisors to review         for Frisk" and Sufficient Basis for Search" on the Stop Report, which
Compliance    Compliance
                            procedures and      p.24                   subordinates                          stops for constitutionality in a comprehensive manner;                requires supervisor to determine whether officer had reasonable
                            Training Materials                                                               2. NYPD requires supervisors to complete Supervisory Review           suspicion to stop and, if applicable, frisk or search the individual;
                                                                                                             section of Stop Report;
                                                                                                                                                                                                                                                           Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 114 of 169
Notyetin   Notyetin   Implementation     Task #15b      Source: Sergeants review and assess          Compliance with this provision will be achieved when:              Monitor team will examine a sample of stop reports audited by QAD; as
                                               Floyd remedial order,  the constitutionality of stops of    1. Supervisors review stops for constitutionality in a             well as ICO self-inspections and QAD's audit of supervisory review.
Compliance    Compliance
                                               p.24                   their subordinates                   comprehensive manner and take appropriate corrective action        Monitor team will also assess NYPD's efforts through RISKS Reviews
                                                                                                           when they identify improper stops, frisks or searches.             and follow-up training conducted for supervisors who do not identify
                                                                                                           2. Supervisors who observe or learn of MOS who make a stop         deficient stop reports.
                                                                                                           but do not document the stop with a stop report take
                                                                                                           appropriate corrective action.
In           In           Creation of Written Task #16a      Source: ICOs must address                   Compliance with this provision will be achieved when:              ICO SQF self-inspection protocols revised
                            policies,           Floyd remedial order,  constitutionality of stops of their 1. NYPD prepares ICOs self-inspection procedures and forms
Compliance    Compliance
                            procedures and      p.24                   subordinates                        for review of Stop Reports for constitutionality
                            Training Materials
Partial      Partial      Implementation      Task #16b      Source: ICOs conduct Self-Inspections Compliance with this provision will be achieved when:                    Monitor team will assess a sample of ICO Self-Inspections as well as
                                                Floyd remedial order,  to assess the constitutionality of 1. ICOs complete SQF self-inspections and review Stop               reviewing the QAD audit findings of ICO self-inspections. ICO efforts to
Compliance    Compliance
                                                p.24                   stops                               Reports for constitutionality;                                     review BWC footage will also be considered.

                            Training Requirements
In           In           Creation of Written Task #17a      Source:   Revise training regarding stop   Compliance with this provision will be achieved when                Revise training materials for stops to comport with federal and state
                            policies,           Floyd remedial order,    and frisk to adhere to new       1. NYPD develops new In-Service training regarding stops            standards.
Compliance    Compliance
                            procedures and      p.14                     NYPD policies, constitutional    which comply with federal and state standards and which are
                            Training Materials                           standards and New York state     approved by the Monitor and the Court;
                                                                         law                              2. NYPD develops new In-Service training for supervisors
                                                                                                          regarding their responsibilities for reviewing officer stops and
                                                                                                          documentation of stops.
In           In           Creation of Written Task #17b      Source:Revise recruit training             Compliance with this provision will be achieved when                Revise training materials for stops to comport with federal and state
                            policies,           Floyd remedial order, regarding stop and frisk to         1. NYPD develops new Recruit training regarding stops which         standards.
Compliance    Compliance
                            procedures and      p.14                  adhere to new NYPD policies,        comply with federal and state standards and which are
                            Training Materials                        constitutional standards and        approved by the Monitor and the Court.
                                                                      New York state law
In           In           Implementation     Task #17c      Source: NYPD has trained its members        Compliance with this provision will be achieved when:               Patrol officers, detectives and supervisors in the Patrol Services Bureau,
                                               Floyd remedial order,  regarding stops to comply with      1. NYPD training instructors provide training consistent with the   Housing Bureau and Transit Bureau must be trained regarding
Compliance    Compliance
                                               p.14                   NYPD policies and with state        court approved training materials.                       2.         investigative encounters to demonstrate substantial compliance Other
                                                                      and federal standards               NYPD patrol officers and detectives are trained on investigative    MOS with enforcement responsibilities, such as those in Narcotics and
                                                                                                          encounters.                                     3. NYPD             Gang Units and the Strategic Response Group also must be trained.
                                                                                                          supervisors are trained on investigative encounters and their       The training must be effective and consistent, both in terms of consistent
                                                                                                          responsibility for reviewing officer stops and documentation of     with the curricula and consistently provided over time, based on Monitor
                                                                                                          stops;                                                              Team observation. Qualitative assessment of SQF training will also take
                                                                                                                                                                              into account outcome measures, such as the level of compliance of
                                                                                                                                                                              MOS as reflected in their stop reports and an assessment of unreported
                                                                                                                                                                              stops. Sustained compliance will be assessed in conjunction with
                                                                                                                                                                              refresher training in Task 31b.
                                                                                                                                                                                                                                                      Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 115 of 169
In          In          Implementation     Task #17d      Source: NYPD has trained its recruits     Compliance with this provision will be achieved when:               Patrol officers, detectives and supervisors in the Patrol Services Bureau,
                                             Floyd remedial order,  regarding stops to comply with    1. NYPD training instructors provide training consistent with the   Housing Bureau and Transit Bureau must be trained regarding
Compliance   Compliance
                                             p.14                   NYPD policies and with state      court approved training materials.                      2.          investigative encounters to demonstrate substantial compliance Other
                                                                    and federal standards             NYPD recruit officers are trained on investigative encounters.      MOS with enforcement responsibilities, such as those in Narcotics and
                                                                                                                                                                          Gang Units and the Strategic Response Group also must be trained.
                                                                                                                                                                          The training must be effective and consistent, both in terms of consistent
                                                                                                                                                                          with the curricula and consistently provided over time, based on Monitor
                                                                                                                                                                          Team observation. Qualitative assessment of SQF training will also take
                                                                                                                                                                          into account outcome measures, such as the level of compliance of
                                                                                                                                                                          MOS as reflected in their stop reports and an assessment of unreported
                                                                                                                                                                          stops. Sustained compliance will be assessed in conjunction with
                                                                                                                                                                          refresher training in Task 31b.



In          In          Creation of Written Task #18a      Source: Revise in-service training       Compliance with this provision will be achieved when NYPD           Revise training to ensure race is not used improperly when officers
                          policies,           Floyd remedial order,  regarding racial profiling to    develops new in-service training regarding racial profiling         conduct stops
Compliance   Compliance
                          procedures and      p.17                   make clear targeting “right
                          Training Materials                         people” for stops is racial
                                                                     profiling and violates
                                                                     Constitution
In          In          Creation of Written Task #18b      Source: Revise recruit training          Compliance with this provision will be achieved when NYPD           Revise training to ensure race is not used improperly when officers
                          policies,           Floyd remedial order,  regarding racial profiling to    develops new recruit training regarding racial profiling            conduct stops
Compliance   Compliance
                          procedures and      p.17                   make clear targeting “right
                          Training Materials                         people” for stops is racial
                                                                     profiling and violates
                                                                     Constitution
In          In          Implementation      Task #18c      Source: NYPD has trained its members     Compliance with this provision will be achieved when:               Patrol officers, detectives and supervisors in the Patrol Services Bureau,
                                              Floyd remedial order,  regarding stops to comply with   1. NYPD training instructors provide training consistent with the   Housing Bureau and Transit Bureau must be trained regarding
Compliance   Compliance
                                              p.17                   NYPD policies and with state     court approved training materials.                      2.          investigative encounters to demonstrate substantial compliance Other
                                                                     and federal standards            NYPD patrol officers, detectives and supervisors are trained        MOS with enforcement responsibilities, such as those in Narcotics and
                                                                     regarding racial profiling       regarding racial profiling.                                         Gang Units and the Strategic Response Group also must be trained.
                                                                                                                                                                          The training must be effective and consistent, both in terms of consistent
                                                                                                                                                                          with the curricula and consistently provided over time, based on Monitor
                                                                                                                                                                          Team observation. Qualitative assessment of SQF training will also take
                                                                                                                                                                          into account outcome measures, such as the level of compliance with
                                                                                                                                                                          Task #2b. Sustained compliance will be assessed in conjunction with
                                                                                                                                                                          refresher training in Task 31b.
                                                                                                                                                                                                                                                 Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 116 of 169
In          In          Implementation     Task #18d      Source: NYPD has trained its recruts       Compliance with this provision will be achieved when:           Patrol officers, detectives and supervisors in the Patrol Services Bureau,
                                             Floyd remedial order,  regarding stops to comply with     1. NYPD training instructors provide training consistent with the
                                                                                                                                                                       Housing Bureau and Transit Bureau must be trained regarding
Compliance   Compliance
                                             p.17                   NYPD policies and with state       court approved training materials.                        2.    investigative encounters to demonstrate substantial compliance Other
                                                                    and federal standards              NYPD recruit officers are trained regarding racial profiling.   MOS with enforcement responsibilities, such as those in Narcotics and
                                                                    regarding racial profiling                                                                         Gang Units and the Strategic Response Group also must be trained.
                                                                                                                                                                       The training must be effective and consistent, both in terms of consistent
                                                                                                                                                                       with the curricula and consistently provided over time, based on Monitor
                                                                                                                                                                       Team observation. Qualitative assessment of SQF training will also take
                                                                                                                                                                       into account outcome measures, such as the level of compliance with
                                                                                                                                                                       Task #2b. Sustained compliance will be assessed in conjunction with
                                                                                                                                                                       refresher training in Task 31b.
In          In          Creation of Written Task #19a      Source:   NYPD has developed in-service Compliance with this provision will be achieved when NYPD         Revise training for stops and frisk to comport with federal and state
                          policies,           Floyd remedial order,    training in use of new Stop   develops new training guidelines for officers to explain reasons standards
Compliance   Compliance
                          procedures and      p.21                     Report                        for stopping and frisking the individual, especially why the
                          Training Materials                                                         officer had reasonable suspicion that individual was committing
                                                                                                     or about commit criminal activity and was armed and
                                                                                                     dangerous.
In          In          Creation of Written Task #19b      Source:   NYPD has developed recruit    Compliance with this provision will be achieved when NYPD         Revise training for stops and frisk to comport with federal and state
                          policies,           Floyd remedial order,    training in use of new Stop   develops new training guidelines for recruits to explain reasons standards
Compliance   Compliance
                          procedures and      p.21                     Report                        for stopping and frisking the individual, especially why the
                          Training Materials                                                         officer had reasonable suspicion that individual was committing
                                                                                                     or about commit criminal activity and was armed and
                                                                                                     dangerous.
In          In          Implementation     Task #19c      Source:    NYPD has trained its members Compliance with this provision will be achieved when:              Patrol officers, detectives and supervisors in the Patrol Services Bureau,
                                             Floyd remedial order,     regarding the use of the new  1. NYPD training instructors provide training consistent with the Housing Bureau and Transit Bureau must be trained regarding
Compliance   Compliance
                                             p.21                      Stop Report                   court approved training materials.                         2.     investigative encounters to demonstrate substantial compliance Other
                                                                                                     NYPD patrol officers, detectives and supervisors are trained      MOS with enforcement responsibilities, such as those in Narcotics and
                                                                                                     regarding the use of the new Stop Report.                         Gang Units and the Strategic Response Group also must be trained.
                                                                                                                                                                       The training must be effective and consistent, both in terms of consistent
                                                                                                                                                                       with the curricula and consistently provided over time, based on Monitor
                                                                                                                                                                       Team observation.
In          In          Implementation     Task #19d      Source:    NYPD has trained its recruit  Compliance with this provision will be achieved when:             Patrol officers, detectives and supervisors in the Patrol Services Bureau,
                                             Floyd remedial order,     members regarding the use of 1. NYPD training instructors provide training consistent with the Housing Bureau and Transit Bureau must be trained regarding
Compliance   Compliance
                                             p.21                      the new Stop Report           court approved training materials.                         2.     investigative encounters to demonstrate substantial compliance Other
                                                                                                     NYPD recruit officers are trained regarding the use of the new MOS with enforcement responsibilities, such as those in Narcotics and
                                                                                                     Stop Report.                                                      Gang Units and the Strategic Response Group also must be trained.
                                                                                                                                                                       The training must be effective and consistent, both in terms of consistent
                                                                                                                                                                       with the curricula and consistently provided over time, based on Monitor
                                                                                                                                                                       Team observation.
In          In          Creation of Written Task#20a        NYPDhasdevelopedtraining Compliance with this provision will be achieved when:
                          policies                                                                   1. NYPD has developed training, approved by the monitor and
Compliance   Compliance                       Source:Floyd           onsupervisory
                          procedures, and                                                            the Court, for newly promoted NYPD supervisors on
                          Training Materials remedialorder,p.24      responsibilitiesfornewly   investigative encounters and their responsibility for reviewing
                                                                       promotedsupervisors          officer stops and documentation of stops.
                                                                                                                                                                                                                                              Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 117 of 169
In          In          Implementation        Task #20b      Source: NYPD has trained its newly      Compliance with this provision will be achieved when:               The training must be effective and consistent, both in terms of consistent
                                                Floyd remedial order,  promoted supervisors on         1. NYPD training instructors provide training consistent with the   with the curricula and consistently provided over time, based on Monitor
Compliance   Compliance
                                                p.24                   supervisory responsibilities forcourt approved training materials.                    2. Newly      Team observation.
                                                                       newly promoted supervisors      promoted NYPD supervisors are trained on investigative
                                                                                                       encounters and their responsibility for reviewing officer stops
                                                                                                       and documentation of stops.
In          No          Creation of Written Task #21a        Source: NYPD must develop stop and Compliance with this provision will be achieved when the SQF             SQF in-service training needs to include instruction specifically aimed at
                          policies,           Floyd remedial order     frisk training at Rodman’s Neck in-service training materials at Rodman's Neck incorporates         preventing unconstitutional stops outside TAP buildings.
Compliance   Assessment
                          procedures and      (Ligon remedies          that incorporates instruction   instruction specifically aimed at the preventing unconstitutional
                          Training Materials section), p.36; Ligon     specifically targeting the      stops outside TAP buildings.
                                              stipulation of           problem of unconstitutional
                                              settlement, p.16         stops outside TAP buildings
In          No          Implementation      Task #21b        Source: NYPD has trained its members Compliance with this provision will be achieved when:                  Patrol officers, detectives and supervisors in the Patrol Services Bureau,
                                              Floyd remedial order     regarding stops at TAP          1. NYPD training instructors provide training consistent with the   Housing Bureau and Transit Bureau must be trained regarding
Compliance   Assessment
                                              (Ligon remedies          locations to comply with NYPD court approved training materials.                          2.        investigative encounters to demonstrate substantial compliance Other
                                              section), p.36; Ligon    policies and with state and     NYPD patrol officers, detectives and supervisors are trained on     MOS with enforcement responsibilities, such as those in Narcotics and
                                              stipulation of           federal standards               stops at TAP locations.                                             Gang Units and the Strategic Response Group also must be trained.
                                              settlement, p.16                                                                                                             The training must be effective and consistent, both in terms of consistent
                                                                                                                                                                           with the curricula and consistently provided over time, based on Monitor
                                                                                                                                                                           Team observation.




In          No          Creation of Written   Task #22a      Source:    NYPD must develop training   Compliance with this provision will be achieved when the            Recruit training needs to include instruction specifically on when an
                          policies,             Floyd remedial order      regarding stops outside TAP  recruit training includes the constitutional standard for when an   officer may and may not stop someone outside of a TAP building
Compliance   Assessment
                          procedures and        (Ligon remedies           buildings for new recruits   officer may and may not stop someone outside of a TAP
                          Training Materials    section), p.36                                         building
Partial     No          Implementation        Task #22b       Source:
                                                                     NYPD has trained its recruits     Compliance with this provision will be achieved when:               Interior Patrol training course must be part of Recruit Curriculum taken
                                                Floyd remedial order regarding stops at TAP            1. NYPD training instructors provide training consistent with the   by each recruit class. The training must be effective and consistent,
Compliance   Assessment
                                                (Ligon remedies      locations to comply with NYPD court approved training materials.                            2.        both in terms of consistent with the curricula and consistently provided
                                                section), p.36       policies and with state and       NYPD recruits are trained on stops at TAP locations.                over time, based on Monitor Team observation.
                                                                     federal standards
In          In          Creation of Written Task #23a      Source: Field Training Guide and FTO Compliance with this provision will be achieved when the Field           The Field Training Guide and FTO training needs to include instruction
                          policies,           Floyd remedial order   training materials must be        Training Guide and FTO training materials have been revised         regarding the formal written policy governing trespass stops outside of
Compliance   Compliance
                          procedures and      (Ligon remedies        revised to reflect formal written to reflect the formal written policy governing trespass stops       TAP buildings.
                          Training Materials section), p.36          policy governing trespass stops outside of TAP buildings.
                                                                     outside TAP buildings
                                                                                                                                                                                                                                                      Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 118 of 169
In          In          Implementation      Task #23b       Source:    NYPD has trained its FTOs on      Compliance with this provision will be achieved when FTOs            SQF Training module must be part of each FTO training class. The
                                              Floyd remedial order       TAP policies and procedures       have been trained on TAP policies and procedures                     training must be effective and consistent, both in terms of consistent with
Compliance   Compliance
                                              (Ligon remedies                                                                                                                   the curricula and consistently provided over time, based on Monitor
                                              section), p.36                                                                                                                    Team observation.
In          In          Implementation      Task #24        Source:    SQF Training Video No. 5 must Compliance with this provision will be achieved when the                 Create SQF video stating that the information in the previous training
                                              Floyd remedial order       be revised to state information Department disseminates an SQF video stating that the                  video was incorrect and explaining why it was incorrect.
Compliance   Compliance
                                              (Ligon remedies            in earlier video was incorrect  information in the previous training video was incorrect and
                                              section), p.36                                             explain why it was incorrect.
In          In          Creation of Written Task #25a       Source:    Revise Interior Patrol recruit  Compliance with this provision will be achieved when the               Revise Interior Patrol recruit training to promote constitutional
                          policies,           Davis stipulation of       training                        Department revises its recruit training on interior patrols in         interactions in and around NYCHA buildings.
Compliance   Compliance
                          procedures and      settlement, p.9                                            NYCHA buildings to promote constitutional interactions.
                          Training Materials
Partial     In          Implementation      Task #25b       Source:    Train recruits at the Academy     Compliance with this provision will be achieved when the             Interior Patrol Training Course must be part of Recruit Curriculum taken
                          Compliance          Davis stipulation of       on Interior Patrol                Department trains its recruits in the Police Academy on interior     by each recruit class. The training must be effective and consistent,
Compliance   Compliance
                                              settlement, p.9                                              patrols in NYCHA buildings to promote constitutional                 both in terms of consistent with the curricula and consistently provided
                                                                                                           interactions.                                                        over time, based on Monitor Team observation.
In          In          Creation of Written Task #26a        Source:   Revise training regarding         Compliance with this provision will be achieved when the             Create Housing one-day training that includes instruction based on
                          policies,           Davis stipulation of       NYCHA rules, regulations, and Department:                                                              Exhibit E of the stipulation, specifically including instruction on NYCHA
Compliance   Compliance
                          procedures and      settlement, p.9            signage                           1. Develops roll call training for Housing officers on NYPD          rules, regulations, and signage
                          Training Materials                                                               policies on interior patrol;                                   2.
                                                                                                           Develops training for Housing officers that includes instruction
                                                                                                           on NYCHA rules, regulations, and signage utilizing material
                                                                                                           contained in Exhibit E (lesson plan) contained in the Davis
                                                                                                           stipulation.
In          In          Implementation     Task #26b       Source:     Implement training regarding      Compliance with this provision will be achieved when:                The training must be effective and consistent, both in terms of consistent
                                             Davis stipulation of        NYCHA rules, regulations, and 1. NYPD disseminates roll call training on NYPD interior patrol          with the curricula and consistently provided over time, based on Monitor
Compliance   Compliance
                                             settlement, p.9             signage                           policies to Housing officers;                                   2.   Team observation.
                                                                                                           NYPD training instructors provide training for Housing officers
                                                                                                           consistent with the court approved training materials.
                                                                                                           3. NYPD Housing officers and supervisors are trained on
                                                                                                           NYCHA rules, regulations, and signage utilizing material
                                                                                                           contained in Exhibit E (lesson plan) of the Davis stipulation.
Partial     No          Implementation     Task #27        Source:     Ensure every member of NYPD Compliance with this provision will be achieved when TAP                   Revise TAP enrollment form and instructions and meet with relevant
                                             Ligon stipulation of        who is involved in                administrators have been trained on the specified standards.         actors to go over how to implement the revisions.
Compliance   Assessment
                                             settlement, p.16            administration of TAP is trained
                                                                         on specified standards
In          In          Creation of Written Task #28a       Source:    Training on constitutional        Compliance with this provision will be achieved when:                Revise recruit and in-service trainings to correct identified errors and
                          policies,           Floyd remedial order       standard for a frisk - reasonable 1. Errors identified in the training materials (furtive behavior,"   clearly articulate the proper legal standards regarding stops and frisks.
Compliance   Compliance
                          procedures and      p.16                       suspicion that a stopped person "unusual firearms") have been corrected;
                          Training Materials                             is armed and dangerous to         2. The proper legal standards for a frisk or search are clearly
                                                                         correct overbroad definition of articulated in the SQF training;
                                                                         furtive behavior, the misleading
                                                                         training on unusual firearms
                                                                                                                                                                                                                                                        Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 119 of 169
In           In           Implementation        Task #28b      Source: Training on constitutional          Compliance with this provision will be achieved when:               Monitor team observation of Characteristics of Armed Suspects recruit
                                                  Floyd remedial order   standard for a frisk - reasonable   1. NYPD training instructors provide training consistent with the   training. The training must be effective and consistent, both in terms of
Compliance    Compliance
                                                  p.16                   suspicion that a stopped person     court approved training materials.                      2.          consistent with the curricula and consistently provided over time, based
                                                                         is armed and dangerous to           NYPD recruits are correctly trained on identifying                  on Monitor Team observation.
                                                                         correct overbroad definition of     characteristics of armed suspects.
                                                                         furtive behavior, the misleading
                                                                         training on unusual firearms

Partial      In           Creation of Written   Task #29a      Source: NYPD develops training for its      Compliance with this provision will be achieved when: 1. IAB
                            policies,             Floyd remedial order   investigators on racial profiling   develops an Internal Investigators Course on profiling and bias-
Compliance    Compliance
                            procedures and        p.24-25                complaint investigations            based policing.
                            Training Materials
Notyetin   Partial      Implementation        Task #29b      Source: NYPD must train investigatorsCompliance with this provision will be achieved when:                      Monitor team observation of Internal Investigators course, Module #4.
                                                  Floyd remedial order   on racial profiling complaint1. IAB intake personnel are trained on handling profiling                  The training must be effective and consistent, both in terms of consistent
Compliance    Compliance
                                                  p.16                   investigations               complaints;                                                  2.            with the curricula and consistently provided over time, based on Monitor
                                                                                                      Investigators in Investigations Units who will be undertaking              Team observation. Assessment of the training will be informed by the
                                                                                                      profiling investigations have been trained on investigating                Monitor's review of profiling investigations, Task 35(b).
                                                                                                      profiling complaints
In           In           Creation of Written Task #30a      Source: NYPD must develop training for Compliance with this provision will be achieved when:
                            policies,           Floyd remedial order   officers newly assigned to     1. NYPD has developed training, approved by the monitor and
Compliance    Compliance
                            procedures and      p.14                   plainclothes assignments       the Court, for officers newly assigned to plainclothes units on
                            Training Materials                                                        investigative encounters and the standards for stops and frisks.

Notyetin   Partial      Implementation        Task #30b      Source: Training is provided for officers Compliance with this provision will be achieved when:                 SQF Training module must be part of each Basic Plainclothes training
                                                  Floyd remedial order   newly assigned to plainclothes 1. NYPD training instructors provide training consistent with the        class. The training must be effective and consistent, both in terms of
Compliance    Compliance
                                                  p.14                   assignments                       court approved training materials.             2. NYPD MOS            consistent with the curricula and consistently provided over time, based
                                                                                                           assigned to plainclothes units are trained on investigative           on Monitor Team observation.
                                                                                                           encounters.
Partial      In           Creation of Written Task#31a          NYPDdevelopsSQF                Compliancewiththisprovisionwillbeachievedwhen: Createrefreshercourseforincumbent and probationaryofficers
                            policies,
Compliance    Compliance                        Source:Floyd             refreshertrainingfor           1.NYPDdevelopsSQFrefreshertrainingforincumbent
                            procedures and
                            Training Materials remedialorderp.14         incumbent and                     and probationaryofficers. 2.
                                                                           probationaryofficers,and        NYPD develops SQF refresher training for
                                                                           for supervisors                   supervisors.
Notyetin   Notyetin   Implementation        Task#31b        NYPDconductsSQF                Compliance with this provision will be achieved when:               Conduct SQF refresher for incumbent and probationary officers.
                                                                                                             1. NYPD provide training consistent with court approved
Compliance    Compliance                          Source:Floyd           refreshertrainingfor
                                                                                                             training materials.                                        2.
                                                  remedialorderp.14      incumbent and                     NYPD incumbent and probationary officers have taken a
                                                                           probationaryofficers             refresher course on investigative encounters.                 3.
                                                                                                             Supervisors have taken a refresher course on investigative
                                                                                                             encounters and supervisory responsibilities for review of stop
                                                                                                             reports and documentation.


                            Body-Worn Camera Requirements
                                                                                                                                                                                                                                                         Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 120 of 169
In          In          Implementation     Task #32a      Source: NYPD must institute one-year      Compliance with this provision will be achieved when:           Acquire BWC technology; Create BWC policy PG 212-123; equip MOS
                                             Floyd remedial order   BWC pilot project                 1. The Monitor reports on the results of his BWC Pilot with     in pilot commands with BWC for use on the third platoon; train affected
Compliance   Compliance
                                             p.27                                                     respect to the effectiveness of body-worn cameras in reducing   MOS in proper use of BWC's. Retaining BWC footage for use by
                                                                                                      unconstitutional Stop and Frisks.                               Monitor's team.
In          In          Implementation     Task #32b      Source:  NYPD must develop                Compliance with this provision will be achieved when:
                                             Floyd remedial order    procedures for supervisory       1. NYPD implements supervisory reviews of BWCs consistent
Compliance   Compliance
                                             p.27                    review of BWC videos             with the review protocols approved by the Monitor.
In          In          Implementation     Task #32c      Source:  NYPD must develop                Compliance with this provision will be achieved when:
                                             Floyd remedial order    procedures for sharing BWC       1. NYPD shares BWC videos with CCRB consistent with
Compliance   Compliance
                                             p.27                    videos with the CCRB for         procedures approved by the Monitor.
                                                                     complaint investigations
Partial     No          Implementation     Task #33        Source: NYPD must implement a BWC Compliance with this provision will be achieved when the
                                             October 2018 Court      pilot for Housing officers Monitor reports on the results of his PSA BWC Pilot with
Compliance   Assessment
                                             approval of stop report working in PSA             respect to the effectiveness of body-worn cameras in reducing
                                                                                                unconstitutional Stop and Frisks.


                          Complaints and Discipline Requirements
Partial     No          Creation of Written Task #34a      Source:DAO must improve procedures       Compliance with this provision will be achieved when NYPD    Establish Department Advocate's Office procedures relating to handling
                          policies,           Floyd remedial order, for imposing discipline by        improves its procedures regarding imposing discipline in     and prosecution of substantiated complaints received from the CCRB.
Compliance   Assessment
                          procedures and      p.24                  increasing deference to CCRB      response to CCRB findings of substantiated misconduct during
                          Training Materials                        credibility determinations,       stops.
                                                                    applying evidentiary standard
                                                                    that is neutral between claims
                                                                    of complainants and officers
                                                                    and not requiring corroborating
                                                                    physical evidence
Partial     No          Implementation     Task #34b      Source: DAO handling of substantiated     Compliance with this provision will be achieved when:            Monitor review of DAO handling of CCRB complaints, including case
                                             Floyd remedial order,  CCRB complaints must meet         1. The DAO's handling of substantiated CCRB complaints           files for Reconsideration Requests and Provision II retention cases.
Compliance   Assessment
                                             p.24                   improved procedures               reflects:                               (a) Increased deference
                                                                                                      to CCRB's factual findings;                        (b) A neutral
                                                                                                      evidentiary standard; and            (c) No general requirement
                                                                                                      of corroborating physical evidence.           2. NYPD tracks
                                                                                                      and analyzes CCRB complaints and discipline imposed.

Partial     In          Creation of Written Task #35a      Source: NYPD must begin tracking and Compliance with this provision will be achieved when:
                          policies,           Floyd remedial order,  investigating racial profiling 1. IAB establishes a procedural guide for processing and
Compliance   Compliance
                          procedures and      p.24-25                complaints                     investigating cases of profiling and bias-based policing
                          Training Materials
                                                                                                                                                                                                                                              Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 121 of 169
Notyetin   Partial     Implementation    Task #35b      Source: Racial Profiling complaints               Compliance with this provision will be achieved when:                                Any complaints that contain an allegation of profiling will be processed
                                             Floyd remedial order,  must be thoroughly and fairly             1. NYPD tracks and investigates profiling investigations;                            and inputted into the IAB case management system, appropriately
Compliance    Compliance
                                             p.24-25                investigated                              2. NYPD investigations are thorough and impartial and                                assigned to an investigator in IAB (for C cases) or in an Investigation
                                                                                                              consistent with the IAB guide.                                                       Unit, and the results of the investigation will be tracked by IAB.
                                                                                                              3. NYPD analyzes trends and patterns of profiling complaints.                        Investigators assigned to Investigations Units and IAB will receive
                                                                                                                                                                                                   training and guidance regarding investigation of allegations of racial
                                                                                                                                                                                                   profiling. Monitor review of profiling investigation files.


                           Auditing Requirements
In           In          Creation of Written Task#36a     NYPDestablishesauditing CompliancewillbeachievedwhentheNYPDestablishes
                           policies,
Compliance    Compliance                       Source:Floyd        proceduresthatidentifynonͲ anauditingplanthat:1.
                           procedures and
                           Training Materials remedialorder,p.23   compliantstops,frisks,     ProvidesasamplingmethodologyforauditingStop
                                                                     searches,trespassarrests   Reports;2.
                                                                     andamechanismfor          ProvidesauditproceduresforStopReports,assessing
                                                                     correctingthem               whether:(i)officerssufficientlyarticulatedreasonable
                                                                                                   suspicionasthebasisforthestop,(ii)officerssufficiently
                                                                                                   articulatedthelegalbasisforafriskand/orsearch,if
                                                                                                   applicable;(iii)supervisorsreviewedtheformandmade
                                                                                                   correctdeterminationsaboutthelegalityofthestop,
                                                                                                   friskandsearchandtookappropriatefollowͲupaction;
                                                                                                   3.IncludesareviewofBWCvideosaspartoftheSQF
                                                                                                   audits;4.
                                                                                                   IncludesareviewandauditofCommandSelfͲInspections;
                                                                                                   5.Includesauditproceduresfortrespassarrestsand
                                                                                                   associatedTCFSatNYCHAandTAPlocationsassessing
                                                                                                   whether:(i)officerssufficientlyarticulatealegalbasisfor
                                                                                                   theapproach;and(ii)officerssufficientlyarticulated
                                                                                                   probablecauseforthearrest;6.
                                                                                                   ProvidesproceduresforauditsofPoliceInitiated
                                                                                                   Enforcementarrests;7.
                                                                                                   ProvidesproceduresforRANDaudits.
                                                                                                                                                                                                                                                                              Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 122 of 169
In          In           Implementation        Task #36b       Source: NYPD implements auditing    Compliance will be achieved when:                         1.   Monitor team will review a representative sample of stop reports, along
                                                 Floyd remedial order,   procedures that identify non-
                                                                                                     The NYPD conducts auditing in accordance with a plan           with BWC footage, and will compare QAD audit results with Monitor
Compliance   Compliance
                                                 p.23                    compliant stops, frisks,    approved by the monitor and the Court;                         audit results.
                                                                         searches, trespass arrests and
                                                                                                     2. QAD audits identify non-compliant stops, frisks, searches
                                                                         a mechanism for correcting  and trespass arrests;                                     3.
                                                                         them                        Commands take appropriate action in response to QAD
                                                                                                     findings
No          Notyetin   Creation of Written Task #36c              NYPD establishes procedures Compliance will be achieved when:                            1.
                           policies,           Source: Floyd remedial for monitoring members' use of The NYPD establishes procedures for monitoring its members'
Assessment   Compliance
                           procedures and      order, p. 24           stop and frisk and trespass    use of stop and frisk and trespass enforcement in compliance
                           Training Materials                         enforcement in compliance with with the 14th Amendment, in accordance with a plan approved
                                                                      the Fourtheenth Amendment      by the monitor and the Court.
No          Notyetin   Implementation      Task #36d              NYPD implements procedures Compliance will be achieved when:                             1.
                                               Source: Floyd remedial for monitoring members'        The NYPD conducts efforts to monitor its members' use of stop
Assessment   Compliance
                                               order, p. 24           compliance with the Fourteenth and frisk and trespass enforcement in compliance with the 14th
                                                                      Amendment                      Amendment, in accordance with a plan approved by the
                                                                                                     monitor and the Court.


                           Early Intervention System
In          In           Creation of Written   Task #37a     Source: NYPD to design a program to        Compliance will be achieved when the Department submits a
                           policies,             Court Order Regarding receive, assess, and act on        plan, approved by the Court, to receive, assess, and act on
Compliance   Compliance
                           procedures and        Facilitator's         information regarding adverse      information regarding adverse findings regarding unlawful stops
                           Training Materials    Recommendation No. 1  findings regarding unlawful        and trespass enforcements
                                                                       stops and trespass
                                                                       enforcements
Partial     Partial      Implementation        Task #37b     Source: NYPD to implement a program        Compliance will be achieved when:           1. The NYPD          Monitor will review EIS system to ensure that appropriate data is
                                                 Court Order Regarding to receive, assess, and act on     implements a program to receive, assess, and act on              included in system and that Commanding Officers and RMB implement
Compliance   Compliance
                                                 Facilitator's         information regarding adverse      information regarding adverse findings regarding unlawful stops interventions when MOS reach threshold triggers.
                                                 Recommendation No. 1 findings regarding unlawful         and trespass enforcements, in accordance to a plan approved
                                                                       stops and trespass                 by the Court;                                      2. Data on
                                                                       enforcements                       declined prosecutions, adverse credibility findings, suppression
                                                                                                          decisions, lawsuits and denials of indemnification are included
                                                                                                          in the Department's early intervention system;
                                                                                                          3. Commanding Officers and RMB implement and document
                                                                                                          interventions for officers identified through data on at-risk
                                                                                                          behaviors in the categories identified by the court.


                           Performance Evaluation
                                                                                                                                                                                                                                           Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 123 of 169
In          In          Creation of Written   Task #38a      Source:   Performance Evaluation      Compliance will be achieved when:                            1.
                          policies,             Floyd remedial order,    System that does not pressure
                                                                                                     NYPD eliminates Operation Order 52 and any improper
Compliance   Compliance
                          procedures and        p.17; Floyd Order        MOS to make stops without   performance objectives from its performance evaluation
                          Training Materials    approving PERF,          regard to constitutionality system;                                                     2.
                                                11/6/2017                                            NYPD establishes a performance evaluation system that does
                                                                                                     not pressure MOS to make stops without regard to their
                                                                                                     constitutionality;
                                                                                                     3. NYPD establishes a performance evaluation system that
                                                                                                     does not undermine the goals of the remedial process.
No          Partial     Implementation        Task #38b      Source: Implementation of Performance Compliance with this provision will be achieved when the
                                                Floyd remedial order,  Evaluation System that does   NYPD’s performance-evaluation system, on paper and in
Assessment   Compliance
                                                p.17; Floyd Order      not pressure officers to make practice, does not:                                         1.
                                                approving PERF,        stops without regard to       Reinstitute pressures that result in a focus on the quantity of
                                                11/6/2017              constitutionality             stops without regard to their lawfulness; or
                                                                                                     2. Undermine the goals of the remedial process, including
                                                                                                     compliance with the Fourth and Fourteenth Amendments of the
                                                                                                     Constitution as required by the Remedies Opinion.


                          Joint Remedial Process/Alternative Plan/Monitor's Studies
In          In          Implementation        Task #39       Source: NYPD must participate in the        Compliance with this provision will be achieved when: 1. NYPD Participate in JRP meetings and respond to Facilitator's Final Report.
                                                Floyd remedial order,  Joint Remedial Process              participates in the Joint Remedial Process;                   2.
Compliance   Compliance
                                                p.30                                                       Facilitator submits his report and recommendations to the
                                                                                                           parties, the monitor and the Court.
N/A(New    In          Creation of Written   Task #40a                The NYPD must develop             Compliance will be achieved when the NYPD develops and
                          policies,             Source: Court Order      procedures for requiring officers publishes procedures for requiring officers to activate their
Task)        Compliance
                          procedures and        Regarding NYPD           to activate their BWC videos at BWC at Level 1 encounters.
                          Training Materials    Alternative Plan and     Level 1 at the inception of Level
                                                Monitor's Studies        1 encounters with civilians

N/A(New    Partial     Implementation Task #40b                       The NYPD must train its          Compliance will be achieved when 1. The NYPD completes
                                         Source: Court Order             officers regarding the revised   training of its members regarding the revised BWC policies; 2.
Task)        Compliance
                                         Regarding NYPD                  BWC policy and officers must     Members activate their cameras at Level 1 encounters and
                                         Alternative Plan and            implement the procedures.        correctly document Level 1 and Level 2 encounters in the BWC
                                         Monitor's Studies                                                metadata.
N/A(New    Partial     Implementation Task #40c                       NYPD must participate in the     Compliance will be achieved when 1. The NYPD participates in
                                         Source: Court Order             Monitor's Studies and provie     the studies and provides the Monitor Team the relevant data to
Task)        Compliance
                                         Regarding NYPD                  the Monitor Team with the        complete its analyses and report; 2. Monitor submits its report
                                         Alternative Plan and            relevant data.                   to the Court.
                                         Monitor's Studies
                                                                                                                                                                                                                                                  Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 124 of 169
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                         APPENDIX 2



NOTICE OF TAP DISSOLUTION TO BUILDING OWNERS

EXAMPLE OF TRESPASS AFFIDAVIT PROGRAM SIGN
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




                                                             January 24, 2022
123 Smith Street
John Doe
123 Smith Street
New York, NY 10007

       RE:     Dissolution of Trespass Affidavit Program
               123 Smith Street

Dear Landlord or Property Manager:

You are receiving this letter because our records indicate that your buildings were previously
enrolled in the NYPD’s Trespass Affidavit Program (“TAP”), formerly known as Operation Clean
Halls. On September 30, 2020, the New York City Police Department ended TAP. As a result,
NYPD officers will no longer conduct routine interior patrols of your buildings.

Going forward, NYPD’s Neighborhood Coordination Officers and Crime Prevention Officers are
the points of contact for you and your tenants to address any persistent quality of life offenses or
crime in your buildings. In addition, NYPD will continue to respond to calls for service in your
buildings. For any non-emergency calls for service or complaints, please dial “311.” As always,
in the event of an emergency dial “911” for assistance.

You must immediately remove any signage, concerning TAP or Operation Clean Halls near,
in, or on your buildings.. If you so choose, you may replace those signs with generic “No
Trespassing” signs.

NYPD remains committed to keeping your community and your buildings safe.

Thank you.




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                         APPENDIX 3



    ALTERNATIVE PLAN AND MONITOR STUDIES
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234567ÿ893 ÿ94ÿ7792ÿ37ÿ 792ÿ66ÿ37ÿ4 97ÿ597277ÿ7327ÿ7ÿ737ÿ
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23456ÿ738ÿ9 7386ÿ4ÿÿ7475ÿ635754ÿÿ54ÿ639ÿ43ÿ5ÿ ÿÿ
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23456ÿ784ÿ29 4ÿÿ88444ÿ4742ÿ29744ÿ92ÿ44ÿÿ9ÿ4ÿ54874ÿ924ÿ
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     Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 151 of 169




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ÿ!ÿ44ÿ44ÿ58874ÿ75ÿÿ5ÿ84,5ÿ65ÿ455748ÿ57ÿÿ49454ÿÿ
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2345637289ÿ294 72ÿ9ÿ58ÿÿ452237ÿ3 99ÿ5ÿ362ÿ224672ÿÿ72ÿ7358ÿ72 ÿ
2ÿÿ2582ÿ2973ÿ296829ÿ5ÿ294 753ÿ3ÿ453928ÿ5ÿ72ÿ7ÿ2ÿ72ÿ

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      Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 154 of 169




     23ÿ456ÿ7849ÿ5 6ÿ4ÿ86 64ÿ456ÿ89ÿ84986ÿ4ÿ684ÿ8ÿ585ÿ456ÿ89ÿ5ÿ4ÿ
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   586ÿ68ÿ448ÿ4ÿ68 86ÿ3386ÿ468?48ÿ3ÿ94ÿ;<=5ÿ66ÿ8ÿÿ5ÿ86ÿ64ÿ3ÿ
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3 ÿ456ÿ+,-ÿ84ÿ6 8ÿ 44ÿÿ866ÿ8ÿ456ÿ 6ÿ3ÿ646ÿ4ÿ8ÿ6ÿ456ÿ64ÿ3ÿ3386ÿ
  48ÿ 6ÿ4ÿÿ4ÿ868ÿ456ÿ46ÿ4ÿ585ÿ4569ÿ  64ÿ4ÿ
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2345637289ÿ 282582ÿ72ÿ976ÿÿ88ÿ2ÿ45332ÿ75ÿ5462373ÿ3ÿ33ÿ2345637289ÿ
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         *+',ÿ3ÿ72ÿ+7358ÿ72ÿÿ322ÿÿ92ÿ5ÿ7ÿ297ÿ./00ÿ54214723ÿ2345637289ÿ77ÿ
82ÿ2ÿ456ÿ'2(2ÿ.ÿ58ÿ5(2ÿ 2ÿ92ÿÿ2ÿ83ÿ3ÿ75ÿ(29ÿ7ÿ72ÿ897ÿ3463ÿ
85#72ÿ)/00ÿ2345637289ÿ3ÿ72ÿ92453ÿ85#72ÿ)000ÿ2345637289ÿ 2ÿ37ÿ92ÿÿ
47682ÿÿ835ÿ92ÿ5ÿ2345637289ÿ77ÿ57ÿ*+',ÿ3ÿ72ÿ+7358ÿ72ÿÿ672ÿ75ÿ3928ÿ
88ÿ829284ÿ76297539ÿ*3ÿ4537897ÿ72ÿ92453ÿ92ÿÿ2ÿ388528ÿ3ÿ5828ÿ75ÿ4772ÿ72ÿ692ÿ
5ÿ432ÿ2833ÿ72437629ÿ75ÿ237ÿ'2(2ÿ8ÿ2345637289ÿ 2ÿ929ÿÿ2ÿ83ÿ728ÿ72ÿ
 !"ÿ22379ÿ72ÿ75ÿ85592ÿ5429ÿ77ÿ2#3ÿ5ÿ583ÿ428ÿ824583ÿ3ÿ
47258753ÿ5ÿ2345637289ÿÿ9ÿ92872ÿ25ÿ567329ÿ72ÿ3ÿ27ÿ72ÿ:537ÿ93ÿ3ÿ58ÿ*+',ÿ
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         ;342ÿÿ92ÿ5ÿ2345637289ÿ9ÿ223ÿ922472ÿ*+',ÿÿ25ÿ8672ÿ976237ÿ829284ÿ
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2345637289ÿ3463ÿ5 428ÿ825879ÿ*&9"ÿ7ÿ3ÿ2895332ÿ358753ÿ<58ÿ24ÿ234563728ÿ*+',ÿ
ÿ322ÿ75ÿ573ÿ3ÿ822(37ÿ825879ÿ96772ÿÿ5 4289ÿ>964ÿ9ÿ88297ÿ825879ÿ692ÿ5ÿ5842ÿ
825879?ÿ%2ÿÿ95ÿ2#7847ÿ72ÿ822(37ÿ58753ÿ5ÿ72ÿ*&9"ÿ7ÿ58ÿ72ÿ234563728ÿ*58737ÿ*+',ÿ
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632ÿ$%&ÿ5572ÿ7ÿ825879ÿ3ÿ*&9"ÿ7ÿ3ÿ828753ÿ58ÿ2ÿ2#287ÿ82(2ÿ5ÿ72ÿ234563728ÿ
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     Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 156 of 169




         23ÿ345ÿ67869 78ÿ7ÿ345ÿ678ÿ7ÿ89ÿ5867835ÿ345ÿ959ÿ553ÿ99ÿ45ÿ345ÿ
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    5ÿ45ÿ99ÿ679535ÿ8ÿ758'585ÿ835ÿ5338ÿ734ÿ345ÿ89 ÿ78ÿ345ÿ835ÿ7ÿ345ÿ
,734ÿ258583ÿ79378ÿ343ÿ345ÿ755ÿ-./0ÿ99ÿ 95583ÿ345ÿ183335ÿ89 ÿ8ÿ3ÿ
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379ÿ-./0ÿ51 5ÿ86583'9559ÿ87378ÿ78ÿ/559ÿ3ÿ37ÿ56 699ÿ345ÿ56863ÿ85ÿ345ÿ
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75ÿ345ÿ35ÿ57ÿ8698ÿ56863ÿ35ÿ4 3ÿ378ÿ6667838ÿ7ÿ45345ÿ345ÿ4 3ÿ583ÿ837ÿ
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678ÿ6485ÿ796ÿ8ÿ345ÿ95834ÿ7ÿ345ÿ3ÿ679956378ÿ57ÿÿ855ÿ37ÿ8655ÿ5588ÿ
78ÿ345ÿ38ÿ7ÿ345ÿ799'73ÿÿ
         -./0ÿ99ÿÿ78ÿ3455ÿ 5583ÿ765ÿ7ÿ3ÿ37ÿ67863ÿ89 ÿ7ÿ564ÿ5564ÿ15378ÿ
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      OPQRÿTUVWXYZXVTV[\X]^ÿÿÿ_`YabRcdÿWTeÿÿÿfghRiÿVjkTjkjTÿÿÿlPmRÿjnÿ̀oÿ\V
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   #$%&$'%(ÿ*+,ÿ-'./ÿ                                                          0ÿ
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       8&595/%,ÿ:'&%2;'5+/ÿ                                                    <ÿ
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       8&%&%C6'/';%/ÿ                                                          Dÿ
       E*.9>'+4ÿ8&52%,6&%ÿ                                                     Dÿ
       E;6,?ÿ"F*FÿÿG%;&5/9%2;'$%ÿ-+*>?/'/ÿ5@ÿH5.9>*'+;/ÿ                       Iÿ
       E;6,?ÿ"FJFÿÿK'+46'/;'2ÿ1%=*$'5&ÿ'+ÿH5+/%+;ÿE%*&2=%/ÿ                    Iÿ
       E;6,?ÿ"F2FÿÿA/2*>*;'5+ÿ'+ÿK%$%>ÿ7ÿA+256+;%&/ÿ                           Lÿ
   8=*/%ÿ0ÿÿ-+*>?/'/ÿ5@ÿM6;6&%ÿ:*;*ÿ                                           Nÿ
       8&%&%C6'/';%/ÿ                                                          Nÿ
       E*.9>'+4ÿ8&52%,6&%ÿ                                                     Nÿ
       E;6,?ÿ0F*Fÿÿ-+*>?/'/ÿ5@ÿ#@@'2%&ÿH5.9>'*+2%ÿ                             Nÿ
       E;6,?ÿ0FJFÿÿ:%ÿ156&ÿA/2*>*;'5+ÿÿ                                       ""ÿ
   H5+2>6,'+4ÿG%.*&3/ÿ                                                        "0ÿ
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       Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 159 of 169




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      Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 163 of 169




23456ÿ899ÿÿ 33ÿ6ÿÿ3ÿ
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ÿ"#$%&'(ÿ)*+,ÿ-.-/-0,1ÿ23ÿ23345-6ÿ.+078+7-ÿ+09ÿ:-*+;426ÿ40ÿ<-;-.ÿ=ÿ-05280,-61ÿ+6-ÿ
/21,ÿ.4>-.?ÿ,2ÿ6-18.,ÿ40ÿ54,4@-0ÿ52/A.+40,1Bÿÿ
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Cÿ.+67-ÿ08/:-6ÿ23ÿ54,4@-0ÿ52/A.+40,1ÿ+7+401,ÿ,*-ÿA2.45-ÿ5205-60ÿD*-,*-6ÿ54,4@-01ÿ3--.ÿ,*+,ÿ
23345-61ÿ52//8045+,-ÿ+AA62A64+,-.?ÿ+09ÿA623-11420+..?ÿD4,*ÿ,*-/EÿF*41ÿ1,89?ÿD28.9ÿ1-->ÿ,2ÿ
49-0,43?ÿ-.-/-0,1ÿ23ÿA2.45-ÿ1,2A1ÿ,*+,ÿ+6-ÿ/21,ÿA6-945,4;-ÿ23ÿ54,4@-0ÿ52/A.+40,1Gÿ52/A+6-9ÿ,2ÿ
2,*-6D41-ÿ14/4.+6ÿ1,2A1ÿ,*+,ÿ949ÿ02,ÿ6-18.,ÿ40ÿ+ÿ54,4@-0ÿ52/A.+40,EÿHA-54345+..?GÿD-ÿD28.9ÿ32581ÿ
286ÿ+0+.?141ÿ20ÿ,*-ÿ18:1-,ÿ23ÿ54,4@-0ÿ52/A.+40,1ÿ+11254+,-9ÿD4,*ÿ<-;-.ÿ=ÿ1,2A1GÿD*-6-ÿ,*-ÿ
-05280,-6ÿ40ÿI8-1,420ÿD+1ÿ5+A,86-9ÿ20ÿ23345-6ÿ:29?D260ÿ5+/-6+Eÿ
ÿ
F2ÿ+996-11ÿ,*41ÿI8-1,420GÿD-ÿD4..ÿ,6+40ÿ+ÿ/+5*40-ÿ.-+60407ÿ/29-.ÿ,2ÿ.-+60ÿ*2Dÿ,2ÿ941,407841*ÿ
:-,D--0ÿ<-;-.ÿ=ÿ-05280,-61ÿ,*+,ÿ.-9ÿ,2ÿ52/A.+40,1ÿ+09ÿ,*21-ÿ,*+,ÿ949ÿ02,EÿC1ÿ40ÿ286ÿA6-;4281ÿ
D26>ÿ20ÿ23345-6ÿ6-1A-5,GÿD-ÿ5+0ÿ92ÿ,*41ÿ:2,*ÿD4,*ÿ7-0-6+.ÿ941,64:8,420+.ÿ40326/+,420ÿ+:28,ÿ,*-ÿ
D2691ÿ23345-61ÿ81-Gÿ+1ÿD-..ÿ+1ÿD4,*ÿ6-3-6-05-ÿ,2ÿ+ÿ,+67-,-9ÿ1-,ÿ23ÿ.407841,45ÿ3-+,86-1ÿ26ÿ1,6+,-74-1ÿ
,*+,ÿ+6-ÿ.4>-.?ÿ,2ÿ:-ÿA6-945,4;-EÿJ86ÿ/29-.ÿD4..ÿ.-+60ÿD-47*,1ÿD*45*ÿI8+0,4,+,4;-.?ÿ/-+186-ÿ,*-ÿ
403.8-05-ÿ23ÿ+0?ÿ74;-0ÿ3-+,86-ÿ20ÿ+ÿA6-945,420ÿ23ÿ52/A.+40,K0252/A.+40,Gÿ+..2D407ÿ81ÿ,2ÿ
9-,-6/40-ÿD*45*ÿ126,1ÿ23ÿ.407841,45ÿ:-*+;4261ÿ/21,ÿ1,6207.?ÿ941,407841*ÿ,*-1-ÿ>4091ÿ23ÿ
-05280,-61Eÿ
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H85*ÿ+ÿ/29-.ÿD28.9ÿ1*-9ÿ.47*,ÿ20ÿ,*-ÿ9?0+/451ÿ40ÿA2.45-54,4@-0ÿ40,-6+5,4201ÿ,*+,ÿ809-6.4-ÿ
52/A.+40,1ÿ23ÿ80A623-11420+.ÿ520985,ÿ26ÿ23345-6ÿ9416-1A-5,EÿÿC0ÿ40,-6-1,407ÿA2114:4.4,?ÿ,*+,ÿ185*ÿ
+ÿ/29-.ÿ2A-01ÿ8Aÿ41ÿ,*-ÿ+:4.4,?ÿ,2ÿ.22>ÿ326ÿ6+54+.ÿ9433-6-05-1ÿ+/207ÿ52/A.+40,1ÿÿA-6*+A1ÿ+ÿ
5-6,+40ÿ1-,ÿ23ÿ23345-6ÿ.407841,45ÿ3-+,86-1ÿ+6-ÿ/26-ÿ.4>-.?ÿ,2ÿ.-+9ÿ,2ÿ52/A.+40,1ÿ:?ÿ)*4,-ÿ54,4@-01Gÿ
D*4.-ÿ+02,*-6ÿ1-,ÿ41ÿ/26-ÿA6-945,4;-ÿ326ÿL.+5>ÿ54,4@-01Eÿ
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23456ÿ89M9ÿÿNO43ÿP Qÿÿ3ÿ2 Qÿ
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+09ÿ*2Dÿ41ÿ5201-0,ÿ1287*,Bÿ)*+,ÿ.+078+7-ÿ81-9ÿ:?ÿ23345-61ÿ41ÿ+11254+,-9ÿD4,*ÿ54,4@-0ÿ5201-0,ÿ
;-6181ÿ6-381+.ÿ,2ÿ1-+65*Bÿ)*-0ÿ5201-0,ÿ41ÿ76+0,-9GÿD*-0ÿ+09ÿ*2Dÿ41ÿ4,ÿ920-ÿ.407841,45+..?Bÿ
ÿ
TAD+691ÿ23ÿUVWÿ23ÿD+66+0,.-11ÿA2.45-ÿ1-+65*-1ÿ+6-ÿ520985,-9ÿ:?ÿ/-+01ÿ23ÿ,*-ÿ5201-0,ÿ
-X5-A,420ÿ,2ÿ,*-ÿY286,*ÿC/-09/-0,Gÿ:8,ÿ,*-ÿ52094,4201ÿ809-6ÿD*45*ÿ185*ÿ1-+65*-1ÿ+6-ÿ,68.?ÿ
Z;2.80,+6?[ÿ41ÿ+ÿ52/A.-Xÿ18:\-5^,ÿ23ÿ.-7+.ÿ40I846?ÿ,*+,ÿ41ÿ8.,4/+,-.?ÿ,4-9ÿ,2ÿ23345-61]ÿ
52//8045+,420ÿ40ÿ40,-6+5,4201EÿJ3345-61ÿ/+?ÿ;245-ÿ+ÿ6-I8-1,ÿ,2ÿ1-+65*ÿ40ÿ+0?ÿ08/:-6ÿ23ÿD+?1Gÿ
+09ÿ54,4@-01ÿ1,2AA-9ÿ+09ÿI8-1,420-9ÿ:?ÿ,*-ÿA2.45-ÿ/+?ÿ02,ÿ809-61,+09ÿ,*-ÿ38..ÿD-47*,ÿ23ÿ,*-ÿ
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 ÿH--Gÿ326ÿ401,+05-_ÿH4//201Gÿ̀45Eÿab2,ÿc2.80,+6?ÿ:8,ÿH,4..ÿ̀-+120+:.-_ÿCÿb-Dÿd+6+947/ÿ326ÿT09-61,+09407ÿ,*-ÿ
e201-0,ÿH-+65*-1ÿR25,640-EaÿS094+0+ÿ<+Dÿf2860+.Gÿ;2.EÿgVGÿ02Eÿ=GÿH8//-6ÿ^VVhGÿAEÿii=jg^kÿ
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     Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 164 of 169




2345367ÿ82ÿ7932ÿ878ÿ78ÿ23563ÿ7ÿ9363ÿ9336ÿÿ3ÿ33273ÿÿ62736ÿÿ
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9323823ÿ3ÿ28863ÿ78ÿ3 3ÿ793ÿ567ÿ8 632786ÿ652285 ÿ8 637ÿ632936ÿ
ÿ3 ÿÿ72623ÿ6 3ÿ8ÿ8873ÿ28ÿ3857326ÿÿ99ÿ8 326ÿ2345367ÿÿ
736ÿ8637ÿ78ÿ6329ÿ879ÿ373ÿÿ23373ÿ8 637ÿ632936ÿ873ÿ797ÿÿ796ÿ
675ÿ3ÿÿ78ÿ362 73ÿ927323ÿ793ÿ28352ÿ76ÿ652285 ÿ632936ÿ68ÿ6ÿ78ÿ
457ÿ8737ÿ627ÿ8ÿ8ÿ68!ÿ3ÿÿ338ÿ82796ÿ797ÿÿ5787ÿ37ÿ
793ÿ8686ÿ8ÿÿ2345367ÿ78ÿ6329ÿÿ793ÿ7262 7ÿ8ÿÿ73278ÿÿ
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96ÿÿ8ÿ56ÿ78ÿ267ÿ6"ÿ6ÿ672578ÿ4536786ÿ857ÿ79363ÿ23453676!ÿ659ÿ6#ÿ$93ÿ
   ÿÿ73278ÿ8ÿ793ÿ73ÿ78ÿ852%ÿ&8632 ÿ793ÿ567ÿ82ÿ659ÿ23453676ÿÿ7"3!ÿ
23ÿ23453676ÿ8327ÿ'&ÿ(ÿ6329ÿ85%)!ÿ8327ÿ'*85ÿ ÿÿ(ÿ93"ÿ797ÿ857ÿ82ÿÿ638%)!ÿ
82ÿ33ÿ23ÿ6ÿ86ÿ82ÿ3273ÿ6773376ÿ'+37ÿ3ÿ88"ÿÿ9323)%ÿ8ÿ793ÿ3737ÿ
797ÿ793ÿ567ÿ2 6ÿ8ÿ79363ÿ23453676ÿ 32!ÿ23ÿ8 326ÿ823ÿ"3ÿ78ÿ563ÿ823ÿ8327ÿ
23453676ÿ79ÿ,"ÿÿ-6 ÿ736%ÿ. ÿ23ÿ683ÿ2 6ÿ823ÿ"3ÿ78ÿ37ÿÿ736ÿ
8637ÿ79ÿ879326%ÿ$93ÿ8637ÿ28ÿ793ÿ73ÿ6ÿ273!ÿ6ÿ7ÿ32ÿÿ8327ÿ'*36!ÿ7976ÿ
    3)ÿ82ÿ237!ÿ93677!ÿ82ÿ5856ÿ'(ÿ5366)ÿ82ÿ'(ÿ88)%ÿÿ
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385732%ÿ$93ÿ836ÿ73ÿ53ÿ3ÿ8 326ÿ78ÿ7ÿ823ÿ82ÿ366ÿ236375%ÿ
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      Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 165 of 169




234567ÿ89ÿ 7 3ÿ67637ÿÿ37337ÿ75769ÿ ÿ37ÿ67677ÿÿÿ7ÿÿ3763ÿÿ
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23456ÿ8ÿ9ÿ 4 55ÿÿ6ÿ44ÿ
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     Case 1:08-cv-01034-AT Document 885-1 Filed 05/06/22 Page 167 of 169




345674839ÿ4ÿ56489 8ÿ4ÿÿ33ÿÿ345674839ÿ6539ÿ ÿ384ÿ83ÿ7358ÿ3ÿÿ
93 643ÿ3964ÿ67ÿ468ÿ33ÿ933ÿ86ÿ 939ÿ83ÿ6539ÿ4ÿ ÿ !"ÿ#3ÿ6ÿ6ÿ8 ÿ
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  9ÿ86ÿ33ÿÿ345674839ÿ ÿ4583ÿ88ÿ6539ÿ93ÿ693ÿ 93ÿ6ÿ83ÿ46456453ÿ
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&4ÿ679ÿ9367ÿ69ÿ64ÿ6539ÿ93358ÿ3ÿ3483ÿ47 85ÿ89833ÿ6539ÿ73ÿ5ÿ
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5ÿ6539ÿ93ÿ4334348ÿ693ÿ3ÿ86ÿ73ÿ34ÿ4839584ÿ8ÿ55ÿ363ÿ
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232456ÿ78892ÿÿ445ÿÿ3ÿ445ÿÿ487942ÿ3ÿ7586ÿ4247ÿ3ÿ44ÿ4ÿ374ÿ8795ÿ
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483537ÿÿD4ÿE792ÿ5445Bÿ
Fÿ487ÿ3243ÿ7@ÿ424ÿ87842ÿ4ÿ483537ÿ7@ÿ445ÿÿ487942ÿG4ÿ>442ÿ44ÿ
487942ÿ4H3ÿ3ÿ3ÿ57>42ÿ5445Iÿ4ÿ27246ÿ7@ÿ98ÿ483537 ÿ3ÿ23835ÿ324ÿÿ
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3ÿ834ÿ483537ÿ@27ÿ54H35ÿ4?42ÿJ9H4ÿ95ÿ3ÿ2484ÿ745ÿ7ÿ4@6ÿ74ÿ
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8793735ÿ7455HÿQ9ÿ3ÿ>4ÿ34ÿ354ÿ3ÿ8793735ÿ357Hÿ32738ÿ7ÿ
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>795ÿ3557>ÿ9ÿ7ÿ87324ÿ4ÿ23J48726ÿ7@ÿ@@424ÿ487942ÿ3827ÿ8C4ÿ2384ÿG7>ÿ
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